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                  Exhibit D
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            David William Feigal, Jr., M.D., M.P.H.

                                                                  Page 1
                      UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF TENNESSEE
                           NASHVILLE DIVISION


                                     - - -


       KATRINA DAWN COPLEY,         :         CIVIL ACTION
                     Plaintiff,     :         NO. 3:14-cv-00406
                                    :
                vs.                 :
                                    :
       BAYER HEALTHCARE             :
       PHARMACEUTICALS, INC., BAYER :
       PHARMA AG, and BAYER OY,     :
                     Defendants.    :

                ADDITIONAL CAPTIONS LISTED ON NEXT PAGE

                                     - - -

                          Wednesday, May 4, 2016

                                     - - -



                  Videotaped deposition of DAVID WILLIAM FEIGAL,

      JR., M.D., M.P.H., held at COVINGTON & BURLING, L.L.P.,

      2029 Century Park East, Suite 3100, Los Angeles,

      California, commencing at approximately 9:06 a.m.,

      before Rosemary Locklear, a Registered Professional

      Reporter, Certified Realtime Reporter and California CSR

      (#13969).



                                     - - -

                        GOLKOW TECHNOLOGIES, INC.
                   877.370.3377 ph | 971.591.5672 Fax
                            deps@golkow.com


             Golkow Technologies,        Inc877.370.3377
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                   David William Feigal, Jr., M.D., M.P.H.
                                                     Page 2                                                    Page 4
 1         UNITED STATES DISTRICT COURT                        1         UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ALABAMA                            WESTERN DISTRICT OF VIRGINIA
 2                                                             2
 3               ---                                           3                ---
 4                                                             4
     SHAMEKA M. BRIDGES, AND : CASE NO.                            EMILY C. KELLINGTON            : CASE NO.
 5   PETERSON BRIDGES,      : 2:14-cv-00036-WMA                5           Plaintiff, : 5:14-cv-00002-MFU
             Plaintiffs, :                                                           :
 6                     :                                       6       vs.             :
         vs.             :                                                           :
 7                     :                                       7   BAYER HEALTHCARE               :
     BAYER HEALTHCARE         :                                    PHARMACEUTICALS INC.,            :
 8   PHARMACEUTICALS, INC., BAYER :                            8           Defendant. :
     PHARMA AG, and BAYER OY, :                                9
 9           Defendants. :                                                      ---
10                                                            10
                 ---                                          11   APPEARANCES:
11                                                            12
12                                                            13      JONES WARD, P.L.C.
           UNITED STATES DISTRICT COURT                               BY: LAWRENCE L. JONES, II, ESQUIRE
13         NORTHERN DISTRICT OF INDIANA                       14      larry@jonesward.com
             HAMMOND DIVISION                                         BY: CHRISTINA NATALE, ESQUIRE
14                                                            15      christina@jonesward.com
15               ---                                                  Marion E. Taylor Building
16                                                            16      312 South Fourth Street, 6th Floor
     KATHLEEN CHEEK and BILLY : CASE NO.                              Louisville, Kentucky 40202
17   CHEEK,                 : 2:15-cv-00020                   17      (502) 882-6000
              Plaintiffs, :                                           Appearing on behalf of the Plaintiffs
18                      :                                     18
          vs.             :                                   19
19                      :                                             COVINGTON & BURLING, L.L.P.
     BAYER HEALTHCARE                :                        20      BY: PAUL W. SCHMIDT, ESQUIRE
20   PHARMACEUTICALS, INC., et :                                      pschmidt@cov.com
     al.,                :                                    21      One CityCenter
21            Defendants. :                                           850 Tenth Street, NW
22                                                            22      Washington, DC 20001-4956
                 ---                                                  (202) 662-6000
23                                                            23      Appearing on behalf of the Defendants
24                                                            24
25                                                            25                ---


                                                     Page 3                                                    Page 5
           UNITED STATES DISTRICT COURT
 1
         FOR THE WESTERN DISTRICT OF MISSOURI
                                                               1       ALSO PRESENT:
 2            WESTERN DIVISION                                 2
 3
                  ---
                                                               3               RYAN WONG, Video Operator
 4                                                             4
     SARAH D. HOOVER            : CIVIL ACTION NO.
 5
            Plaintiff, : 3:14-cv-05090-SRB
                                                               5                                ---
 6                    :                                        6
        vs.             :
 7                    :                                        7
     BAYER HEALTHCARE              :                           8
 8   PHARMACEUTICALS INC., BAYER :
     PHARMA AG, and BAYER OY, :                                9
 9          Defendants. :                                     10
10
                  ---                                         11
11                                                            12
12
           UNITED STATES DISTRICT COURT                       13
13       FOR THE NORTHERN DISTRICT OF ALABAMA                 14
14
                  ---                                         15
15
16   SHENIKA J. HOUSTON,           : CASE NO.
                                                              16
             Plaintiff, : 2:14-cv-00035-WMA                   17
17                     :
         vs.             :
                                                              18
18                     :                                      19
     BAYER HEALTHCARE               :
19   PHARMACEUTICALS INC., et al.,:                           20
             Defendants. :                                    21
20
21                                                            22
                  ---                                         23
22
23                                                            24
24                                                            25
25


                                                                                         2 (Pages 2 to 5)
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                     David William Feigal, Jr., M.D., M.P.H.
                                                       Page 6                                                                  Page 8
 1                    INDEX                                          1         VIDEO OPERATOR: We are now on the record.
 2                                                                   2         My name is Ryan Wong. I am a videographer for
 3   WITNESS                                    PAGE
 4                                                                   3    Golkow Technologies. Today's date is April 4th, 2016,
 5   DAVID WILLIAM FEIGAL, JR., M.D., M.P.H.                         4    and the time is 9:06 a.m.
 6                                                                   5         MR. JONES: May the 4th.
 7               By Mr. Jones                   9
 8                                                                   6         MS. NATALE: May the 4th.
 9                     ---                                           7         VIDEO OPERATOR: Oh, May the 4th. I'm sorry.
10                                                                   8         This video deposition is being held in Los
11                   EXHIBIT INDEX
                                                                     9    Angeles, California, in the matter of Katrina Copley
12   NUMBER                                     MARKED
13                                                                  10    versus Bayer HealthCare and others, for the United
14    Feigal-1       10-page document dated 4/22/16             9   11    States District Court, Middle District of Tennessee.
                  entitled "Notice of Video                         12         The deponent is Dr. David Feigal.
15                Deposition of David Feigal,
                  MD, MPH"                                          13         Counsel, please identify yourselves for the
16                                                                  14    record.
      Feigal-2        1-page document dated 4/4/13           12     15         MR. JONES: Larry Jones for the plaintiffs.
17                entitled "Invoice," plus
                  attachments                                       16         MS. NATALE: Christina Natale for the
18                                                                  17    plaintiffs.
      Feigal-3       2-page letter dated 1/14/13 to        14       18         MR. SCHMIDT: Paul Schmidt for Bayer.
19                Earle Martin from Hunter K.
                  Ahern, plus attachment                            19         And we cross-noticed this in a few other cases
20                                                                  20    so if you don't have the caption, I can get them to you
      Feigal-4       1-page letter dated 10/22/14          25       21    at a break.
21                to Hunter K. Ahern, Esq., from
                  Ellen C. Teplitzky                                22         VIDEO OPERATOR: The court reporter is Mary
22                                                                  23    (sic) Locklear, and will now swear in the witness.
23                                                                  24         DAVID WILLIAM FEIGAL, JR., M.D., M.P.H., having
24
25                                                                  25    been duly sworn, was examined and testified as follows:


                                                       Page 7                                                                  Page 9
 1         EXHIBIT INDEX (Continued)                                 1                     EXAMINATION
 2   NUMBER                      MARKED                              2     BY MR. JONES:
 3
 4   Feigal-5       1-page document entitled          46             3     Q. Good morning, sir. My name is Larry Jones. We
                 "David Feigal, M.D., M.P.H.,                        4     met just a couple of moments ago. I represent the
 5               Supplemental Materials
                 Reviewed"                                           5     plaintiffs in this case.
 6                                                                   6           And my phone is dinging, and that's probably a
     Feigal-6    2-page E-mail dated 10/23/02          147           7     good lesson to everyone to turn their phones off.
 7            to Mirja Heikkinen from Pirjo
              Sallinen, MIR_PSEU_00546368 -                          8           Can you please state your full name for the
 8            MIR_PSEU_00546369                                      9     record.
 9   Feigal-7    5-page document dated 6/2/99          264
              entitled "Mirena FC Minutes of                        10     A. Yes. My name is David William Feigal, Junior.
10            the Projectteam Meeting                               11     Q. Okay. And, Doctor, you're a Medical Doctor;
              (Leiras/Berlex),"                                     12     correct?
11            MIR_JR_00186491 -
              MIR_JR_00186495                                       13     A. That's correct.
12                                                                  14     Q. And, Dr. Feigal, where do you currently reside?
     Feigal-8       60-page document dated 11/07       272
13               entitled "FDA Science and                          15     A. I reside in Santa Rosa Valley, California.
                 Mission at Risk"                                   16     Q. Okay. And do you intend to appear live to
14                                                                  17     testify at the trial in these cases?
15
     (Exhibits retained by the court reporter and attached to       18     A. If asked, yes, I would.
16   transcript.)                                                   19           (Exhibit Feigal-1 was marked for
17
18                    ---                                           20     identification.)
19                                                                  21     BY MR. JONES:
20                                                                  22     Q. Dr. Feigal, I'm going to hand you a document
21
22                                                                  23     that we're marking as Plaintiff's Exhibit 1 --
23                                                                  24     A. Yes.
24
25                                                                  25     Q. -- which I will represent to you is the


                                                                                                3 (Pages 6 to 9)
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                  David William Feigal, Jr., M.D., M.P.H.
                                                Page 10                                                         Page 12
 1   Deposition Notice served in this case.                      1    notes -- is you responded to Request Number 23 with a
 2        Have you seen this document before?                    2    copy of several invoices; is that correct?
 3   A. Yes, I have.                                             3    A. Yes. Those are actually all of the invoices
 4   Q. Okay. And the Deposition Notice asks for                 4    over time that relate to Mirena, not just this case but
 5   certain documents --                                        5    other cases before then.
 6        MR. JONES: I don't have an extra copy.                 6    Q. When you say "other cases before then," what are
 7        MS. NATALE: Do you need one?                           7    you talking about?
 8   BY MR. JONES:                                               8    A. I was originally retained to prepare a report on
 9   Q. How many document requests are there on there?           9    Mirena and issues relating to uterine perforation, and
10   I don't have a copy.                                       10    so most of the invoices actually reflect that. The
11   A. Oh. 23.                                                 11    work -- the invoices for IIH began in February of this
12   Q. Okay. And did you -- have you seen this before?         12    year. There's two copies there, by the way.
13   A. Yes.                                                    13    Q. Oh, okay. Great.
14   Q. And did you engage in efforts to try to locate          14         Is there two copies of everything?
15   the documents listed here in the Deposition Notice?        15    A. Except for the CV.
16   A. Yes, I did.                                             16    Q. Okay.
17   Q. And tell me what kind of efforts you engaged in         17         MR. JONES: I'm going to mark a copy of these
18   to locate the documents listed in the Deposition Notice.   18    invoices as Deposition Exhibit Number 2.
19   A. I went down through the list to see which of            19         (Exhibit Feigal-2 was marked for
20   these documents I had. Some of them aren't things that     20    identification.)
21   I have or ever had, some of them -- and I had              21    BY MR. JONES:
22   discussions with Mr. Schmidt about which of these I was    22    Q. And is Exhibit Number 2, is that a true and
23   to produce and so then I went through my files and         23    accurate copy of what you just described regarding your
24   pulled the documents that I could and I've brought them    24    invoices?
25   with me today.                                             25    A. Yes, it is.


                                                Page 11                                                         Page 13
 1   Q. Okay. And do you have those documents with you           1    Q. Okay. And then the next item that you've
 2   here today?                                                 2    provided is -- has a sticky note that says "25" on it so
 3   A. Yes, I do.                                               3    that's -- you're responding to Document Request Number
 4   Q. And can I have them?                                     4    25; is that correct?
 5   A. Sure.                                                    5    A. Actually, it's probably 22. Because there is no
 6          This is just a copy of my report.                    6    25.
 7   Q. Okay.                                                    7    Q. Yeah, that's what I was going to say. It says
 8   A. But what I'm providing for you are the                   8    "25" on it --
 9   documents, each of them have a yellow sticky on them        9    A. Yeah.
10   which indicates which number of the Document Request it    10    Q. -- on the sticky, but there's -- it doesn't --
11   is.                                                        11    this doesn't go up to 25.
12   Q. Okay.                                                   12    A. It's 22.
13   A. And then I've also brought for you an updated           13    Q. Okay.
14   copy of my prior testimony since.                          14    A. Yeah. And -- yeah.
15   Q. Okay.                                                   15    Q. And that Item 22 says, all consulting contracts
16   A. Since we've submitted that initially, I've done         16    or retention letters concerning the witness's
17   two depositions, and they're reflected on that new list.   17    involvement in the Mirena litigations.
18   Q. Okay. So it looks like you've provided an               18    A. Yes, that's correct.
19   updated CV in response to Items 1 and 2 on the document    19    Q. So that's --
20   list; is that correct?                                     20    A. That's the original -- that's the original
21   A. That's correct. I believe it's the same CV that         21    retainer letter and a modification letter where my rates
22   I submitted before, but I brought one for your             22    changed.
23   convenience.                                               23    Q. Okay.
24   Q. Okay. And then the next thing that it looks             24          MR. JONES: Let's mark that as Deposition
25   like you've produced -- and I appreciate the sticky        25    Exhibit Number 3.


                                                                                    4 (Pages 10 to 13)
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                                                Page 14                                                         Page 16
 1        (Exhibit Feigal-3 was marked for                       1    9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22,
 2   identification.)                                            2    23, 24, 25, 26, 27, 28, 29, 30, 31, 32, 33, 34, 35, 36,
 3        MR. JONES: Paul, did you want this back?               3    plus you say probably another 10 or 15 before this
 4        MR. SCHMIDT: Yes.                                      4    period; is that correct?
 5   BY MR. JONES:                                               5    A. Yes; going all the way back to 1995. Yes.
 6   Q. And then there is a -- one copy of an updated            6    Q. Okay. So 46 to 51 depositions.
 7   prior testimony list?                                       7          And you said going all the way back to 1995, but
 8   A. Yes.                                                     8    I understood you a second ago to say that after you
 9   Q. Is that correct?                                         9    testified for the Government as a fact witness in '95,
10   A. That's correct. Yeah. I already gave a copy to          10    you hadn't testified at a deposition again until you
11   Mr. Schmidt.                                               11    started your consulting work; is that correct?
12   Q. Now, can you -- I've received a previous list of        12    A. That's correct. The next deposition that I had
13   your testimony.                                            13    was probably approximately in 2005.
14        Can you help me understand, was this merely your      14    Q. Okay. So since 2005, would it be fair to say
15   attempt to update to date or were there additions within   15    that you've given between 46 and 51 depositions?
16   the body of the other?                                     16    A. Yes.
17   A. No, there's no additions within the body. There         17    Q. And that was as a paid litigation consultant?
18   may have been one that dropped off because it's now        18    A. Yes.
19   before the four-year time period, but there's two          19    Q. And then let's look at -- you have a list of
20   additions on the last page.                                20    trial or arbitration testimony in the last four years.
21        So I think there's one deletion, the first line       21    We have 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14,
22   on the old report has been deleted because now it's        22    15, 16, 17, 18, 19, 20. 20.
23   longer than four years ago, and then there's two           23          So 20 instances of trial or arbitration
24   additions for two depositions that are done recently.      24    testimony in the last four years?
25   Q. And the list of your prior testimony is three,          25    A. That's correct.


                                                Page 15                                                         Page 17
 1   four, five, six pages for the last four years; is that      1    Q. And how many did you say it would have been
 2   correct?                                                    2    before the four-year period?
 3   A. That's correct.                                          3    A. I don't recall what I said before. Probably
 4   Q. Okay. So you've given sworn testimony before?            4    four or five.
 5   A. I have.                                                  5    Q. Okay.
 6   Q. How many times in your life have you given a             6    A. And I would point out that in the last -- in
 7   deposition?                                                 7    this list, half of them all relate to one matter, the
 8   A. Well, I've probably -- I did my first                    8    cases involving Takeda Pharmaceuticals. So there were
 9   deposition, actually, as a fact witness for the             9    ten trials all on the same matter.
10   Government in about 1995 but then not again until I        10    Q. But you were paid in those cases to -- you were
11   began work as an expert.                                   11    paid for your time giving the testimony in those cases;
12        I would say that there are probably, you know,        12    correct?
13   an additional three or four trial, at-trial, testimonies   13    A. Oh, yes.
14   before the ones on that list and there's probably an       14    Q. And you represent that you were an expert for
15   additional 10 or 15 depositions.                           15    Takeda in those cases?
16   Q. Okay. So let's -- depositions in the last four          16    A. Yes, I was retained by attorneys for Takeda.
17   years, we have 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12?      17    Yes.
18        MR. SCHMIDT: Do you have a copy that he could         18    Q. And those were involving Actos; right?
19   follow along with?                                         19    A. That's correct.
20        MR. JONES: He only gave me one copy.                  20    Q. And what was the claimed injury in Actos?
21        THE WITNESS: I gave you one and I gave you one.       21    A. Bladder cancer.
22   Why don't I look at the one I gave you.                    22    Q. And were you testifying as a regulatory expert
23        MR. JONES: Okay.                                      23    in those cases?
24   BY MR. JONES:                                              24    A. Yes. Also, to an extent, as an epidemiologist.
25   Q. Let me -- depositions, 1, 2, 3, 4, 5, 6, 7, 8,          25    But epidemiology is one of the tools of safety


                                                                                    5 (Pages 14 to 17)
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                                               Page 18                                                          Page 20
 1   surveillance, and I was providing testimony about          1    A. Not that I recall. I think with these cases I
 2   post-market surveillance, regulatory, and the              2    primarily interacted with the attorneys from Covington &
 3   epidemiology that supported the labeling changes.          3    Burling.
 4   Q. Did you give testimony in those Actos cases that        4    Q. Okay.
 5   Takeda had adequately warned of the risk of bladder        5          MR. SCHMIDT: And, Larry, I apologize. We also
 6   cancer in their product label?                             6    had a supplemental reliance list, if you wanted to
 7   A. Yes. Generally speaking, yes, that was the              7    review that at some point.
 8   testimony that I offered.                                  8          MR. JONES: Yes. Of course. Thanks.
 9   Q. And did you give testimony in the Actos cases           9          MR. SCHMIDT: A few copies.
10   that Takeda's interactions with the FDA were              10    BY MR. JONES:
11   appropriate?                                              11    Q. Sorry for the lack of questions. I'm just going
12   A. With respect to the safety surveillance, yes,          12    through --
13   and the labeling updates and the submission of required   13    A. No. No. That's quite all right.
14   documents, yes, I did.                                    14    Q. -- the documents that you gave me.
15   Q. And those are similar to the opinions that             15    A. That's quite all right.
16   you're giving in this case as well; correct?              16    Q. The document that has a sticky note on it, 22,
17   A. At a very high level. But the facts are -- you         17    it did say "25" but we figured out it was 22, this
18   know, the circumstances and the facts are very            18    appears to be a consulting agreement between your
19   different.                                                19    company, NDA Partners, L.L.C.?
20   Q. Sure. Okay. And you say that you were                  20          Is that your company?
21   contacted to testify in the -- we'll call these -- the    21    A. Yes, that's correct.
22   Mirena MDL, when I refer to that, is it fair to assume    22    Q. Are you a partner in that company?
23   that those are the migration/perforation cases?           23    A. I am.
24   A. You can refer to them that way, yes.                   24    Q. A full equity partner?
25   Q. Okay. Is that a fair differentiation? I'm              25    A. Yes. There's 11 of us, yes.


                                               Page 19                                                          Page 21
 1   trying to differentiate between these cases.               1    Q. Okay.
 2        I'd like to call those the MDL or the                 2    A. I'm one of 11.
 3   migration/perforation cases and these the pseudotumor      3    Q. Does your wife, does she work there?
 4   cerebri cases.                                             4    A. She is. And she's now an equity partner as
 5   A. Sure, that's fine.                                      5    well.
 6   Q. Okay. And did I understand you to say that you          6    Q. She is an equity partner?
 7   were first contacted to testify in the pseudotumor         7    A. Yes.
 8   cerebri cases in February of 2016?                         8    Q. Okay. I just wondered if -- I saw her bio and I
 9   A. '13. Oh, pseudotumor cerebri, that's '16, yes.          9    thought, I wonder if they're related.
10   February of '16.                                          10    A. People ask me if we're related, and I usually
11   Q. Okay. I do see that you first billed for the           11    say, yes, for the last 35 years.
12   migration/perforation cases in February 2013. So are we   12    Q. Yeah. They tell you you out kicked your
13   sure that it was February on --                           13    coverage? Okay.
14   A. Yes.                                                   14          So I'm looking at a January 14th, 2013, letter
15   Q. -- both?                                               15    from Hunter Ahern, partner at Shook, Hardy & Bacon, to
16   A. Yes.                                                   16    Earle Martin --
17   Q. Okay.                                                  17    A. Yeah.
18   A. Yes.                                                   18    Q. -- Earle Martin, partner and general manager,
19   Q. And who contacted you to discuss your potential        19    NDA Partners, L.L.C.
20   expert retention in the pseudotumor cerebri cases in      20          Is that a document that you produced to me?
21   February of 2016?                                         21    A. Yes, it is.
22   A. Mr. Schmidt and his colleagues.                        22    Q. And January 14th, 2013, is this when you were
23   Q. Mr. Schmidt and his colleagues?                        23    retained for the migration/perforation cases?
24   A. Yes.                                                   24    A. Yes, it is.
25   Q. Okay. It wasn't anybody from Shook Hardy Bacon?        25    Q. Okay. And it says that, we understand that you


                                                                                   6 (Pages 18 to 21)
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                        David William Feigal, Jr., M.D., M.P.H.
                                                           Page 22                                                    Page 24
 1   have assigned David W. Feigal, M.D., M.P.H., to this             1    testimony; is that correct?
 2   project.                                                         2    A. You've read that correctly but, actually, I only
 3         Who was the point of contact initially on this             3    charge 600, no matter what the work is, so whether it's
 4   particular project? Was it Mr. Martin or was it you?             4    deposition testimony or whatever.
 5   A. It was me.                                                    5          I think some of my other partners in the group
 6   Q. Okay.                                                         6    have a differential rate. But I don't charge for travel
 7   A. And then to get an agreement between the                      7    or for depositions. So it's a flat 600 for my time, no
 8   attorney's firm and our group and to set up the billing          8    matter what I'm doing.
 9   arrangements, I turn that over to Mr. Martin and his             9    Q. Okay. The next sentence says, non-productive
10   staff.                                                          10    travel time will be charged at $300 per hour.
11   Q. Okay. And it says, this will confirm that Bayer              11          Did I read that correctly?
12   has authorized us to retain you as expert consultants in        12    A. Yes.
13   this matter at your customary fee of $500 per hour.             13    Q. And do you charge non-productive travel time at
14         So that was your rate in 2013?                            14    $300 per hour?
15   A. That's correct.                                              15    A. I do not. Some of my partners do that.
16         MR. JONES: Okay. Let's mark this as Deposition            16    Q. Do you charge non-productive travel time at $600
17   Exhibit 4 or 3? Four. Okay.                                     17    per hour?
18   BY MR. JONES:                                                   18    A. No, I don't charge for my travel time, just
19   Q. Is that a --                                                 19    out-of-pocket travel expenses.
20         MR. SCHMIDT: I'm sorry. What was 3? I thought             20    Q. And I think you clarified this for me but, as we
21   that was 3.                                                     21    sit here today, your billable rate is $600 per hour;
22         THE WITNESS: No. Three was the -- oh, I've                22    right?
23   already got it marked as 3. I've got both copies.               23    A. That's correct.
24         MR. SCHMIDT: You marked the same one twice as             24    Q. Okay.
25   two different numbers.                                          25    A. Whether it's deposition or report writing or


                                                           Page 23                                                    Page 25
 1        MR. JONES: Oh, I did?                                       1    research, it's $600 an hour.
 2        Okay. So what do we have going on here?                     2    Q. And how often does your company raise your rate?
 3        THE WITNESS: Three and 4 are both the same.                 3    A. That was the first time we did it after, I
 4        MR. SCHMIDT: I think 3 and 4 are the same                   4    think, nine years, and it's -- it was sort of across the
 5   document.                                                        5    board for multiple partners. We had had the same rate
 6        MR. JONES: Oh. Oh, I gave you my copy. I'm                  6    for about nine, ten years and we raised it.
 7   sorry.                                                           7    Q. And do you testify at or do you bill at $600 per
 8        THE WITNESS: Yeah.                                          8    hour for consulting and deposition or trial testimony?
 9        MR. JONES: So that's not Exhibit 4. Let's                   9    When you work on other matters currently, is your rate
10   strike that.                                                    10    $600 per hour?
11        Here's your sticker back.                                  11    A. For legal consulting, yes, it's the same for all
12   BY MR. JONES:                                                   12    of my clients.
13   Q.       And is that a true and accurate copy of the            13          MR. JONES: And then let's just go on and mark
14   retention letter, the initial retention letter, for your        14    that as Deposition Exhibit 4.
15   consulting arrangement with Shook Hardy Bacon and Bayer         15          (Exhibit Feigal-4 was marked for
16   back in January 2013?                                           16    identification.)
17   A.       Yes, it is.                                            17    BY MR. JONES:
18   Q.       Then we'll -- I'm looking at a letter that             18    Q. Dr. Feigal, did I mark a copy of these invoices
19   you've produced to Hunter Ahern, it's addressed to              19    yet or did you give me two copies?
20   Hunter Ahern, partner, Shook Hardy & Bacon, October             20    A. No. You did mark it. That was Exhibit 2.
21   22nd, 2014, from Ellen Teplitzky, T-E-P-L-I-T-Z-K-Y?            21          MS. NATALE: That's 2.
22   A.       Yes.                                                   22          MR. JONES: Okay. Let's go to Exhibit 2, then.
23   Q.       Okay. And this appears to be advising Shook            23          MR. SCHMIDT: May I see Exhibit 4, please,
24   Hardy that your new rate is $600 per hour for consulting        24    David?
25   and $700 per hour for deposition or expert witness              25          THE WITNESS: Sure.


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 1   BY MR. JONES:                                              1    A.     I don't recall exactly.
 2   Q. So you were first contacted to consult in this          2          Actually, I have one more thing which I've
 3   case in February of 2016; correct?                         3    brought you in response to your request, and it's my
 4   A. Yes. It looks like that's when the work                 4    working document. So you can see the documents that
 5   started. You noticed the letter was dated in January.      5    have highlighting, and if you look in here, you'll see
 6   So I was probably contacted in January, I suggested we     6    folders by the dates on which I received documents.
 7   get a retainer letter in place, and then I started         7    Q. Okay.
 8   reviewing documents in February of 2013.                   8    A. So except for one -- there's one folder that's
 9   Q. Right. I'm talking about in the --                      9    just labeled "IIH."
10   A. Oh.                                                    10    Q. Okay.
11   Q. -- PTC cases.                                          11    A. But you can see from probably the dates the
12   A. I'm sorry. Yes. That's February of this year,          12    documents were created or saved the rough time frame.
13   yes, 2016.                                                13          So this isn't the sum total of all the documents
14   Q. And there is no separate letter of consulting or       14    I've ever had for Mirena but it's the ones I've had
15   agreement for this case, is there?                        15    since I began working on pseudotumor cerebri.
16   A. No, there is not.                                      16    Q. Okay. And is that thumb drive for us?
17   Q. And so let's go back.                                  17    A. Yes.
18         It looks like you've provided two invoices that     18    Q. Okay.
19   relate to this case.                                      19    A. Yeah, it's for you.
20   A. Yes.                                                   20    Q. During February of 2016, were you provided with
21   Q. One is dated 3/14/2016, service date 2/29/2016.        21    plaintiffs' expert reports in this case?
22         That's just -- the service date is just the         22    A. I was, yes.
23   billed date; right? That's the last day of the month?     23    Q. Okay. And how many of those expert reports were
24   A. That's right.                                          24    you provided with?
25   Q. Okay. And then you go over, consultant, David          25    A. I think at that initial time I was provided Dr.


                                               Page 27                                                         Page 29
 1   Feigal, description, for professional services rendered    1    Ross, Dr. Etminan, never quite sure how to say Dr.
 2   February 1st, 2016, to February 29th, 2016; is that        2    Frau --
 3   correct?                                                   3    Q. Fraunfelder.
 4   A. Yes.                                                    4    A. -- Fraunfelder's deposition, and one other whose
 5   Q. Okay. And it looks like you spent 8.5 hours             5    name I can't remember.
 6   working on this case in February of 2016; correct?         6    Q. And you said "deposition," but those were --
 7   A. That's correct.                                         7    A. I mean they --
 8   Q. And what did you do during those exactly 8.5            8    Q. -- just reports; correct?
 9   hours during the month of February 2016?                   9    A. No. These were reports. That's correct. I
10   A. As I recall, it was sometime in the second half        10    later have -- I later have -- at a later point in time,
11   of the month we had an initial couple-hour meeting here   11    I have depositions from Dr. Ross and --
12   at this building to discuss the background of the case.   12    Q. Would it --
13         Prior to that, they had sent me a small number      13    A. Yeah.
14   of documents that I reviewed before that meeting. And     14    Q. What about Dr. Mazzeo's report; were you ever
15   so this just reflects the time to review that document    15    provided with Dr. Mazzeo's report?
16   and those meetings and any document review I did after    16    A. I don't recall. There was -- there were
17   the meeting.                                              17    additional reports. I just -- I don't recall.
18   Q. And how many documents -- how long did the --          18    Q. At what point did you determine that you could
19   did you meet with the Covington & Burling lawyers once    19    give an expert opinion in this case for Bayer?
20   or more than once?                                        20    A. We had a follow-up conversation by telephone, as
21   A. It was just once.                                      21    I recall, sometime in early March and I provided my
22   Q. And how long did that meeting last?                    22    initial, preliminary observations and opinions about the
23   A. As I recall, it was two hours.                         23    issues, particularly those in Dr. Ross's and Dr.
24   Q. Okay. And so for the other 6.5 hours, how many         24    Etminan's reports, and they asked me if I would begin
25   documents did you review?                                 25    working on a report. And at that point I began working


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 1   on a report that would be filed. And when I do that,        1    background information on the initial approval of Mirena
 2   I'm also willing to offer testimony, if requested, at a     2    had been previously written for other reports. So 50
 3   deposition or trial.                                        3    hours was the time necessary to write the material
 4   Q. Okay. And we have -- going to the last page,             4    specific to pseudotumor cerebri.
 5   the next invoice, it's dated 4/26/2016, for professional    5    Q. And can you go to the portion of your report
 6   services rendered March 1st, 2016, through March 31st,      6    that says "References Cited"?
 7   2016.                                                       7    A. Yes.
 8         Did I read that correctly?                            8    Q. Are you there?
 9   A. Yes.                                                     9    A. Yes.
10   Q. Okay. And 41.5 hours, for a total of $24,900            10    Q. Okay. And looking at this, this has 82
11   for that month; is that correct?                           11    references that were cited in your report; correct?
12   A. That's correct.                                         12    A. Yes, that's correct.
13   Q. Okay. And when you add that to the $5,100 from          13    Q. Okay. And as part of this 50 hours, did you
14   the prior month, you are at exactly $30,000; is that       14    review every one of these 80 references?
15   right? Is my math right?                                   15    A. Well, some of these are references to sections
16   A. It looks like that's correct.                           16    that had been previously written, but if they are new
17   Q. What work did you do during your 41.5 hours             17    references about pseudotumor cerebri, yes, I did review
18   during the month of March 2016?                            18    them.
19   A. Well, during March, I filed the report that we          19    Q. And did you review them cover to cover?
20   have today. And so the work would have involved writing    20    A. Not all of them. Some of them are documents
21   the report, reviewing the documents that were necessary    21    that only small parts of the documents are relevant to
22   to write that report, there were also conversations with   22    the reference in the -- reference in the text. Others
23   attorneys during this time about the report and about      23    are documents that establish different regulatory
24   some of my opinions.                                       24    milestones such as, you know, typically, I'll reference
25   Q. And what date did you submit your final report?         25    approval documents and reviews. But these are all --


                                                Page 31                                                          Page 33
 1   A. The date is on Page 52 of the report. March              1    these are the reports among the total number of
 2   24th.                                                       2    documents that I had that I, you know, specifically
 3   Q. And between the two invoices, it looks like you          3    referenced in my report.
 4   spent exactly 50 hours.                                     4    Q. Okay. And so those are the ones that you
 5         Well, does any of this 41.5 hours include time        5    specifically referenced in your report, those 82
 6   spent after you submitted your report?                      6    citations; correct?
 7   A. It may have, but I suspect most of that will be          7    A. That's correct.
 8   in the April invoice, which hasn't been prepared yet.       8    Q. Okay. And then I have a listing of David Feigal
 9   Q. Right. I mean, after March 24th did -- was               9    M.D., materials reviewed.
10   there any billable time after March 24th --                10          Is that in your report? Do you see that?
11   A. In the March?                                           11    A. I don't think I have that. Was that Exhibit B?
12   Q. -- between -- yes, in the March period.                 12    Oh, wait. Wait. I do. Yes. Yes. It's here.
13   A. I don't think there was -- I don't think there          13    Q. Do you have it?
14   was very much, if any.                                     14    A. Yeah.
15   Q. Okay. So you spent exactly 50 hours meeting             15    Q. Okay.
16   with lawyers from Covington & Burling, reviewing           16    A. Yes.
17   documents, reviewing the expert reports of Dr. Ross, Dr.   17    Q. And it says "Academic Literature"; right?
18   Etminan, Dr. Fraunfelder, and writing your report; is      18    A. Yes.
19   that correct?                                              19    Q. Okay. And we have, I'm going to count them in
20   A. That's correct.                                         20    my head to save the court reporter.
21   Q. And how many pages is your report?                      21          Okay. I count 89 pieces of academic literature
22   A. It is 52 pages.                                         22    that you reviewed; correct?
23   Q. So that's less than an hour per page; correct?          23    A. Yeah. Well, these -- yes, these are the
24   A. Well, not all 52 pages are new. The background          24    materials that I had available to me and I'm familiar
25   section on my background is the same, much of the          25    with all of them. I've reviewed some of them in more


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 1   detail than others.                                         1    A. Yes, that's right.
 2   Q. Okay. Well, it says "Materials Reviewed."                2    Q. Okay. And then "Deposition Testimony," you have
 3         Did you review these 89 materials or not?             3    "Deposition of Juliane Schoendorf"; is that correct?
 4   A. Yes.                                                     4    A. That's correct.
 5   Q. Okay. So that's 89 plus the 82 that you cite so          5    Q. Okay. And did you review that entire deposition
 6   that's 171. Then you have --                                6    from cover to cover?
 7   A. Well, I would just point out, there may be               7    A. I don't recall if I did or not. Some --
 8   duplicates because what I asked the Covington to do is      8    sometimes I use the index to find key sections, so I
 9   to actually provide me a list of all the documents that     9    just don't recall if I read the entire thing.
10   they had provided to me, and so some of these documents    10    Q. Were you provided the entire deposition?
11   will be on the citation, they should -- most of them       11    A. Yes, I was.
12   will also be on this list.                                 12    Q. Do you remember how many pages it was?
13   Q. So Covington provided this list? They typed it          13    A. Several hundred pages, but I don't remember
14   up?                                                        14    exactly.
15   A. Yes. Yes. This is the one part of the report            15    Q. Then you have "Documents Received From
16   that I asked them to produce. I ask them -- I ask          16    Plaintiffs" and you have two items; is that correct?
17   clients when I'm working for them to keep track of what    17    A. Yes.
18   they've sent me and to give a list of that and then I      18    Q. Then you have "Documents From Bayer
19   provide that to you so you know everything that I've       19    Productions," and I'm going to count those.
20   been sent. And the materials I'm sent I review.            20          And I count 69 items. Does that sound correct?
21   Q. And Covington provided all of these documents on        21    A. Does, yes.
22   Pages 1 through 12 of the Materials Reviewed; is that      22    Q. Okay. And then we have "Expert Reports," and I
23   correct?                                                   23    see three reports and the reliance materials provided by
24   A. Substantially. There are some things, for               24    Dr. Ross and Dr. Fraunfelder; is that correct?
25   example, statute and regulations, I also give them my      25    A. Yes. And Dr. Etminan.


                                                Page 35                                                          Page 37
 1   list of things that are on my list that they didn't         1    Q. Yeah. But no reliance materials for Dr.
 2   provide and then they add that to their list to create      2    Etminan?
 3   the comprehensive list.                                     3    A. That's correct.
 4   Q. And then statutes, let's look at "Statutes and           4    Q. Okay. Then this morning I've been, just now
 5   Regulations" on Page 7.                                     5    I've been provided with supplemental materials reviewed,
 6   A. Sure.                                                    6    and it looks like this is 11 depositions that you
 7   Q. Looks like you reviewed seven statutory or               7    reviewed; is that correct?
 8   regulatory sections; is that correct?                       8    A. Well, as provided, yes.
 9   A. Yes. All of these are Federal Register notices           9    Q. I'm sorry?
10   of proposed and final rules pertaining to labeling, and    10    A. Yes, as provided. And I familiarized myself
11   then the Code of Federal Regulation, those are the         11    with those depositions.
12   labeling regulations.                                      12    Q. Did you review them from cover to cover?
13   Q. Okay. And then you have "Labels and Other               13    A. No, I did not.
14   Materials Obtained from Drugs@FDA Or Other Public          14    Q. And the supplemental materials reviewed lists
15   Sources."                                                  15    depositions of Dr. Fraunfelder, Dr. Etminan, Dr. Ross,
16         Do you see that?                                     16    Antonio Costales, Nancy Konnerth, Suzette Thomas, Leo
17   A. Yes, that's right.                                      17    Plouffe, Herman Ellman, Brenda Marczi, Paul Korner, and
18         When I'm working with a material that's, you         18    Chuck Walsh.
19   know, on a case that's FDA reviewed, I go to the FDA       19           You didn't review those before you prepared your
20   databases and I download copies there of the labels that   20    report, did you?
21   I need and if there's reviews or other documents on the    21    A. That's correct. If they're on the supplementary
22   FDA website. So I obtain those myself, although            22    list, those are materials that I've reviewed between the
23   oftentimes the law firm will send me the same documents.   23    production of the report and our conversation today.
24   But I pull those directly.                                 24    Q. And why didn't you review these depositions
25   Q. Okay. And that's eight items; correct?                  25    before you issued your report?


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 1   A. I'd have to look at the timing to see if they            1    literature from a PubMed search when they're in the
 2   were -- some of them were available. Company                2    public domain. Typically, such a search on a topic like
 3   depositions were available. They were simply materials      3    that would take me several hours.
 4   that I had not yet reviewed, but after the report, in       4    Q. Okay. And in this case, did you spend more or
 5   discussing the issues in the case, I asked for them or      5    less than ten hours doing a literature search to
 6   the company -- or the attorneys thought it was relevant     6    determine whether or not there was or was not a causal
 7   and they sent them to me.                                   7    association between levonorgestrel and pseudotumor
 8   Q. Okay. I'm going to back off the 11 depositions           8    cerebri?
 9   that were not reviewed before your report and, according    9    A. Less than on the literature search itself. And,
10   to my calculations, give or take, there were               10    of course, there was also literature, much of the same
11   approximately 265 documents that you reviewed before       11    literature that I came across in the PubMed search, that
12   preparing your report; is that correct?                    12    was provided to me in the materials or was referenced by
13   A. That's correct.                                         13    plaintiffs' experts or was discussed at various times in
14   Q. And you did that in 50 hours.                           14    the history of the FDA interactions for these -- for the
15   A. Yes, that's correct.                                    15    products that we're reviewing.
16         Some of them I reviewed closely, others were for     16          So in terms of review of the literature, it's
17   looking things up and were as part of a complete set of    17    actually probably a significant fraction of the time,
18   documents, not all of which I needed to rely on for the    18    but the actual PubMed search didn't take me very long,
19   report.                                                    19    just a few hours. And I used it primarily to get
20   Q. Do any of the -- did any of the medical                 20    oriented to what the information is out there, to
21   literature that you reviewed suggest a causal              21    identify articles that I don't seem to have that the law
22   association between levonorgestrel and pseudotumor         22    firm can track down copies and provide copies for me.
23   cerebri?                                                   23    Q. And how much time did you spend reviewing the
24   A. I think some of the literature, particularly            24    literature that comprised the results of your literature
25   around the Norplant, raised that hypothesis. Most of       25    search?


                                                Page 39                                                          Page 41
 1   the authors in their papers usually conclude that more      1    A. Well, I think that blends into the, you know,
 2   research is needed.                                         2    the literature search articles that I identified plus
 3   Q. Did any of the Bayer internal materials that you         3    the literature that's -- that is -- pardon me -- is part
 4   reviewed suggest a causal association between               4    of the production in the case or other documents.
 5   levonorgestrel and pseudotumor cerebri?                     5          That review all together is probably -- I would,
 6   A. No, I don't think they did.                              6    you know, just have to estimate. But probably about 30
 7   Q. Did you cite all of the materials that may have          7    percent of the time in terms of the document review is
 8   suggested a causal association between levonorgestrel       8    taking a look at the medical literature that decisions
 9   and PTC in your report that you tendered in this case?      9    are being made about and what other medical literature
10   A. I did not cite all of the documents that I              10    is available at the same time and at later points in
11   relied on in my report. The report cites the more          11    time.
12   important documents and selected documents but there are   12    Q. So 30 percent of 50 hours would be about 15
13   also materials in the list of materials reviewed that I    13    hours; is that correct?
14   reviewed and am familiar with, but I didn't attempt to     14    A. Yes. Embedded in the process of the review,
15   create an exhaustive list of all the citations to all      15    yes. I don't track it separately.
16   the documents.                                             16    Q. Now, other than the articles cited in your
17   Q. Did you do your own literature search in this           17    report, did you find any other medical literature or
18   case to look for medical literature or materials that      18    materials in which the authors suggested a causal
19   suggest, that may suggest or disprove a causal             19    association between levonorgestrel and pseudotumor
20   association between levonorgestrel and PTC?                20    cerebri?
21   A. Yes, I did.                                             21    A. I can't think of any sitting here right now,
22   Q. Okay. And how much time did you spend doing             22    aside from the literature and aside from discussions in
23   your own literature search?                                23    company and FDA documents, no.
24   A. I don't recall exactly. I used PubMed and a             24    Q. You don't believe that there's a causal
25   service which will pull the full-text articles of the      25    association between levonorgestrel and pseudotumor


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 1   cerebri; correct?                                           1    authors from time to time that discuss that hypothesis
 2   A. I believe at the present time that is --                 2    and discuss that data.
 3   that that is correct.                                       3          As I mentioned, they usually -- you know, I'm
 4   Q. But you realize that there are medical                   4    not sure I can tell from the articles what their
 5   researchers out there who have published articles that      5    thinking or what their belief is. They often state the
 6   disagree with you; correct?                                 6    evidence for the hypothesis and also in the same breath
 7         MR. SCHMIDT: Object to the characterization.          7    talk about the limitations and how more research is
 8         THE WITNESS: I would have to look at their            8    needed.
 9   statements to see actually if we disagree.                  9          MR. JONES: Okay.
10         There are authors that discuss the hypothesis        10    BY MR. JONES:
11   that levonorgestrel causes pseudotumor cerebri.            11    Q. Getting back to your References Cited, looks
12   Oftentimes, in their discussions they point out the        12    like you cite a lot of medical journal articles. Is
13   limitations of the available evidence and call for more    13    that fair?
14   research and place caveats. So you have to kind of look    14    A. Yes.
15   at what they say. But there are many -- there are          15    Q. Okay. Looks like you cite the Federal Register
16   papers, as you know, that have looked at that hypothesis   16    a few times; is that correct?
17   that there could be a relationship.                        17    A. Yes.
18   BY MR. JONES:                                              18    Q. Okay. And those are proposed rule discussions
19   Q. Have you ever heard of a doctor named Deborah           19    and regulations that govern product safety at FDA. Is
20   Friedman?                                                  20    that fair?
21   A. Yes.                                                    21    A. Yes, there's both proposed and final rules in
22   Q. Okay. And do you know Deborah Friedman?                 22    those citations. I usually -- most of them pertain to
23   A. I have reviewed -- I reviewed materials I               23    standards for labeling.
24   believe that she's -- she has written. I would have to     24    Q. Then it looks like you cite Physicians' Desk
25   see the materials to refresh my memory on who she is.      25    Reference.


                                                Page 43                                                          Page 45
 1   Q. Have you ever met her?                                   1          That's the PDR is what we know it as; right?
 2   A. No.                                                      2    A. Yes, that's correct.
 3   Q. Have you ever talked to her?                             3    Q. And just so the jury knows, that's this big,
 4   A. No.                                                      4    thick book of labeling for products that doctors can
 5   Q. Did you know that Bayer had hired her as a               5    refer to; right?
 6   consultant on pseudotumor cerebri?                          6    A. Yes. Before the computer, that was what most
 7   A. I may have known that. I'm familiar with the             7    doctors had in clinics to look up information on drugs.
 8   name from my review. I just don't remember the context      8    Q. I wonder how their sales are doing these days.
 9   of how I know her.                                          9    A. I don't know. They still ask me for 60 bucks
10   Q. Were you aware that she has written in at least         10    every year.
11   one article that levonorgestrel implants are a cause of    11    Q. Really?
12   pseudotumor cerebri?                                       12    A. I still get a copy. But, you know, truth be
13         MR. SCHMIDT: Object to characterization.             13    told, I actually go to the Internet to get labels.
14         THE WITNESS: I don't recall that, but I'd be         14    Q. Then you cite some Bayer internal documents,
15   happy to look at the article if you'd like me to comment   15    "Integrated Summary of Efficacy," "Integrated Summary of
16   on it.                                                     16    Safety"; is that correct?
17   BY MR. JONES:                                              17    A. Yes.
18   Q. When you were doing your medical literature             18    Q. Some FDA guidance materials?
19   research and review, did you find any materials that you   19    A. Yes.
20   thought were counter to your position that there is no     20    Q. And what are the FDA guidance materials? What's
21   evidence of a causal association between levonorgestrel    21    their -- why are they important to cite?
22   and pseudotumor cerebri?                                   22    A. FDA has hundreds of guidance documents which
23         MR. SCHMIDT: Object to characterization.             23    they've written and they actually publish for comment
24         THE WITNESS: Well, the evidence all comes from       24    and modify over time.
25   observational studies and epidemiology, and there are      25          The guidance documents represent FDA's current


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 1   thinking on how to comply with different requirements of    1    A. I reviewed my report; I reviewed some of the
 2   the regulations and the Food, Drug and Cosmetic Act.        2    materials; I continued to read the materials relating to
 3   Q. And you think those are pretty good sources of           3    Dr. Ross's opinions, including his deposition, which
 4   information?                                                4    I -- if I had it, I had not gone through it in as much
 5   A. I think they are a good source, yes, for -- you          5    detail at the time I'd written the report as afterwards;
 6   know, many times, there's more than one way to comply       6    I spent some of the time with some of the estimates that
 7   with the regulation, and there you can see what FDA's       7    Dr. Ross had presented from his use of the epidemiologic
 8   current thinking is on, for example, use of epidemiology    8    databases, I spent some time checking those numbers and
 9   studies and safety evaluations is a very useful             9    those systems; talked with attorneys in preparation for
10   guidance.                                                  10    this. Those are the types of things I did.
11   Q. Okay. Looks like you rely on some ACOG                  11    Q. How many times did you meet with Bayer's
12   bulletins or opinions; is that right?                      12    attorneys in preparation for this deposition?
13   A. Yes.                                                    13    A. Once.
14   Q. And what's ACOG?                                        14    Q. And when was that?
15   A. American College of Obstetrics and Gynecology.          15    A. It was last -- I think it was last Thursday.
16         MR. JONES: I'm going to go on and mark this          16    Q. And how long did that meeting last?
17   supplemental materials list, too, so we don't lose track   17    A. Four or five hours.
18   of that.                                                   18    Q. And since that time, you haven't met with
19        (Exhibit Feigal-5 was marked for                      19    Bayer's attorneys again in preparation for this
20   identification.)                                           20    deposition?
21        MR. JONES: That's Deposition Exhibit 5.               21    A. No, I have not.
22   BY MR. JONES:                                              22    Q. Any telephone conferences with them between last
23   Q. Now, back to these invoices, we're at May the           23    Thursday and today?
24   4th or 5th. I can't remember what day it is.               24    A. Yes, I did have a brief, half-hour discussion
25        Has an invoice been prepared for the work that        25    with the attorneys Monday morning.


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 1   you've performed for this case during the month of April    1    Q.     Okay. And --
 2   2016?                                                       2         MR. SCHMIDT: Larry, I don't know if you want to
 3   A. No, it has not yet.                                      3    speak or not or just talk to you about it on the break,
 4   Q. Okay. Have you -- when I worked in a law firm            4    but there was an earlier meeting that I think he's
 5   and I billed clients, I used to have to submit my time      5    forgotten.
 6   to somebody who would prepare the bills.                    6         THE WITNESS: Okay. Thank you.
 7        Have you done that in this case for the month of       7         MR. SCHMIDT: And if you find that
 8   April?                                                      8    objectionable, I won't do that again.
 9   A. No, I have not done that yet.                            9         MR. JONES: No. No. No.
10   Q. Do you have any idea how much time that you've          10         THE WITNESS: No. He's right.
11   spent in the month of April working on the pseudotumor     11         MR. SCHMIDT: Trying to help.
12   cerebri cases?                                             12         THE WITNESS: There were two meetings.
13   A. No, I haven't added that up.                            13         MR. JONES: Okay.
14   Q. Is it less than five hours, more than five              14    BY MR. JONES:
15   hours?                                                     15    Q. And now that your recollection has been
16   A. Well, it would be more than five hours.                 16    refreshed, do you remember when the other meeting was
17   Q. Less than 20? More than 20?                             17    other than last Thursday?
18   A. It's probably also more than 20. It wouldn't            18    A. It was about ten days before that.
19   surprise me if it's comparable to the time spent in        19    Q. Okay.
20   March, but I don't know exactly.                           20    A. And it was also a four- or five-hour meeting.
21   Q. Okay. And the time spent in March was 41.5              21    Q. Okay.
22   hours.                                                     22         MR. SCHMIDT: Bless you.
23   A. Yes.                                                    23    BY MR. JONES:
24   Q. Okay. And then what did you do to prepare for           24    Q. Have you -- are you aware of how many experts
25   your deposition here today?                                25    Bayer has designated in these pseudotumor cerebri cases?


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 1   A. No, I'm not.                                             1    A. I have not. I actually looked to see -- since
 2   Q. Have you reviewed any of the reports of Bayer's          2    both my father and my stepfather were faculty at the
 3   other experts in these cases?                               3    University of Utah, two different departments, I did
 4   A. No, I don't believe so. I've reviewed Bayer              4    actually look to see if there were any people there that
 5   company documents and depositions but I don't believe I     5    I knew from those contacts. But that's been some time
 6   have reviewed any of the other Bayer expert materials.      6    since I've had any contact with the university and --
 7   Q. Have you reviewed any of the deposition                  7    but I did look up the -- him and the department and
 8   testimony of any of the other experts designated by         8    mostly focusing on him, not so much the other authors.
 9   Bayer?                                                      9    But I didn't recognize any of the names.
10   A. No, I have not.                                         10    Q. When you say "him," who are you referring to?
11   Q. Do you know who Dena Hixon is?                          11    A. Or is it a her? Dr. Rai.
12   A. Yes, I do.                                              12    Q. Dr. Rai. Dr. Rai, it's a she.
13   Q. And how do you know who Dena Hixon is?                  13    A. Oh, okay.
14   A. As I recall, Dena was at the FDA at the same            14    Q. She's Rai.
15   time I was. She was in the Division of Metabolic           15    A. Okay.
16   Endocrine, which then later was split and became the       16    Q. And so that was kind of a long answer. I just
17   Division of Reproductive and Urological Products.          17    wanted to make sure that I understood it.
18   Q. And when is the last time you talked with or            18         You do not know any of those authors?
19   otherwise communicated with Dena Hixon?                    19    A. No, I -- no, I do not. And I did look up her
20   A. You know, I don't know if I've ever met her face        20    status as -- and she's a research fellow at the
21   to face. I just know of her.                               21    university.
22   Q. And you don't believe that you've ever received         22    Q. Okay. And have you ever had any contact with
23   Miss Hixon's report in this case?                          23    any of those authors?
24   A. I do not think I have had -- I don't recall ever        24    A. No, I have not.
25   having seen it.                                            25    Q. Have you ever attempted, directly or indirectly,


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 1   Q. My colleague tells me that, according to the             1    to contact those authors about their particular study?
 2   stuff on the thumb drive that she's looking at that you     2    A. No.
 3   provided to us, that you received a copy of Miss Hixon's    3    Q. Have you had any contact with anyone at their
 4   report on April the 12th, 2016.                             4    university about the study that they have performed?
 5   A. Oh, then I stand corrected. I haven't looked at          5    A. No.
 6   it.                                                         6    Q. What was your purpose of trying to figure out if
 7   Q. So you don't know whether or not her opinions            7    you had any contacts at the University of Utah?
 8   are valid or not?                                           8          MR. SCHMIDT: Object to characterization.
 9   A. Yes. I don't have any opinions about her                 9          THE WITNESS: It's -- I just wanted to see if
10   opinions.                                                  10    there were anybody that I knew, since, as I mentioned,
11   Q. Between the time you were contacted to consult          11    both my father and stepfather were at the university.
12   in the pseudotumor cerebri cases and today, have you       12    Both of them were department chairs. So over the years,
13   ever talked with any Bayer employees?                      13    I've socially met a number of faculty from the medical
14   A. No, I have not.                                         14    school at the university and so I was just interested to
15   Q. Have you ever asked through counsel to talk to          15    see if there was anybody that I knew, but I did not
16   any Bayer employees?                                       16    recognize any of the names.
17   A. No.                                                     17    BY MR. JONES:
18   Q. Why not?                                                18    Q. Are you still working on the Mirena MDL case?
19   A. I thought that the documents produced spoke for         19    A. There's no -- there's been no activity in the --
20   themselves.                                                20    in recent months but, as I understand it, it will
21   Q. Do you -- when I say "the Rai study," do you            21    probably become active again at some time in the future.
22   know which abstract I'm talking about?                     22          That's just with respect to my activities. I'm
23   A. Yes, I do.                                              23    sure that there's activities for some people.
24   Q. Okay. And do you know or have you ever met any          24    Q. I'm sure the lawyers.
25   of the listed authors of that particular study?            25          Do you remember how long your report was,


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 1   approximately, in the Mirena MDL case?                      1    A.    That is correct.
 2   A. It was similar in length to this report,                 2    Q.    Okay. So in your business there are -- you do
 3   although, as I recall, a bit -- you know, perhaps a bit     3    have engagements that do not ultimately end up resulting
 4   longer.                                                     4    in testimony; is that correct?
 5   Q. And in the Mirena MDL case, based upon my                5    A.    Yes, that's correct.
 6   calculations, you've been paid to date $100,000 --          6    Q.    Okay. And other than what's listed on your
 7   $100,600. Does that sound correct?                          7    testimony list, since you've been consulting after you
 8   A. It does sound like it's probably correct, yes,           8    left FDA, approximately how many other medicolegal cases
 9   since 2013. Yes.                                            9    have you been involved in in which you were not required
10   Q. Now, you have given me an updated testimony             10    to testify in any way?
11   list.                                                      11    A.    I don't know. I have never really tried to
12         Do you have any trial testimony scheduled in the     12    count that up or estimate it. It's -- I would say that
13   next six months?                                           13    more than half of the engagements result in a
14   A. No.                                                     14    deposition, at least a deposition, so this may
15   Q. Have you ever testified in favor of an                  15    represent, you know, approximately half of the
16   individual human being who alleged that they were          16    engagements I've had.
17   injured by the product of a pharmaceutical or medical      17    Q.    Okay.
18   device company?                                            18    A.    But that's just a rough, rough guess.
19   A. I have been engaged in and retained in cases            19    Q.    And how long have you been doing medical-legal
20   like that. None of them have ever required deposition      20    consulting?
21   or testimony at trial. Some are still active and           21    A.    Since 2005.
22   haven't progressed that far, others resolved before        22    Q.    Okay. So about 11 years?
23   testimony was required.                                    23    A.    That's correct.
24   Q. How many of those cases have you worked on the          24    Q.    What percentage of your time in 2015 was devoted
25   side of the individual person who claimed that they were   25    to medical-legal consulting?


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 1   injured?                                                    1    A. In 2015 it was approximately 40 percent.
 2   A. I would estimate there's probably been four or           2    Q. Okay. What about 2016?
 3   five over the years. There's one that's currently           3    A. It's been about 25 percent.
 4   active.                                                     4    Q. 2015?
 5         VIDEO OPERATOR: Counsel.                              5    A. '15 was --
 6         MR. JONES: Oh, thank you.                             6    Q. Or 2014. I'm sorry.
 7         Are we at about an hour on the video?                 7    A. Oh, '14. I'm sorry. '14 was probably 30, 35
 8         VIDEO OPERATOR: Yes.                                  8    percent.
 9         MR. JONES: We normally take hour breaks so            9    Q. And what about 2013?
10   people can have bio breaks.                                10    A. Probably about the same.
11         THE WITNESS: Sure.                                   11    Q. And at NDA Partners, L.L.C., is that what it is?
12         MR. JONES: So let's go off the record.               12    A. Yes. Uh-huh.
13         VIDEO OPERATOR: We are going off the record.         13    Q. What else do you do in the rest of your time?
14         The time is 10:14 a.m.                               14    A. The company's prime focus is actually assisting
15         (Recess, 10:14-10:27 a.m.)                           15    start-up companies, develop their research plans, their
16         VIDEO OPERATOR: We are back on the record.           16    regulatory strategies, assist them in designing the
17         The time is 10:27 a.m.                               17    initial studies they need to do for their drugs and
18   BY MR. JONES:                                              18    medical devices, and assist them in properly writing and
19   Q. Dr. Feigal, welcome back from the break.                19    submitting, keeping the records of those studies,
20         Before the break, we were talking about, you'd       20    submitting them to FDA. We participate with those
21   mentioned that maybe you've had four or five clients       21    companies in some of their FDA meetings, in others we
22   over the years where they were individuals who alleged     22    work behind the scenes.
23   that they were injured by a drug or medical device and     23          And there are some companies where we will
24   that kind of got me thinking, none of those are listed     24    actually on a contract basis drop in management, if you
25   on the trial or deposition testimony list; right?          25    will. I've been chief medical officer of three


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 1   different companies on a part-time basis on a contract      1    the George Decou, D-E-C-O-U, versus Takeda
 2   through NDA Partners. We will -- with some of the           2    Pharmaceuticals?
 3   companies, they're increasingly virtual companies where     3    A. Yes.
 4   they don't have a full-time staff and they work -- the      4    Q. And that was in Nevada; right?
 5   company actually consists of contract staff who will        5    A. Yes, it was.
 6   actually do actually most of the work for the company.      6    Q. Okay. And how many days did you testify at that
 7   But that's a more recent type of thing we've been doing.    7    trial?
 8        Over the years, we've largely worked with the          8    A. That trial settled during my testimony so they
 9   companies in that early sort of strategic phase where       9    probably weren't done with me, but I testified on the
10   they're trying to get their product started. And we        10    29th, the 1st, and the 6th. So I testified on three
11   work with their investors as well as with the companies,   11    days and we still weren't done.
12   help investors, due diligence, evaluate products.          12    Q. Okay. And that was an Actos case --
13   Q. In 2015 you said about 40 percent of your time          13    A. Yes.
14   was on medical-legal consulting.                           14    Q. -- like we talked about earlier?
15        What did you do for the other 60 percent of the       15    A. Yes, it was.
16   time?                                                      16    Q. Okay. Then the one going up before that,
17   A. I worked with small -- I worked with these small        17    Pericor Therapeutics versus Merck, that looks like that
18   companies.                                                 18    was a Triple A arbitration?
19        In a typical point in time, I typically have          19    A. That's correct. That was a --
20   between 12 and 20 active small clients. You know, for      20    Q. Okay.
21   example, this morning before this meeting I took a call    21    A. That was a business dispute between Merck and
22   from one of those clients on a study design issue that     22    another company.
23   they were discussing with their statisticians.             23    Q. Right.
24        And so it's a lot of -- it's a very interactive       24          Going up before that, Kevin Phillips versus C.R.
25   process working with these companies as they try and       25    Bard, 2/5/2015, what was that case about?


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 1   move their products forward.                                1    A. That was a case that was -- involved an alleged
 2   Q. Okay. And how much do you bill those clients             2    injury from a medical device, an inferior vena cava
 3   per hour?                                                   3    filter.
 4   A. The rate that we have for small companies is             4    Q. IVC?
 5   billed by the task. We identify a task and then we          5    A. Yeah, IVC.
 6   price that, and it's a fixed price. If it takes less        6    Q. And what were -- well, did you testify in that
 7   time than that, billed at $500 an hour, they pay the        7    case that the company properly warned its users of the
 8   less; if it takes more time, we just do it for the fixed    8    risks?
 9   cost.                                                       9    A. Actually, not. In that case I was actually an
10   Q. Okay. Looking at your testimony list, for the           10    epidemiology expert and so I provided testimony about
11   last four years it doesn't look like that there have       11    what was known from the medical literature about the
12   been any updates on the trial testimony. The prior copy    12    performance of various IVC filters and whether or not
13   that I had had the last trial 9/29 to 10/1/15 and          13    accurate estimates were available about rates of
14   10/6/15, and that's the same as on the updated list; is    14    different complications.
15   that correct?                                              15    Q. Okay. And the jury verdict in that case was
16   A. Yes. There have not been any trials this year           16    about $2 million; is that correct?
17   since that time.                                           17    A. I don't know.
18   Q. Okay. And let's look at that list. Can you get          18    Q. Okay. Let's go up to the next one, Kristufek,
19   that list?                                                 19    K-R-I-S-T-U-F-E-K, versus Takeda Pharmaceuticals.
20         THE WITNESS: Can I get the list from you, Paul,      20          That one looks like it was in Philadelphia; is
21   prior testimony?                                           21    that correct?
22         There it is. Yes. Okay.                              22    A. Yes, it was. Uh-huh.
23         MR. JONES: Okay.                                     23    Q. Okay. Was that an Actos case as well?
24   BY MR. JONES:                                              24    A. Yes, it was.
25   Q. Going in reverse chronological order, that was          25    Q. And it looks like you testified on three


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 1   different days during that trial?                           1    A.      Again, I don't know. I don't -- usually I don't
 2   A. I did.                                                   2    keep track of the awards, and I also realize that there
 3   Q. Is that three full days?                                 3    are some negotiations and settlement process that
 4   A. I think it was two half days and a full day.             4    changes those from the time of the trial. So I --
 5         And, as you notice, the -- you may notice, the        5    sometimes I know, but usually I don't know what the
 6   Phillips trial was going on at the same time, so I had      6    results are.
 7   to -- I had to go from Philadelphia to Nevada and back.     7    Q.      Tersigni, T-E-R-S-I-G-N-I, versus Wyeth
 8   Q. Oh, wow.                                                 8    Pharmaceuticals and Pfizer in the District of
 9   A. It was a -- it was a busy week.                          9    Massachusetts, do you remember that case?
10   Q. I didn't notice that, but you're right.                 10    A.      I do.
11         And in that case the jury awarded approximately      11    Q.      And what was the drug at issue in that case?
12   $2.3 million; correct?                                     12    A.      The drug was fenfluramine and dexfenfluramine.
13   A. I don't know.                                           13    Q.      Is that Fen-Phen?
14   Q. The next one up, the Drakes versus Allergan in          14    A.      Yeah. It's part of the -- one of the fens.
15   the District of Vermont, what was that case about?         15    Yeah.
16   A. That case related to the drug Botox used to             16    Q.      Oh, it's just one of the fens?
17   treat spasticity from cerebral palsy and an allegation     17    A.      The other is phentermine.
18   that a seizure disorder had been caused by the Botox       18    Q.      And my research tells me that there was a
19   injections.                                                19    defense verdict in that case.
20   Q. And what was your role in that case?                    20         Does that sound --
21   A. To evaluate the evidence for the association            21    A.      Yes, I believe there was.
22   between botulinum toxin and seizure disorders and the      22    Q.      Then going above that, Diane Whitlatch,
23   accompanying warnings in or considerations for warnings    23    W-H-I-T-L-A-T-C-H, versus Takeda Pharmaceuticals in Cook
24   in the product labeling and the interactions between the   24    County, Illinois, do you remember that case?
25   company, FDA, and the European authorities on that         25    A.      Yes.


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 1   topic.                                                      1    Q. Okay. And that was an Actos case?
 2   Q. Okay. So at a high level, kind of like what              2    A. Yes, it was.
 3   you're testifying to in this case?                          3    Q. Okay. And in that case was there a defense
 4   A. Yes, at a high level.                                    4    verdict?
 5   Q. Okay. And isn't it true that the jury awarded            5    A. I don't recall.
 6   approximately 6.5 million in that case?                     6    Q. In fairness to you, I believe that there was --
 7   A. I remember there was a plaintiffs' verdict. I            7    A. Oh, okay.
 8   don't -- I don't know the amounts.                          8    Q. -- based on my research.
 9   Q. Okay. The next one up, Myers versus Takeda               9          Going above that, In Re: Actos. This would be
10   Pharmaceuticals in West Virginia, do you remember that?    10    Allen, A-L-L-E-N, versus Takeda Pharmaceuticals in the
11   A. I do.                                                   11    Western District of Louisiana.
12   Q. Okay. Was that also an Actos case?                      12          Do you remember that case?
13   A. It was.                                                 13    A. I do.
14   Q. And in that case, according to my research,             14    Q. And you testified for two days in that case?
15   there was a defense verdict but the plaintiff was          15    A. I did.
16   awarded $155,000 because the company had destroyed         16    Q. And at a high level, you testified that the
17   documents.                                                 17    warnings were appropriate and that the interactions
18        Were you aware of that?                               18    were -- with FDA were appropriate; is that correct?
19   A. I was aware of that jury and that award, yes.           19    A. Yes. At a high level, that's correct.
20   Q. The next one up, Wisniewski,                            20    Q. Okay. And in that case the jury awarded $9
21   W-I-S-N-I-E-W-S-K-I, versus Takeda Pharmaceuticals in      21    billion; is that correct?
22   Philadelphia, was that another Actos case?                 22    A. It was a large amount, later reduced, but I
23   A. Yes.                                                    23    don't know where that finally settled. But it was -- it
24   Q. And in that case the jury awarded approximately         24    was a large amount.
25   $2.14 million; is that correct?                            25    Q. The next one is Kendall versus Hoffmann,


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 1   H-O-F-F-M-A-N-N, in Atlantic City, New Jersey.              1    A. Yes, I do.
 2         Do you remember that case?                            2    Q. And what was the -- what drug or device was
 3   A. Yes, I do.                                               3    involved in that one?
 4   Q. What was that? Was that an Accutane case?                4    A. The drug was a drug called Humira, H-U-M-I-R-A,
 5   A. Yes, it was.                                             5    and it was an allegation that there was an injury
 6   Q. And what did you -- at a high level, what did            6    associated with the use of that drug.
 7   you testify about in the Accutane case?                     7    Q. Okay. And at a high level, did you testify
 8   A. I testified about the adequacy of the warnings           8    about the adequacy of the warnings and the company's
 9   for inflammatory bowel disease and the appropriateness      9    involvement with the FDA?
10   of the changes to the labeling that occurred over time.    10    A. Yes, I did.
11   Q. And in that case the jury awarded approximately         11    Q. Okay. And the plaintiff was awarded
12   1.58 million; is that correct?                             12    approximately 2.2 million in that case?
13   A. Again, I don't know.                                    13    A. As I recall, there was a plaintiffs' verdict,
14   Q. Okay. Above that, Alen versus Takeda                    14    yes. I don't know the amount.
15   Pharmaceutical in Nevada.                                  15    Q. Okay. Then we -- above that we have Cooper
16         Do you remember that case?                           16    versus Takeda Pharmaceuticals in San Francisco County;
17   A. I do.                                                   17    is that correct?
18   Q. Okay. And that was an Actos case?                       18    A. Yes, that's correct.
19   A. It was.                                                 19    Q. I'm a little confused because under the date it
20   Q. And that was a defense verdict in that case;            20    says Los Angeles, California. Is that right?
21   correct?                                                   21    A. You know, it may be -- I think the San Francisco
22   A. I do recall that, yes.                                  22    is wrong. I think it's Los Angeles. Because I don't
23   Q. Okay. The next one, Camhong, C-A-M-H-O-N-G,             23    remember testifying in San Francisco.
24   last name, A-N, versus Takeda Pharmaceuticals in           24    Q. Okay. And was that an Actos case?
25   Baltimore City, Baltimore, do you remember that?           25    A. Yes, it was.


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 1   A. Yes.                                                     1    Q. Okay. And in that case the jury awarded
 2   Q. And was that an Actos case?                              2    approximately 6.5 million to the plaintiff?
 3   A. Yes, it was.                                             3    A. Again, I don't recall.
 4   Q. And in that case the jury awarded approximately          4    Q. Okay. Going above that, In Re: Gadolinium,
 5   1.7 million to the plaintiff?                               5    this is the Decker versus GE Healthcare case in the
 6   A. Again, I don't know.                                     6    Northern District of Ohio.
 7   Q. Okay. Going above that, Fleischmann,                     7          Do you remember that case?
 8   F-L-E-I-S-C-H-M-A-N-N, versus DJO, Inc., in San Diego       8    A. I do.
 9   County, do you remember that case?                          9    Q. And what is gadolinium?
10   A. I do.                                                   10    A. Gadolinium is a drug that's given intravenously
11   Q. And was that a pain pump case?                          11    and allows you to visualize vascular structures and --
12   A. No. It was a -- it was a cold therapy device.           12    on MRI scans and to -- it highlights different tissues
13   It was a device that would wrap around the knee and --     13    in different ways so it's used largely to detect brain
14   or the shoulder or whatever orthopedic part that was --    14    tumors and other types of abnormalities like that.
15   had been surgery and would cool the -- cool the joint to   15    Q. And what did the plaintiffs allege in that case?
16   treat pain. But --                                         16    A. They alleged that there had been an injury from
17   Q. Okay.                                                   17    the gadolinium that had caused a very severe
18   A. But strictly through cooling.                           18    rheumatologic disease.
19   Q. Okay. And my research says that was a defense           19    Q. And what was your role in that case?
20   verdict.                                                   20    A. It was evaluating the signal detection, the
21         Do you remember?                                     21    evaluation of the initial evidence that the gadolinium
22   A. Yes, I believe that's correct.                          22    contrast agents were related to this syndrome, and then
23   Q. Okay. The next one, Delores and Milton Tietz,           23    a testimony on the nature and -- of the company's
24   T-I-E-T-Z, versus Abbott Labs, in Cook County, Illinois,   24    interactions with FDA in updating their labeling.
25   do you remember that one?                                  25    Q. Was your client GE in that case?


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 1   A. Yes, it was.                                             1    A.      Describe them.
 2   Q. I used to represent GE too.                              2          So starting in 2012, there's a case where I
 3   A. Oh.                                                      3    represented plaintiffs who had a dispute with BlueCross,
 4   Q. The plaintiff -- the jury awarded the plaintiff          4    and we had a settlement in that in which case the
 5   approximately 5 million in that case?                       5    plaintiffs got their bills paid. BlueCross ended up
 6   A. I don't know the amount, but I do recall it was          6    paying.
 7   a plaintiffs' verdict, yes.                                 7    Q. What was the nature of that dispute?
 8   Q. Okay. Going up next, we have an arbitration              8    A. BlueCross had denied payment for an artificial
 9   hearing, Eagle Pharmaceuticals versus The Medicine          9    intervertebral disk that I think over 40 plaintiffs had
10   Company.                                                   10    had placed and had either bills or paid for out of their
11        Was that a business dispute?                          11    own pocket.
12   A. It was.                                                 12          BlueCross stated that they declined to pay for
13   Q. Okay. Going next, we have Reynolds, Wilkinson,          13    it because it was an investigational product but, in
14   Young, Rossitto, R-O-S-S-I-T-T-O, versus Hoffmann in       14    fact, it was an approved product and it was used on
15   Atlantic County, New Jersey.                               15    label and it had been approved for about eight years.
16        Do you remember that case?                            16    So --
17   A. Yes, I do.                                              17    Q. Okay.
18   Q. Was that an Accutane case?                              18    A. -- that was the -- I was -- I played a small
19   A. Yes, it was.                                            19    role in just saying whatever else BlueCross has the
20   Q. Was there a defense verdict in that case?               20    authority to pay for or not pay for, this was not an
21   A. As -- there were four plaintiffs. As I recall,          21    investigational product.
22   there were both defense and plaintiffs' verdicts in that   22    Q. Okay. Treadwell v. Allergan.
23   case.                                                      23    A. So this is a Botox case involving a series of
24   Q. Mixed bag?                                              24    alleged injuries that probably were -- I actually don't
25   A. Mixed, yes. Two -- it was two defense and two           25    remember the exact details of the plaintiff's injuries


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 1   plaintiffs, as I recall.                                    1    but --
 2   Q. Okay. Then going up to 5/23/12, the Everetts             2    Q. Is it basically the same as the Botox case that
 3   versus C.R. Bard in Maricopa County, Arizona.               3    you testified at trial about?
 4         Do you remember that case?                            4    A. No. You know, each of the Botox cases have been
 5   A. I do.                                                    5    slightly different. All of them have the common theme
 6   Q. Was that an IVC case?                                    6    in it that it's a patient who has a neurologic condition
 7   A. Yes, it was.                                             7    that they feel is associated with their Botox use but in
 8   Q. And do you remember whether there was a defense          8    each case it was a different neurologic condition.
 9   verdict in that case?                                       9    Q. Okay. In Re: Cold therapy cases, what was that
10   A. I don't recall.                                         10    about?
11   Q. Other than IVC, Accutane, gadolinium, Actos,            11    A. Those are the cases that show up in trial with
12   Humira, Fen-Phen, and Botox, what other drugs or medical   12    DJO with --
13   devices have you given testimony on in your consulting     13    Q. Oh.
14   career?                                                    14    A. -- with alleging injuries from a cooling device.
15   A. Well, that would be reflected in the deposition         15    Q. The wrap; right?
16   testimony in the remainder of the report.                  16    A. Yeah, the wrap.
17   Q. Okay. So it might help you if we go through             17    Q. Okay.
18   some of that?                                              18    A. The cooling wrap.
19   A. Okay. Do you want to go front to back or back           19    Q. Dalton versus Animas Corporation. That's in
20   to front?                                                  20    Louisville, my neck of the woods.
21   Q. Well, let's see. Let's start on -- let me make          21    A. It is. That was a case involving an insulin,
22   sure that I'm on the right page with you.                  22    insulin pump that -- and alleged injury from a pump
23   A. I mean, if you want, I could actually walk down         23    which discharged more insulin than was intended so --
24   through them and just briefly describe them.               24    Q. Was that -- who had that case? Greg Bubalo?
25   Q. Yeah. Yeah.                                             25    A. I don't think so. I know Mr. Bubalo, but I


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 1   don't believe that he was involved with that, with this    1    involvement with Humira?
 2   particular case.                                           2    A. All of those cases -- all of those companies
 3   Q. You know him from the Fen-Phen; right?                  3    make TNF-alpha inhibitors, and I think this was a
 4   A. Right. That's correct. Yeah, that's correct.            4    patient who had been on four or five different drugs in
 5   Q. Next, Calisi, C-A-L-I-S-I, versus Abbott Labs?          5    the class.
 6   A. This was a Humira case.                                 6    Q. Got you.
 7   Q. Okay.                                                   7    A. As I recall.
 8   A. Eagle is -- Eagle and gadolinium we've talked           8         Then there was an inferior vena cava, a
 9   about. Cooper --                                           9    deposition relating to Accutane and inflammatory bowel
10   Q. Right.                                                 10    disease.
11   A. -- we've talked about.                                 11         The next two are on the -- result also in trial
12         The Wells is a case where I wasn't called to        12    testimony.
13   testify at court, but it involved another child with      13         The case involving Gates was with the da Vinci
14   cerebral palsy --                                         14    robotic surgery device made by Intuitive.
15   Q. Okay.                                                  15    Q. What was your role in the da Vinci case?
16   A. -- and Botox.                                          16    A. As a medical device expert on manufacturing and
17   Q. Was that -- is that the -- no. What drug was           17    design standards that companies have to meet and what
18   involved for that? Oh, Botox. Okay. Got you.              18    was known about the problems with, basically, the FDA
19   A. Yeah, this was Botox.                                  19    aspects of the approval of products like that.
20         Bard, this was a case where I was an                20    Q. Okay. And the Willoughby case?
21   epidemiologist offering testimony in epidemiology about   21    A. The Willoughby case was a med-mal case that also
22   what was known about the use of surgical mesh and         22    cited the hospital engineer, which was an employee of, a
23   pelvic.                                                   23    contract employee of General Electric, one of their
24   Q. Is this the -- okay. Have you testified -- you         24    companies. And so I offered opinions on the proper role
25   haven't testified in any of those mesh cases?             25    of and the responsibilities of hospital engineers, as


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 1   A. Not in court. I've provided a deposition but            1    opposed to device manufacturers. The injury was caused
 2   not in court.                                              2    by a malfunctioning surgical table.
 3   Q. And what company did you work for? Did you work         3          So the Drake case we've discussed.
 4   for Bard in that case?                                     4          The next Bard cases are IVC, deposition relating
 5   A. I was asked to provide these by attorneys for,          5    to inferior vena cavas.
 6   yes, C.R. Bard.                                            6          We've talked about Brunston and --
 7   Q. Okay.                                                   7    Q. Now, on the Campbell case --
 8   A. Yeah.                                                   8    A. Yes.
 9          And An, the next case, we've talked about.          9    Q. -- it says it's in Scott Circuit Court in
10          The next page has a deposition for Fen-Phen        10    Kentucky.
11   that's related to I'm not even sure which cases.          11          Do you remember who the attorney was who took
12   Q. That's okay.                                           12    your deposition in that case?
13   A. The --                                                 13    A. I don't.
14   Q. Brown?                                                 14    Q. Okay.
15   A. Yeah. I don't -- I guess --                            15    A. There are some memorable ones but I don't recall
16   Q. Is that a med-mal case?                                16    in that case.
17   A. You know, this reference looks incomplete. I           17    Q. Okay. Brunston versus Guy versus Bayer
18   can't quite tell which case this is. You know, I have     18    HealthCare?
19   not done very many med-mal, but I don't recall this       19    A. I believe this is a deposition relating to
20   case.                                                     20    Mirena but I'm not sure. But I -- I'm not sure which --
21   Q. Okay. And we have Actos.                               21    if that's the case.
22   A. Then we have, yeah, more Actos. The Wendell            22    Q. Let me ask you -- let me stop you for a second.
23   is -- I would have -- is probably a Humira case but I'm   23          Other than the Mirena cases, have you ever
24   not sure.                                                 24    served as an expert for Bayer?
25   Q. Do all of those companies there -- what's their        25    A. I have evaluated other product issues. I can't


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 1   remember if they came to depositions and if this is one     1    role is to -- largely as a rebuttal witness to
 2   of them.                                                    2    plaintiffs' witness who asserted that the company was
 3   Q. Okay.                                                    3    required to meet certain device requirements but, in
 4   A. And I don't recall at this point what they were.         4    fact, they are not because it's a banked human tissue.
 5   Q. Have you ever worked with the attorneys from             5    So I did a deposition for that.
 6   Covington & Burling before on any of the other cases?       6    Q. Okay. Enoch, E-N-O-C-H, v. Forest Research
 7   A. Yes, I have. With the Accutane cases.                    7    Institute?
 8   Q. Okay. Anything other than Accutane?                      8    A. This is a deposition about Lexapro and Celexa.
 9   A. I believe the Covington attorneys have -- well,          9    Q. Good v. Pfizer Wyeth, is that Fen-Phen?
10   I'm not sure. I can't remember if they also had a role     10    A. Yes, it is.
11   in some of the Actos trials or not.                        11    Q. Then we have the Mirena migration/perforation
12   Q. And what about the attorneys from Shook Hardy           12    case.
13   Bacon; have you ever worked with those --                  13          You gave a deposition on October the 20th, 2015;
14   A. Shook --                                                14    is that right?
15   Q. -- with that firm before?                               15    A. Yes, that's correct.
16   A. Shook Hardy had -- some of their attorneys had a        16    Q. And then we have U.S.A., State of California,
17   role in some of the Actos cases as well.                   17    Colorado, ex rel., Alex Booker and Edmund Hebron versus
18   Q. What about Goldman Ismail; have you ever worked         18    Pfizer.
19   with them before?                                          19          Is that a qui tam case?
20   A. There is a partner, there is a firm in Los              20    A. I believe it was, yes.
21   Angeles where one of the names in the firm is Ismail.      21    Q. And who did you serve as an expert for in that
22   I'm not sure if it's the same -- if it's the same firm.    22    case?
23   But I have worked on -- yes, I have worked on -- if it's   23    A. For Pfizer.
24   the same firm, I have worked on cases with them.           24    Q. And that's obviously been unsealed; correct?
25   Q. What kind of cases?                                     25    A. You know, I don't know the status of that.


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 1   A. As I recall, these are probably on this list as          1    Q.      The next one, Sherrer versus Truman Medical
 2   a deposition for -- relating to Lexapro and Celexa.         2    Center, Boston Scientific, C.R. Bard, is that a
 3   Q. Okay. What about, have you ever worked with a            3    transvaginal mesh case?
 4   firm called Bartlit Beck?                                   4    A.      I believe so, yes.
 5   A. Yes. Bartlit Beck I believe were the attorneys           5    Q.      Okay. The next one is Forsta, F-O-R-S-T-A, AP,
 6   in Chicago that represented Allergan in the Drake case.     6    A-P, hyphen, F-O-N-D-E-N and Danske, D-A-N-S-K-E, Invest
 7   Q. Okay.                                                    7    Management A/S individually and on behalf of all other
 8   A. So finishing up the list, the Zimmer Nexgen              8    similarly situated plaintiffs versus St. Jude Medical,
 9   knee, this was a case involving knee implants, and I        9    Inc., and others.
10   offered testimony on a manufacturer's responsibility to    10         What's that case about?
11   evaluate their product prior to approval and once on the   11    A.      It's a shareholder suit about -- alleging that
12   market.                                                    12    there was information that the Saint Jude Corporation
13   Q. What about Jones v. Pfizer, which is right above        13    should have disclosed.
14   that? I think we skipped that.                             14    Q.      What -- who do you serve as an expert for in
15   A. Yeah, we did.                                           15    that case?
16         What I don't recall, that may have been a --         16    A.      I was an expert on behalf of Saint Jude.
17   that may have been a Fen-Phen case, since they acquired    17    Q.      The next one is Bartolini, B-A-R-T-O-L-I-N-I;
18   Wyeth. So I don't remember. I'd have to go back and        18    Raquel, R-A-Q-U-E-L; McGuinness, M-C-G-U-I-N-N-E-S-S,
19   look to see if that was a Fen-Phen case. But I believe     19    hyphen, Colin, C-O-L-I-N, versus Abbott.
20   that's what it may have been.                              20         What's that case about?
21   Q. Larson v. Abbott?                                       21    A.      That case involves the drug Depakote and the
22   A. That would have been a Humira case.                     22    issue of birth defects.
23   Q. In Re: AlloDerm, AlloDerm case.                         23    Q.      And what is your -- what's your role in that
24   A. This was a dispute over a banked human tissue           24    case? What kind of testimony are you giving in that
25   product that was actually called AlloDerm, and it -- my    25    case?


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 1   A. As a safety expert on safety labeling and                  1    depose you and find out what your opinions are going to
 2   warnings and the relationship between the evolving            2    be when we get to the trial of this case, and so are
 3   evidence over time and the adequacy of the label --           3    there any opinions that you have about this case that
 4   labeled warnings.                                             4    you did not include in your 52-page report?
 5   Q. So I'm looking at your report, and you say you             5    A. Generally speaking, no. There may be things
 6   served as an expert consultant on regulatory matters          6    that I would be asked an opinion about that isn't word
 7   under the jurisdiction of the United States Food and          7    for word contained in the report, but they would all be
 8   Drug Administration, as an expert clinical                    8    related to opinions in the report. So you can rely on
 9   epidemiologist, and on matters related to pharmaceutical      9    the report as the basis for my opinions.
10   products, the pharmaceutical industry, and other areas       10    Q. Okay. And you did a really nice job of putting
11   within my expertise as described below; is that correct?     11    together a table of contents, which makes it easier to
12   A. Yes.                                                      12    kind of flow through it.
13   Q. Okay. So what do -- what subject matters do you           13          Section I is your qualifications; is that right?
14   intend to offer an expert opinion in in these cases?         14    A. That's correct.
15   A. Well, I think it's probably easiest to start              15    Q. Okay. And then Section II is titled "FDA
16   perhaps with my general, you know, principle conclusions     16    Requirements and Review Practices," and under that are
17   near the end of the report at 51.                            17    various subheadings; correct?
18   Q. Well, can I interrupt? Maybe I can --                     18    A. That's correct.
19   A. Sure.                                                     19    Q. But, by and large, would you agree with me that
20   Q. -- shortchange this.                                      20    the information contained in Section II is basic
21   A. Sure.                                                     21    background information on FDA processes for drug
22   Q. It's probably a poor question.                            22    development and drug labeling?
23   A. Okay.                                                     23    A. Yes, it is. It's tailored to the issues in this
24   Q. Are you purporting to offer an epidemiology               24    case. So there have been sections in other reports that
25   expert opinion in this case?                                 25    I didn't include here that weren't at issue here. And


                                                        Page 83                                                    Page 85
 1   A.    Yes, as an -- as epidemiology applies to                1    because there were many issues around pharmacovigilance,
 2   evaluating evidence for inclusion in the product              2    the pharmacovigilance in this section is written with
 3   labeling and the adequacy of warnings.                        3    this case in mind.
 4   Q.    Okay. And you are providing expert testimony            4          But it is general background. It's stuff, it's
 5   as -- in an FDA regulatory capacity as well; correct?         5    materials that would apply to -- generally, to all
 6   A.    Yes, that's correct.                                    6    products in a similar situation, looking at a safety
 7   Q.    Are there any other areas, areas of expertise,          7    issue developing after approval.
 8   that you claim besides epidemiology and FDA regulatory        8    Q. Okay. And then Section III, you discuss Mirena
 9   issues?                                                       9    specifically and the IND and NDA approval; correct?
10   A.    Well, it relates to the regulatory areas, but I        10    A. That's correct.
11   am an expert on safety communications and warnings,          11    Q. So you start getting more specific in Section
12   whether they come from companies or from FDA and whether     12    III.
13   they're required by FDA or not.                              13    A. That's right. And that section, Section III, is
14   Q.    And your report that you've submitted, the             14    basically the background, the type and size of studies
15   substance of it is 52 pages long; correct?                   15    that led to the approval and what was known at the time,
16   A.    That's correct.                                        16    and so that also is general in the sense that it doesn't
17   Q.    Okay. And these are the opinions that you're           17    really dig down in yet to the issues around IIH.
18   going to be giving in this case; correct?                    18    Q. Okay. And then Section IV is titled "Idiopathic
19   A.    Yes; to a large extent. There may be things            19    Intracranial Hypertension"; right?
20   that come up today or that come up in reaction to things     20    A. Yes, that's right.
21   that developed after the report, such as other               21    Q. And you don't claim to be an expert in
22   depositions, but I don't think any of them have required     22    idiopathic intracranial hypertension, do you?
23   me to amend this report. I think this report does cover      23    A. No, I'm not. I mean, in the days when I was
24   the areas that I intend to offer opinions about.             24    seeing patients, I took care of a patient with
25   Q.    Okay. Well, this is my only opportunity to             25    pseudotumor cerebri, as we called it back then, but I'm


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 1   not an expert -- I don't -- I'm not offering myself as      1    discussed as a potential cause.
 2   an expert on that condition.                                2    Q. Then Section V of your report is titled David
 3   Q. When is the last time you treated any patients?          3    Ross's, "Dr. David Ross's Report."
 4   A. I still am actively licensed, but I have not             4          Do you see that?
 5   been seeing patients since 1992, when I went to FDA.        5    A. Yes.
 6   Q. Okay. And how many years were you seeing                 6    Q. Okay. And then is it fair to say that what's in
 7   patients before 1992?                                       7    that report or what's in that section of your report is
 8   A. As a licensed physician, from 1977 through 1991.         8    your criticisms of Dr. Ross's expert report in this
 9   Q. And did you serve in -- I looked at your CV.             9    case?
10        It looks like you had a lot of administrative         10    A. Yes, it is.
11   responsibilities during those years; correct?              11    Q. And you know Dr. Ross from FDA; right?
12   A. Well, I had my share.                                   12    A. Yes, I -- he -- I was responsible -- I was
13        I was the residency coordinator for a couple of       13    responsible for the division he was part of and I was
14   years and I was an epidemiology program director and I     14    the director of that division for a year and remember
15   was a director of quality-assurance at San Francisco       15    working with him as he reviewed a supplemental
16   General Hospital, but I also had a very active faculty     16    application for a New Drug Application that year, so
17   practice as a member of, you know, three medical schools   17    actually I knew Dr. Ross fairly well.
18   I was faculty at and saw patients on a regular basis in    18    Q. What drug was that?
19   the house staff and student and fellows' clinics and was   19    A. It was -- you know, I forget which drug it was.
20   an attending on the hospital services, including the       20    It was a -- as I recall, it was a cephalosporin, an
21   consult services for other disciplines, approximately      21    antibiotic, and the indication was, I believe, a novel
22   four months of the year.                                   22    indication, which was to prevent infections in patients
23        So I would say probably about half my time as an      23    getting cancer chemotherapy.
24   academic was spent in clinical care of patients or         24          Eventually, that drug didn't need to be used
25   patients of the house staff I supervised.                  25    anymore because growth factors could be used to raise


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 1   Q. You're smiling because you anticipated my next           1    white counts to prevent the infections.
 2   question, which was what percentage of the time?            2    Q. Uh-huh.
 3         During those years when you were working at the       3    A. But in the day and when I was practicing, that
 4   hospitals, how many patients did you diagnose with          4    was the most common cause of death in cancer patients
 5   pseudotumor cerebri?                                        5    was infections complicating their chemotherapy.
 6   A. I can recall one.                                        6          So that was quite an important new indication,
 7   Q. Okay. How many patients during that time did             7    and he was the primary reviewer for that.
 8   you treat for pseudotumor cerebri?                          8    Q. Okay. And what -- you said you were the head of
 9   A. We treated that patient. That patient remained           9    that division?
10   on my medical service with neurology consultants and       10    A. That's correct. I was the director of the
11   neuro-ophthalmologists acting as consultants.              11    Division of Anti-Infective Products, which is where he
12         We treated her as -- it's an unusual enough          12    was working in probably about 1994, 1995. I don't
13   condition that I can't claim to remember all my patients   13    remember exactly.
14   but, as I recall, we treated her with diuretics and        14    Q. And how much interaction would you have with Dr.
15   repeated lumbar punctures.                                 15    Ross?
16   Q. Do you remember what caused that particular             16    A. Well, a fair amount. As a division director in
17   patient's pseudotumor cerebri?                             17    the division, as I recall, we may have had not more than
18   A. I don't think we knew. She was a patient who            18    a dozen physician reviewers and we would make rounds, if
19   was obese and a patient who had taken tetracycline, but    19    you will, on our drugs, talk about the drugs that were
20   I don't think we knew.                                     20    being evaluated that the physician reviewers had
21   Q. And at least in some medical literature                 21    responsibility with.
22   tetracycline has been associated with the development of   22          They usually had the lead responsibility for the
23   PTC; correct?                                              23    clinical aspects of the drugs. The teams also included
24   A. Yes. I haven't critically reviewed that                 24    other disciplines like toxicologists and
25   literature, but that is one of the drugs that's            25    pharmacologists. But I would have had almost -- you


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 1   know, certainly every week and almost -- in some time       1    of his report. Yeah, that's what these three sections
 2   periods, you know, several times a week direct              2    are about are my criticisms or comments on points that
 3   interactions with Dr. Ross.                                 3    they're making.
 4   Q. Did you get along with Dr. Ross?                         4         MR. JONES: Okay. Jumping back up for a second,
 5   A. Yes.                                                     5    we're two minutes until the video ends, and I don't
 6   Q. Was he a good employee?                                  6    think I can get a question out and an answer in two
 7   A. For the year I worked with him, I thought he did         7    minutes.
 8   a very good job, yes.                                       8         THE WITNESS: All right.
 9   Q. Do you think he's smart and competent?                   9         MR. JONES: So let's go off the record, take a
10   A. Well, you know, my direct experience is limited         10    short break, and we'll come back to it.
11   to that year and that review, but I thought he did a       11         VIDEO OPERATOR: We are going off the record.
12   good job.                                                  12         This is the end of Media Number 1.
13   Q. Okay. Do you think he's smart and competent?            13         The time is 11:17 a.m.
14   A. I think he is smart. You know, competent is             14         (Recess, 11:17-11:31 a.m.)
15   just a little too broad. I think you'd have to talk        15         VIDEO OPERATOR: We are back on the record.
16   about specific work products or specific opinions and      16         This is the beginning of Media Number 2, and the
17   things. I don't think he and I would always agree.         17    time is 11:31 a.m.
18   Q. You don't think that the two of you would agree         18         MR. JONES: Excuse me.
19   or you and I would agree?                                  19    BY MR. JONES:
20   A. He and I would agree.                                   20    Q. Dr. Feigal, we're back on the record after a
21   Q. Okay.                                                   21    break.
22   A. I don't know about you.                                 22         Let's go to your CV.
23   Q. Did you guys ever have any conflict with one            23    A. Sure.
24   another?                                                   24    Q. Talk about it for a second.
25   A. Not that I recall.                                      25    A. Okay.


                                                Page 91                                                         Page 93
 1   Q. Did you ever sanction him, punish him, write him         1    Q. Okay. We talked already about your experience
 2   up for any sort of deficiencies in his work product at      2    prior to 1992.
 3   FDA?                                                        3          It looks like you went to the FDA beginning in
 4   A. No.                                                      4    1992.
 5   Q. Then the next section, Section VI, is "Dr.               5    A. That's correct.
 6   Mayhar Etminan's Report," and it looks like you spend       6    Q. And what was your position in 1992 when you
 7   between Page 45 and 48 on your criticisms of his report;    7    started at FDA?
 8   is that correct?                                            8    A. My initial position was I was a director of the
 9   A. That's correct.                                          9    Division of Anti-Viral Drugs.
10   Q. Okay. And I don't -- did you know that he is            10    Q. Okay. And that was in the Center for Drug
11   not going to be an expert in this case?                    11    Evaluation and Research?
12   A. Yes, I was informed that he withdrew.                   12    A. That's correct.
13   Q. Okay. So we will probably not talk about that           13    Q. And what did you do as the division director for
14   today, which may make you happy.                           14    anti-viral drug products?
15   A. I'd be happy to talk about it, but since he's           15    A. Our division was one of nine divisions that
16   withdrawn --                                               16    divided up the drugs that are on the market and the
17   Q. Well, I know. But it will be shorter.                   17    drugs -- and also the drugs that are in testing.
18   A. No. I'm --                                              18          So I had responsibility for all of the drugs for
19   Q. Shorter is happier for everybody.                       19    AIDS and influenza and herpes infections and as well as
20   A. Shorter is good.                                        20    drugs for fungal infections and tuberculosis.
21   Q. Okay. And then it looks like you spend Page 50          21    Basically, all the non-sort of bacterial infections. We
22   criticizing Dr. Fraunfelder's report; is that correct?     22    also had the transplant drugs in our division.
23   A. Well, I make comments about it, yes.                    23          So as the division director, I was responsible
24   Q. Make comments?                                          24    for both the investigational phase and the
25   A. Yes. I mean, I don't -- yes, I make criticisms          25    post-marketing phase for the drugs we were responsible


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 1   for.                                                        1    A. It could. It was -- there was an OTC drug
 2   Q. And how many employees did you have working for          2    division as well, and so there was a joint
 3   you in the Division of Anti-Viral Drug Products?            3    responsibility between the OTC group and the new drug
 4   A. When I started, there were 60. Within a couple           4    groups.
 5   of years, it was up closer to 120.                          5    Q. Okay. And you did -- so you were in those
 6   Q. Okay. And did your division include any                  6    positions.
 7   contraceptive products?                                     7         By '97, had you given up the position of
 8   A. It did. We had responsibility for the topical            8    director Division of Anti-Viral Drug Products?
 9   contraceptives, such as nonoxynol-9 that was used in        9    A. Yes. In '97 I moved from the Center for Drugs
10   contraceptive foams and is used with coating on condoms.   10    to the Center for Biologics, where I was the deputy
11   Q. Okay. Any others?                                       11    medical -- deputy -- the medical duty director, center
12   A. Those were the principal ones.                          12    director.
13   Q. Okay. And was that a product that was approved          13    Q. And then take me to '97 to '99. What did you do
14   as a new product while you were the director for the       14    at FDA then?
15   Division of Anti-Viral Drug Products?                      15    A. So in '97 to '99 I was the medical deputy center
16   A. No. It was an old product and, largely, an OTC          16    director in Biologics. I was the second, if you will,
17   product. But we were very actively involved with           17    in support of the center director for Biologics and I
18   contraception and -- because of the interest in            18    also had organizational units that directly reported to
19   providing ways of preventing HIV transmission during       19    me, including the epidemiology, biostatistics, the
20   sex, which is how it's usually transmitted, and so I       20    pharmacovigilance programs, advisory committees. So I
21   served on a number of groups that evaluated                21    had a role as a deputy and then some direct
22   contraceptive methods and contraceptive studies during     22    responsibility, organizational responsibilities.
23   those years.                                               23    Q. Going back to the Office of Drug Evaluation-IV,
24   Q. Okay. Then -- so you started as the director of         24    currently, the FDA website says the Office of Drug
25   that division in '92?                                      25    Evaluation-IV includes three divisions: The Division of


                                                Page 95                                                          Page 97
 1   A. Yes, that's correct.                                     1    Nonprescription Drug Products, the Division of Medical
 2   Q. And stayed in that position until '96?                   2    Imaging Products, and the Division of Pediatric and
 3   A. Yes. I held some positions concurrently but I            3    Maternal Health.
 4   was the division director from, yeah, 1992 through 1996.    4           Is that the same structure as it was back in
 5   Q. And what -- you held positions concurrently in           5    1995 to 1997?
 6   the period between '92 and '96?                             6    A. No. They've renumbered the offices and now the
 7   A. Yes. So --                                               7    office that I formerly had is -- because all of the
 8   Q. What positions?                                          8    drugs are for infections, it's called the Office of
 9   A. Well, I was the director of the Office of Drug           9    Anti-Infective Drug Products, I think is the name of the
10   Evaluation-IV from 1995 through 1997. And so the           10    office. So that's -- most of the offices just have a
11   structure at FDA is that the new drug divisions report     11    number --
12   to one of five office directors and the office directors   12    Q. Uh-huh.
13   have -- supervise the division directors. So I             13    A. -- but my old office was named after the
14   concurrently held both the office position and was at      14    products, since they're -- all the products were pretty
15   any given time the director of one of my divisions.        15    much in one area.
16   Q. And what products or what types of products did         16    Q. So today that particular office doesn't have a
17   the Office of Drug Evaluation-IV regulate?                 17    number assigned to it?
18   A. That office had responsibility for all types of         18    A. That's right.
19   infections, not just the viral and the tuberculosis and    19    Q. I'm just trying to understand the structure.
20   fungal that I talked about before, but it was all the      20    A. Yeah. No. That's right. No. It's a little --
21   anti-infective products.                                   21    it's a little irrational, but the others are all
22         It was about -- it was a very large group of         22    numbered and then there's that office which actually
23   drugs. It was about a quarter of the drugs on the          23    just has -- is called the Office of Anti-Infective Drug
24   market were our responsibility.                            24    Products, as I recall.
25   Q. And it included OTC products?                           25    Q. Okay. So from '92 to '97 you were part of the


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 1   Center for Drug Evaluation and Research, the CDER;          1          I can make the case it belongs in either, but
 2   correct?                                                    2    the copper is thought to have a drug-like effect and
 3   A. That's correct.                                          3    that's the rationale for that it's different than just a
 4   Q. Okay. And then '97 to '99 you moved over to the          4    plain plastic IUD.
 5   Center for Biologics Evaluation and Research, the CBER;     5    Q. Were you ever -- during your time at FDA between
 6   correct?                                                    6    '92 and 2004, were you ever personally involved in any
 7   A. That's correct.                                          7    part of the regulatory action related to Mirena?
 8   Q. And that's a different division, obviously.              8    A. No.
 9   A. Yes. It's a -- there are three medical product           9    Q. During your time at FDA between '92 and 2004,
10   groups that report to the commissioner, Center For         10    were you ever personally involved in any aspect of
11   Drugs, Biologics, and Devices. All of them have            11    regulating ParaGard?
12   slightly longer names than that, but those are the three   12    A. No.
13   categories you can think about.                            13    Q. Have you ever written any medical articles
14   Q. Okay. And then the devices, from '99 to 2004            14    related to the Mirena product?
15   you served in the Center For Devices and Radiological      15    A. No, I have not.
16   Health; right?                                             16    Q. Have you ever personally been involved in any
17   A. Yes, that's right. I was the director on this           17    epidemiology studies involving the Mirena product?
18   one.                                                       18    A. No, I have not.
19   Q. Okay. So that, the Center For Devices and               19    Q. During your time at FDA between '92 and 2004,
20   Radiological Health, they don't regulate drugs in that     20    were you ever involved in any way with the Norplant
21   division; correct?                                         21    product?
22   A. No. If they're -- if the product is regulated           22    A. No, I was not.
23   as a drug, it's in CDER, but there are combination         23    Q. Have you ever written any medical articles
24   products and drug delivery devices, some of which are      24    related to the Norplant product?
25   regulated in the device center.                            25    A. No.


                                                Page 99                                                        Page 101
 1   Q.     That's a good point.                                 1    Q. Have you ever conducted any epidemiology studies
 2         You're familiar with the Mirena product; right?       2    related to the Norplant product?
 3   A. Yes.                                                     3    A. No, I have not.
 4   Q. And it's a -- is it a combination product?               4    Q. Have you ever written any medical articles
 5   A. It is, yes.                                              5    related to levonorgestrel?
 6   Q. Okay. Because it's a device that releases a              6    A. No.
 7   synthetic progestin drug; correct?                          7    Q. Have you ever been involved in, personally
 8   A. That's correct.                                          8    involved in, any epidemiology studies involving
 9   Q. And so does Mirena come under the guise of               9    levonorgestrel?
10   the -- under the regulatory authority of the CDRH or the   10    A. No, I have not.
11   CDER?                                                      11    Q. And in preparing your report in this case, you
12   A. It's the responsibility of CDER and it has an           12    didn't engage in any sort of epidemiology studies
13   approval as a drug.                                        13    related to Mirena or Norplant; correct?
14   Q. Okay.                                                   14    A. Not in the usual sense of that.
15   A. The contraceptives that have no drug action,            15          I did independently use some of the same tools
16   like the old Lippes Loop and the Dalkon Shield, were       16    that the plaintiffs' experts used to look at the
17   regulated as devices.                                      17    epidemiology of the reporting of IIH associated with
18   Q. What about, do you know what ParaGard is --             18    different products using software such as OpenVigil,
19   A. Yes.                                                    19    which both Drs. Ross and Etminan used.
20   Q. -- the copper IUD?                                      20    Q. But you didn't develop any of your own methods
21   A. Yes.                                                    21    to study the epidemiology or any sort of relationship
22   Q. Is that under CDRH or CDER?                             22    between Mirena and pseudotumor cerebri?
23   A. You know, I always have to look that up, but I          23          MR. SCHMIDT: Objection. Vague.
24   think it's regulated as -- I think it's regulated in       24          THE WITNESS: I didn't develop new methodology.
25   CDER but I have to look it up to be sure.                  25    I used my knowledge of epidemiologic methods to evaluate


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 1   the existing literature and the evidence that's             1    consultant.
 2   available through post-marketing surveillance.              2         I think initially I thought it would just be a
 3   BY MR. JONES:                                               3    bridge until I found something else. But I considered
 4   Q. And you did that for purposes of criticizing             4    two different firms and selected NDA Partners.
 5   plaintiffs' experts' methodology and results in this        5    Q. And when you were at FDA, obviously, you were in
 6   case; correct?                                              6    the Washington, D.C., area; right?
 7        MR. SCHMIDT: Object to characterization.               7    A. Yes, that's correct.
 8        THE WITNESS: Well, that's probably where I             8    Q. Okay. And where -- back in 2004, where was NDA
 9   summarized it in my report but it would have been           9    Partners, L.L.C.? Where was their office located?
10   relevant for me to do that proactively even if they        10    A. We had a physical office for the business side
11   hadn't used those methods. The tools they were using       11    of things in Virginia, in suburban Virginia. It's now
12   were appropriate, even if I disagree with exactly how      12    in Madison, Virginia, down near the University of
13   they used them or their conclusions.                       13    Virginia.
14   BY MR. JONES:                                              14    Q. And how many individuals were part of NDA
15   Q. So the tools were appropriate?                          15    Partners, L.L.C., when you started discussing an
16   A. Yes, for evaluating reporting rates the                 16    opportunity with them?
17   OpenVigil tool is an appropriate and -- convenient and     17    A. There were ten partners.
18   appropriate tool for constructing the kinds of tables      18    Q. Okay. And had you had any sort of dealings with
19   and analyses that are used in pharmacovigilance.           19    these ten individuals while you were at FDA?
20   Q. So is it fair to say that your criticisms are of        20    A. Yes. The founder of the group is Carl Peck, and
21   the data that they inputted into these tools?              21    Carl was the director of the Center For Drugs and the
22   A. The criticisms are the way that they made their         22    person who recruited and hired me at FDA to be the
23   selection of how to construct the tables rather than the   23    division director for Anti-Viral Drugs.
24   software that generated the tables.                        24         There were other members that I knew. One of
25   Q. Have you ever heard the -- strike that.                 25    them had actually been on an advisory committee that --


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 1         Okay. So you left FDA in 2004 and went to NDA         1    while I was at -- while I was at FDA, Dr. Lou Scheiner,
 2   Partners, L.L.C.; correct?                                  2    and while I was at FDA and Dr. Peck had left FDA and he
 3   A. That's correct.                                          3    was a faculty at Georgetown, some of his faculty who I
 4   Q. And was NDA Partners, L.L.C., in existence at            4    met at that point were also partners in this -- had left
 5   that time or were you a founder?                            5    the university and were parts of this firm. So I knew
 6   A. I'm almost a founder. It was -- it had been in           6    about half of the -- I knew about half of the partners
 7   existence about six months and it was just getting          7    when I joined them.
 8   started and organized. But they've taken to calling me      8    Q. Did you voluntarily leave FDA?
 9   a founder now but in the early days they were -- they       9    A. Yes, I did.
10   pointedly reminded me that I joined late.                  10    Q. Then from 2006 to 2008 it looks like you went to
11   Q. Yeah, that happens. But six months is -- I'm            11    work for a pharmaceutical company?
12   with you. You should be designated as a founder.           12    A. Yes, that's right. I became an inactive
13         How did you hook up with these folks to get          13    partner. I kept my equity but I became an inactive
14   started in NDA Partners, L.L.C.?                           14    partner.
15   A. Well, after leaving FDA, we -- I left FDA, my           15          Elan allowed me to follow up with my existing
16   wife and I had -- she'd at the National Cancer             16    clients but I took no new clients during that time. And
17   Institute, I had worked at the FDA.                        17    I -- at Elan Pharmaceuticals I was the senior
18         She got a great job with a new research              18    vice-president for global regulatory, safety, and
19   institute in Phoenix, Arizona, and when I moved to         19    biostatistics.
20   Phoenix, Arizona, I didn't find a university that had --   20    Q. And what kind of products does Elan
21   there was no medical school in that town, at least there   21    Pharmaceuticals deal in?
22   wasn't then, and there wasn't any other -- I thought I     22    A. The company has changed at different points in
23   would go back to university and go back to teaching but    23    time, but when I was there, the products that were
24   there really wasn't something that was a good fit for me   24    active were products for neurologic diseases, such as
25   so I began looking at opportunities to work as a           25    multiple sclerosis, Parkinson's disease, Alzheimer's,


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 1   chronic pain which requires pain pumps into the             1    A. That's correct.
 2   intrathecal space by the spinal cord.                       2    Q. Why did you leave Amgen?
 3         So it was largely a neurology product, product        3    A. It was a planned departure. I was -- I wanted
 4   company, at the time that I worked there. We had a          4    to actually increase the amount of time I spent
 5   couple of antibiotics but the new products were all in      5    teaching, and it was a real challenge for me to teach in
 6   the neurology area.                                         6    Arizona while I was working for Amgen in California and
 7   Q. Any contraceptive products?                              7    with their schedules. And I also enjoyed the
 8   A. Not at the time I was there.                             8    independence of being a consultant.
 9   Q. Okay. Then 2008 to 2010 -- well, let me back             9         And so I actually informed the person I reported
10   up.                                                        10    to that I was planning to leave and he asked me to stay
11         Why did you leave Elan Pharmaceuticals?              11    for another six months to recruit and train a successor,
12   A. I was commuting from Phoenix to South San               12    and I did that and then left at that point.
13   Francisco and my wife had -- was still at the research     13    Q. Were you ever asked to leave Elan
14   institute in Phoenix, and so after about a year we made    14    Pharmaceuticals or Amgen?
15   a decision to sort of look for a job where we could both   15    A. No.
16   work in the same city. And we looked for something in      16    Q. And at Amgen, as the vice-president of global
17   the Bay area, where I was working, but Amgen in Southern   17    regulatory affairs, what did you do?
18   California offered both of us a position, and so I left    18    A. I was responsible for a team of regulatory
19   Elan at that point and both of us went to work for         19    affairs professionals.
20   Amgen.                                                     20         I had direct responsibility for the U.S. and
21   Q. And what did your wife do for Amgen?                    21    Canada interactions; I had supervisory and strategic
22   A. She's an oncologist. She was director of one of         22    responsibilities for European submissions, although we
23   the large divisions at the National Cancer Institute.      23    had a group of regulatory people on the ground in Europe
24   So she became part of their cancer drug product            24    that did the direct work there that was somewhat
25   development team.                                          25    parallel to my activities; and I also had


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 1   Q. And what kind of products did Amgen sell?                1    responsibilities for a regulatory policy staff that
 2   A. Amgen had six or seven products on the market.           2    evaluated FDA guidances and, you know, changing FDA
 3   Most of these were -- the most successful of them were      3    policies and changes even in the law.
 4   biological products, some of them were growth factors.      4    Q. Were you involved in preparing NDAs for Amgen?
 5         I mentioned before that growth factors can            5    A. BLAs, yes. These were biologics, so like --
 6   stimulate the body to make more white cells, which          6    they're like an NDA, except they're biological licenses
 7   protects you from infections and cancer.                    7    instead of New Drug Applications.
 8         The erythropoietin was another product that they      8    Q. Okay.
 9   manufactured that could stimulate the body to make red      9    A. But we also did have NDAs as well. We had a
10   cells and treat anemia in patients that don't have         10    product, it would have been supplements that I would
11   normal levels of erythropoietin, which is the situation    11    have been involved in, but we had a small molecule for
12   with kidney failure.                                       12    bone disorders and kidney disease that I was involved in
13         They also had products to treat psoriasis,           13    preparing reports and applications for new indications,
14   rheumatologic conditions, and, you know, products for      14    designing studies for new indications, post-market
15   cancer, for bone disease.                                  15    surveillance, those types of things.
16         Those were the six or seven approved products,       16    Q. Were you -- while you worked at Amgen, were you
17   and then at any given time they typically had about 40     17    involved in preparing Periodic Safety Update Reports for
18   products that were in human clinical trials being          18    products?
19   evaluated for whether they should progress to more         19    A. I was responsible for submitting them and
20   extensive trials.                                          20    seeing -- you know, reviewing them as part of that
21   Q. Any contraceptive products while you were               21    process.
22   working at Amgen?                                          22         At Elan, those -- the safety reports and things
23   A. No, there were not.                                     23    were my direct responsibility because at Elan I had
24   Q. And then you left Amgen to go back to NDA               24    regulatory and safety.
25   Partners in 2010; is that correct?                         25         At Amgen, I was in a much larger company and I


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 1   was responsible for regulatory but I had a role in all      1    type of condition. So if you were interested in what
 2   of the safety communications and filings and on all the     2    are the neurologic complications of levonorgestrel,
 3   safety committees and so forth but safety itself was        3    there will be a section where you can actually look and
 4   directly supervised by another individual.                  4    see what types of things have been reported. Headache
 5   Q. Were you the signatory on the PSURs?                     5    could be a common one but an IIH a rare one.
 6   A. No, I was not.                                           6          And there is a -- sections that -- where you
 7   Q. But you did review the PSURs?                            7    compile the literature. FDA has changed its policy from
 8   A. Yes.                                                     8    time to time. There was a period where they said, don't
 9   Q. That was part of your job?                               9    send in the literature when everything was paper because
10   A. Yes, that was part of my job.                           10    the FDA has access to the National Library of Medicine.
11   Q. And --                                                  11          Now, because everything is electronically, the
12   A. And at Elan, my job was to organize the staff to        12    practice varies. But you submit a bibliography of new
13   prepare them. And I was much more hands on there,          13    information, you provide in the annual reports or the
14   although I still was not the signatory, as I recall. I     14    periodic safety reports listings of the ongoing studies
15   may have been but I don't think I was.                     15    and there will be a section that describes that.
16   Q. The PSURs I've seen have been, you know, very           16          And there are also are parts of the PSUR where
17   large. I mean, there are many, many pages.                 17    you address specific issues that are being followed.
18   A. Yes.                                                    18    Some of these come from requests from a regulatory body.
19   Q. Based upon your experience from the                     19    In Europe, there's actually a formal process for
20   pharmaceutical company side, tell me a little bit about,   20    designating certain issues for follow-up.
21   you know, what goes into preparing a PSUR.                 21          So the process of putting these together, one
22   A. Sure. Well, you know, it's a very structured            22    year it starts, as soon as you finish one year's report,
23   document. It has a very specific organization and          23    you start compiling it the next. And then when it's
24   content.                                                   24    compiled, generally speaking, there's a cover letter
25        Some of it I sort of describe as being similar        25    that's written by someone in regulatory affairs and it's


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 1   to getting a phone book. You can look things up and you     1    submitted electronically these days, in paper in the old
 2   know where to find them. You don't have to start at the     2    days to the regulatory agencies for their records and
 3   beginning and start reading to try and find things.         3    their review.
 4        So the PSUR is a -- well, the PSUR is the              4    Q. So how -- you know, generally, when you're
 5   European format, as you may know. The U.S. requires         5    preparing one of these periodic reports, how much time
 6   Periodic Adverse Drug Event Reports, PADERs, and annual     6    goes into compiling the information and putting that in
 7   reports, quarterly reports initially, then annual           7    the form that the regulatory body wants it in?
 8   reports.                                                    8    A. The compiling is not the whole picture because
 9        FDA will accept PSUR reports because they're so        9    most of the reports have already been -- like I say, the
10   similar. So, actually, while I was at FDA, FDA agreed      10    15-day reports that may be provided again in the PSUR.
11   and the Europeans agreed that they would accept an         11    The real time of preparing those went into the time when
12   annual report and that the annual report would be due on   12    the reports initially came in and the people, the staff,
13   the drug's birthday, actual birthday.                      13    are collecting the information, getting follow-up with
14        Before that, when I arrived, actually, you            14    the reporter, coding them, entering them into the
15   almost had an annual report in every region due every      15    database.
16   couple of months because it was totally unsynchronized     16          At the end of the year, when they're all in the
17   and there were different reports.                          17    database -- and Argus is one of the databases -- then
18        So anyway, they are different formats, but            18    the database is actually designed to actually create the
19   whether we -- you know, we can call them PSURs or          19    reports either with the MedWatch format or the SIANS
20   PADERs, whatever you'd like.                               20    format, the European format, and spit them out, if you
21        One large part of it is to collect the                21    will, all organized.
22   individual spontaneous reports that have occurred and to   22          So the compiling at the end of the day now is
23   actually print those and to provide those. Now they're     23    not where all the time is. The time comes in collecting
24   electronic, of course.                                     24    the original information.
25        Those same reports are actually organized by          25          But that said, I think when the company puts


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 1   together a PSUR, it also takes that opportunity to make     1    but it's all plain text but there's a lot of
 2   sure that they read it and sort of take a look at the       2    instructions that says, you know, this font, this color,
 3   summary at this point in time and say, all right, is        3    center it --
 4   there -- are there things in here we haven't noticed        4    Q. Right.
 5   before or, you know, does this give us a better insight     5    A. -- and so forth, or this is the table of
 6   into something?                                             6    contents or this is a new page.
 7         So there's -- I can't even begin to estimate the      7          All of that tagging is now embedded so that the
 8   hours. I think our staff that did most of the work at       8    reports actually automatically load into the databases,
 9   Elan, a small company, was about 16 people but at Amgen,    9    automatically load into the FDA record systems and the
10   between regulatory and safety, there were over 900         10    European record systems and the Japanese record systems.
11   people. And so it's -- there's a lot of -- there's a       11    They've harmonized and standard this -- standardized
12   lot of people that go into that. And then most             12    this and this has been a process that has been evolving.
13   companies had contractors to help with the                 13          And FDA calls submitting now publishing. When
14   post-marketing surveillance.                               14    you submit something, you publish it to the FDA website
15   Q. And so back when you were at Elan and Amgen, is         15    because it's coming in as a tagged document. Labels are
16   that back in the days you said you'd still send it to      16    all that way now.
17   FDA in paper form?                                         17    Q. Now, back when you said that it might arrive in
18   A. No. It was electronic by then.                          18    PDF form or Word form, was somebody just E-mailing a
19   Q. It was?                                                 19    document to somebody?
20   A. Yeah.                                                   20    A. No. In those days, what you'd get is you'd get
21   Q. Okay.                                                   21    the paper for archival records, and some reviewers would
22   A. It's gotten more and more electronic.                   22    actually work off of a paper record when it came in but
23         You know, in those days we would actually, for       23    they would also have the PDF that they could load on
24   example, just to give you a small example, we would        24    their computer. And so you -- a typical application
25   actually write out the MedDRA codes, that's the coding     25    would be the paper submission plus the electronic


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 1   dictionary for adverse reactions, they actually write       1    versions.
 2   them out on the form. Now FDA says submit them              2    Q. Okay.
 3   electronically and just submit the code, don't submit       3    A. And then FDA would load the electronic versions
 4   the text, because the text may change slightly over         4    into its electronic document room, but for a long period
 5   time. Like, you know, as you know, this syndrome has        5    and I imagine some types of records might -- this still
 6   been called three different things over time but,           6    might be true, they kept both the paper and the
 7   ideally, the code will always be the same.                  7    electronic. And it depended on the reviewers, which
 8   Q. Right.                                                   8    they preferred to work with oftentimes in the old days.
 9   A. So FDA now says, well, just submit it                    9          There was even a period where every company did
10   electronically and just submit the code.                   10    something slightly different and they actually sent in
11         So there's -- it gets more and more electronic       11    the computers but then they sent in the paper for
12   over time.                                                 12    archival purposes.
13   Q. Now, when you were back at FDA in 2004, were you        13          So it's really evolved over this time period.
14   guys getting them electronically or in paper back then?    14    When I arrived at FDA in '92, we weren't using Windows
15   A. We were getting them electronically, although in        15    and we didn't even have E-mail that was the same
16   those days what electronic usually meant was that we       16    system-wide. If you wanted to send an E-mail to another
17   would get PDF files, we would get Acrobat files, and       17    floor, you printed it out and somebody put on their
18   some of them in Word documents. If we wanted the           18    sneakers and ran upstairs.
19   ability to edit or cut and paste things from the           19    Q. Uh-huh. Uh-huh.
20   documents, it's easier to do that in Word than Acrobat     20    A. It was called sneaker mail.
21   PDFs.                                                      21    Q. It's amazing how far we've come along.
22         Where things evolved since then is that now          22    A. Yeah. My first job in college was to calculate
23   they're submitted almost like web pages where the          23    standard deviations on a manual calculator so...
24   information on the reports is tagged the way -- I don't    24    Q. Well, you know, I've worked on a gubernatorial
25   know if you've ever seen what's underneath a web page,     25    campaign, a successful one, in 1995 and I tell people we


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 1   had one computer --                                         1    medical team leaders. Each of those team leaders would
 2   A. Yeah.                                                    2    have -- do their own work. They would have some primary
 3   Q. -- for the entire state. That's amazing.                 3    responsibilities but they would supervise -- if it's a
 4   A. Yeah. You know, in those days, the University            4    physician team leader, they would supervise, say, three
 5   of California listed the university's fax machine. It       5    other physician reviewers. So each physician has a
 6   was not plural.                                             6    portfolio of drugs that they're responsible for.
 7   Q. Okay. One other thing. This has been helpful,            7          The CSO is the point of contact with the
 8   kind of getting a peek behind the curtain.                  8    regulatory group in the company. As documents come in
 9   A. Yeah.                                                    9    every day, the CSOs are informed that there's new
10   Q. Today, when somebody is sitting at FDA and one          10    documents for drugs they are responsible for.
11   of these periodic reports comes in, what are they seeing   11          So for active drugs, a medical officer might be
12   on the FDA side? Is it going into a database?              12    responsible for a dozen very active drugs and 20 sleepy
13   A. It will be, quote, published to FDA, so it will         13    drugs, and some drugs that if anything ever comes in,
14   be uploaded electronically and then it goes into an        14    that -- you know, there are some drugs that FDA is still
15   electronic record room. And the record room still has      15    responsible for that are just barely used anymore. So
16   much of the same structure that the paper records have.    16    they have -- their work is sort of prioritized by how
17   So the submissions are numbered and they're classified     17    active the products are.
18   in different, you know, different types and there's a      18          But when something new comes in, they learn
19   database that has the high-level summary of what each      19    about it. There is usually a little bit of a lag
20   submission is. You can see a little of that on the         20    because even though it's loaded and it's somewhat
21   public sites.                                              21    automatic, it's the CSO's job to identify -- you know,
22         The reviewer can actually pull up any of those       22    identify the documents.
23   documents and then, depending on the types of documents,   23          So when I was division director, actually -- and
24   the reviewer can do a full text search. The documents      24    I think things may be busier these days, but in my day,
25   for the last 15 years have had hyperlinks, so you're in    25    as I recall, one year, when we looked, we were averaging


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 1   the table of contents, you click, you jump to that          1    about 70 submissions a day.
 2   section.                                                    2          And a submission could be as short as a
 3          So there's a lot -- it's a lot easier to             3    thank-you letter --
 4   navigate this stuff now than it was, but even when it       4    Q. Uh-huh.
 5   was paper, people could do it because it was so             5    A. -- for a recent meeting or meeting minutes or it
 6   organized.                                                  6    could be a PSUR or it could be a single safety report.
 7   Q. How is -- over at FDA, you know, based upon your         7          So we had 16 medical officer reviewers and there
 8   experience, you know, how are people assigned to -- how     8    would be about -- you know, between them, they would
 9   does one know, an employee know, okay, hey, we've got a     9    have eight or so new documents per day that would be
10   PSUR in for this product, that's my task? How do people    10    logged in that -- and they would be informed of that and
11   know that? Are they, people, assigned to specific          11    they would sort of keep track of that.
12   products or what?                                          12          And then the teams would meet and they would go
13   A. Yes, they are.                                          13    over what's new this week, what's pending, do we have
14          So drugs which are active have a team assigned      14    company meetings coming up, are there reports, are there
15   to it that will -- in contraception would typically        15    deadlines, are there advisory committees so...
16   consist of a physician, a pharmacologist, an animal        16    Q. And do these individuals that review these
17   toxicologist, animal pharmacologist, a statistician on     17    submissions, do they have any other responsibilities in
18   an as-needed basis, and a project manager who is           18    their job other than reviewing submissions?
19   responsible for coordinating things on the team. Used      19    A. In the new drug divisions, which we're talking
20   to be called consumer safety officers, now they're         20    about, where Dr. Ross and I both spent our time in the
21   called project managers.                                   21    drug center, that is the principal responsibility is to
22   Q. Has it ever been called a team leader?                  22    review submissions, but in -- it isn't all just
23   A. No. A team leader is within a discipline. So            23    reactive.
24   each -- so among the physicians, for example, a typical    24          There are times when an issue is identified that
25   division might have three medical team leaders or four     25    the staff work on, so they might actually seek a consult


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 1   from the epidemiology group or they may ask the FDA's       1          I mean, it's -- the new drug division, it's a
 2   staff to prepare a report of 15-day reports and then        2    bit of a misnomer because it's really the new and the
 3   they'll typically ask the company at the same time they     3    old.
 4   do an internal one, because they have slightly different    4    Q. Uh-huh.
 5   databases in the company than FDA.                          5    A. They have the responsibility for new products on
 6         They may actually do literature reviews and           6    the market and maintaining the labels and making the
 7   things but it's almost all -- it almost all does relate     7    labeling changes and then the other groups work as
 8   to their products. There are other responsibilities,        8    consulting groups to them, although many of those groups
 9   you know, there's training and different kinds of things    9    actually have staff that are virtually embedded in the
10   that they have to do and they have to supervise other      10    new drug divisions.
11   people, but it is organized around the submissions that    11          There's typically these days a deputy director
12   come in.                                                   12    for safety in most of the new drug divisions that
13   Q. And when we talk about submissions, are these           13    explicitly interacts with safety staff.
14   people part of the teams of people who review New Drug     14    Q. On these teams, how many different New Drug
15   Applications and Investigational New Drug Applications?    15    Applications or IND applications would they be dealing
16   A. Yes. In -- there have -- there are places in            16    with in a year, on average?
17   the FDA where they separate the investigational from the   17    A. I would say that, you know, if you look at how
18   approved and they have separate teams once a product is    18    many New Drug Applications for novel products that had
19   approved, but in drugs the same team is responsible for    19    never been previously approved, the number per year for
20   the -- everything going on with the product when it's --   20    the whole FDA ranges between 20 products and 40
21   whether it's investigational or on the market or           21    products. I think one year it hit 50 or 55. But 20 to
22   sometimes it's a mix. You may have studies for new         22    40. I think the overall average over all the years is
23   indications for an old product at the same time it's       23    24, is two dozen.
24   approved for older indications. So it's one team that      24          So those 24 applications are split up among what
25   has responsibility for that. And yeah.                     25    are now 16 new drug divisions, and so in any new drug


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 1   Q. I think I'm understanding you. I just want to            1    division there's probably only one or two novel products
 2   make sure that I'm clear.                                   2    that's going to be approved for the first time in a
 3         The team members that would be involved in an         3    given year.
 4   NDA, for instance, for purposes of continuity, is it        4          Some areas, you know, are -- get more of them,
 5   that same team that then is responsible for reviewing       5    like the cancer. There's a lot more going on with
 6   the periodic reports?                                       6    cancer. So that's with the new ones.
 7   A. Yes. And that's the team that's responsible for          7          Now, there also are New Drug Applications where
 8   maintaining the product's labeling.                         8    there's a capsule version of what was a pill, and that's
 9         So there is a safety and epidemiology group and       9    largely reviewed by the pharmacologists and the
10   there's an advertising and promotion group that's          10    chemists, not so much by the medical officer. There's
11   separate from the new drug groups. They each have their    11    about 50 or 60 of those a year. And then there's the
12   responsibilities. The epidemiology group puts together     12    labeling supplements and all of the rest of that type of
13   the database of the AERS reports as it comes in, they do   13    stuff.
14   some of their own safety research, but the same type of    14          But your average medical officer would probably
15   information is also going to the team that's responsible   15    only deal with a brand-new drug every couple of years
16   for the drug.                                              16    but would have applications for new versions of old
17   Q. Uh-huh.                                                 17    drugs or new indications or safety updates for probably
18   A. And so they work together.                              18    I would say averaging 8 to 20 drugs at any given time,
19         There are more people in the new drug divisions      19    of which there's probably three or four that are really
20   actually tracking safety than there are people in safety   20    active and the rest it's more -- you know, there's not
21   and epidemiology, which have a very small part of it.      21    as many things going on.
22         The team sees everything. They see the animal        22    Q. What about generic drugs?
23   work, they see the pharmacology, they see the chemistry    23    A. That's a whole different division. And those
24   and manufacturing, which isn't much of an issue with       24    come in by the hundreds.
25   this product, they see recalls that happen.                25    Q. It's -- but it's part of the CDER, right,


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 1   though?                                                     1    each product type.
 2   A. It is. It's its own group. And the generic               2          So we'll talk how are drugs developed, what are
 3   drugs, you know, do not review labeling at all, they        3    the rules for investigational drugs, what's the logic
 4   don't review safety at all. They review whether a           4    for how they're done, how do the regulations actually
 5   product is bioequivalent, meaning if you take two           5    shape the science, the studies that are done.
 6   versions of the same drug, do you get the same blood        6          And then we do the same thing with biologics and
 7   levels and is the manufacturing being done to FDA           7    with devices and combination products, and we talk about
 8   standards. That's the basis for the approval of a           8    how much of FDA's regulation revolves around rules
 9   generic drug.                                               9    around labeling, which is, you know, in law speak,
10   Q. Okay. Back to your CV, it looks like you taught         10    speech.
11   a food and drug law class at Arizona State University?     11    Q. Uh-huh.
12   A. Yes.                                                    12    A. And that's actually FDA's probably principal
13   Q. Is that right?                                          13    tool is regulating speech. And we talk about -- there's
14   A. Yes. I still do.                                        14    been a lot of developments and controversies over the
15   Q. Okay. Yeah. It says 2005 to, nothing is in              15    years of how speech is regulated by consumer protection
16   there so --                                                16    agencies.
17   A. Yeah. I've done that --                                 17          And so we present that sort of framework, talk
18   Q. So you've been teaching that for the last 11            18    about FDA's enforcement authorities, we talk about
19   years or so?                                               19    manufacturing standards for different types of products,
20   A. Yeah. Whatever that is. Yeah, 11 or 12.                 20    we take a brief look at how other countries organize
21   Q. And is that -- is there a law school at Arizona         21    their, you know, their efforts, some similar, some not
22   State?                                                     22    so similar. We look at how FDA gets involved when
23   A. Yes. They're quite proud of it. I know in the           23    there's a public health crisis like a new epidemic or
24   East you probably don't even know that there's a           24    something like that so -- and what does FDA do to
25   university called Arizona State. But it does have a        25    encourage development of products where there's unmet


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 1   good law school and --                                      1    medical need.
 2   Q. Is this course at the law school?                        2         So there's 13 two-hour lectures in the course
 3   A. Yes. It's an elective course. It's jointly               3    and the principal teachers for the last ten years have
 4   offered to law students and engineering graduate            4    been myself and a pharmacist/lawyer. And so we have
 5   students.                                                   5    kind of complementary backgrounds. He teaches the
 6   Q. Okay. And tell me a little bit about what you            6    engineers a little bit about torts and to give them some
 7   teach in the food and drug law course.                      7    background and we talk about how preemption is a factor
 8   A. We -- it's an elective in both the engineering,          8    in that.
 9   College of Engineering and the College of Law.              9         The course is really more a health policy course
10        It's -- what we teach is basically how FDA, as a      10    than a law school course, per se. It's not taught like
11   consumer protection organization, is structured, how it    11    a case law law course.
12   derives its authorities, what types of products it has     12    Q. Uh-huh.
13   oversight for, and how it specifically interacts with      13    A. It's really more kind of a blend of health
14   different types of products.                               14    policy.
15        So we begin the course by presenting some of the      15         There are two very different groups of students.
16   historical background on adulteration, which is really     16    Some of them know a lot of science and the other of them
17   what drove a lot of these issues in the 1800s and the      17    know a lot of law and then they see kind of how the two
18   early laws in the 1900s and the push for accurate, truth   18    merge together.
19   in advertising, if you will.                               19    Q. Do you use a textbook in this course?
20   Q. Uh-huh.                                                 20    A. We have. We've used a textbook by Adams that's
21   A. So there you get misbranding.                           21    published by the Food Drug Law Institute on FDA.
22   Q. Uh-huh.                                                 22         Frankly, we found it was too much law and not
23   A. So we talk about those as being sort of the core        23    enough of the science background so we largely teach the
24   around -- authorities around which the FDA consumer        24    course based on FDA documents and public documents and
25   protections are built and then we spend several weeks on   25    when a topical issue arises, you know, such as


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 1   compounding, for example, we'll even pull in the press      1    is really -- you know, could be nicknamed FDA-101. It's
 2   stories and the Center for Disease Control documents and    2    similar to the courses that companies offer their
 3   things.                                                     3    employees that are getting into regulatory except that
 4         So we have a tool called Blackboard, which            4    we do more deliberately sort of focus on the fact that
 5   wasn't around in my day when I was a student, but it        5    the law gives FDA certain authorities and then they have
 6   allows the students to actually have access to reading      6    to actually find ways to use those authorities to get
 7   materials. And so we have them read sections of the law     7    what they want done and how they -- and the rule-making
 8   and sections of regulations and the guidances that all      8    process and the transparency, which is unique in this
 9   fit together and then we usually try and find some          9    country compared to many other countries.
10   topical news stories and things to kind of put some        10    Q. And you mentioned preemption before, which is a
11   flesh on the bones.                                        11    legal concept.
12   Q. Other than the Adams textbook, have you ever            12    A. Yes.
13   used any other textbooks?                                  13    Q. And do you -- have you guys taught in this class
14   A. No. Some of the students follow Peter Barton            14    about, have you heard of a case called Wyeth v. Levine?
15   Hutt's book. He's got a case law, case law book.           15    A. Yes. And Mensing and other things.
16         I taught an undergraduate version of the course      16          You know, in 2005 preemption was one of our more
17   for a couple of years and we used, I think his name is     17    boring topics. It's gotten progressively more
18   Hilt, but there was a book written with kind of more of    18    interesting over the years, probably more to the faculty
19   a lay perspective that we used when we taught it with      19    than to the students.
20   undergraduates. And we didn't -- we didn't cover much      20          So we introduce, we introduce the concept that
21   law.                                                       21    there are times when the federal law preempts state
22         That one really was looking at sort of just the      22    laws.
23   whole system and how the Government sets up                23    Q. Uh-huh.
24   administrative agencies that have responsibilities that    24    A. And we don't really offer opinions about it, we
25   are delegated to it by Congress and how that all works.    25    just really say this is -- these are the developments,


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 1   Q.     And you mentioned your lawyer/pharmacist that --     1    these are -- this has been how it's been applied --
 2   A.     Yes.                                                 2    Q. Uh-huh.
 3   Q.     -- co-instructs with you.                            3    A. -- and, you know, talk about some of the ways
 4         What's his or her name?                               4    that that influences consumers' ability to, you know,
 5   A. His name is Roger Morris. He's at Quarles. So            5    seek remedies through the tort system as opposed to some
 6   he's another volunteer faculty like myself.                 6    other mechanism. So, yeah, it's been an interesting,
 7   Q. And you mentioned that he kind of provides the           7    it's an interesting area.
 8   insight on the tort law.                                    8    Q. And you understand that in Wyeth v. Levine the
 9   A. Well, he does -- he's the lawyer of the two of           9    Supreme Court has said the manufacturer is responsible
10   us, so if it's something that has to be framed in the      10    for its label; correct?
11   way that lawyers think about things, he does that part     11    A. Yes. And I don't think FDA would have ever
12   of the lecturing, I bring the medical, the FDA, the        12    disagreed with that. It's that's who is responsible.
13   policy, the regulatory sides of things. So we              13    They're also responsible to comply with the labeling
14   complement each other pretty much.                         14    requirements of the Food, Drug and Cosmetic Act. But it
15   Q. And in this course do you teach or discuss the          15    is their label. They're -- you know, I think I've said
16   difference between common law and FDA regulations?         16    in testimony that the buck stops with the company when
17   A. Very, very lightly. We sort of talk about the           17    it comes to the label.
18   fact that there are these different -- particularly for    18    Q. Uh-huh.
19   the engineers. The law students probably know this.        19          MR. JONES: I have 12:26. Do you want to go for
20   But we talk about how there are different ways that the    20    lunch now?
21   law comes about. Common law is one, legislation that       21          MR. SCHMIDT: Sure.
22   specifies certain things interacts with common law         22          MR. JONES: I mean, this is a good breaking
23   but -- and then there's administrative law, which is       23    point.
24   kind of an interesting body unto itself.                   24          MR. SCHMIDT: Sure.
25         But that's probably a more advanced topic. This      25          MR. JONES: All right. Let's go off for lunch.


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 1         VIDEO OPERATOR: We are going off the record.          1    which -- other than the morning-after pill, I'm not sure
 2         The time is 12:26.                                    2    if I remember any other specific. But I know that they
 3         (Luncheon recess, 12:26-1:21 p.m.)                    3    have been developing contraceptives for many years.
 4                AFTERNOON SESSION                              4    Q. And did you review the Mirena IND before
 5         VIDEO OPERATOR: We are back on the record.            5    preparing your report in this case?
 6         The time is 1:21 p.m.                                 6    A. I did review selected summary documents that
 7   BY MR. JONES:                                               7    described the IND and the early development when I
 8   Q. Dr. Feigal, welcome back. I hope you had a nice          8    prepared my first report for Mirena last year.
 9   lunch.                                                      9    Q. How many pages is that IND?
10   A. Yes. Thank you.                                         10    A. I don't know.
11   Q. FDA regulations have the same binding force as          11    Q. You reviewed the summary reports contained
12   the law itself; correct?                                   12    within the IND?
13   A. Generally speaking, yes, that's true.                   13    A. No. What I reviewed is some of the key
14   Q. Okay. And failure of a product to meet these            14    documents from the NDA which describe the entire IND
15   standards is a violation of the law; correct?              15    process and the studies that were conducted under that
16   A. It can be, yes.                                         16    IND.
17   Q. And do you agree that not all adverse effects           17    Q. Okay. So you did not review the actual IND?
18   can be anticipated during clinical trials?                 18    A. I don't recall if I had access to the actual
19   A. Yes.                                                    19    IND, but I had the descriptions at the time of the
20   Q. Let's talk about, what's an Investigational New         20    approval of the product in the NDA documents.
21   Drug Application?                                          21    Q. Okay. And what is an NDA?
22   A. That is an application for FDA to seek                  22    A. NDA is a New Drug Application. So that's an
23   permission to conduct studies in humans for a drug which   23    application if it's an initial IND for the first
24   is not approved for marketing in the United States.        24    authorization to market a drug in the United States.
25   Q. And was there an IND submitted for Mirena?              25    Q. Okay. And it's the drug product's sponsor that


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 1   A.     Yes, there was.                                      1    submits to FDA an NDA containing the data that it has
 2   Q.     And who submitted the IND for Mirena?                2    gathered on the product's safety and effectiveness; is
 3   A.     You won't mind if I refer to my report.              3    that correct?
 4        But the initial IND was filed in 1983 by the           4    A. Yes, that's part of what's in an NDA.
 5   Population Council, which is a non-profit organization      5    Q. What else is in an NDA?
 6   that has developed some contraceptives over the years.      6    A. Well, there are extensive records about the
 7   Q. What do you know about the Population Council            7    manufacturing, there are animal studies that are used
 8   other than that?                                            8    for a variety of different kinds of purposes, there are
 9   A. I've had a little bit of contact with them over          9    summaries of the clinical trials individually both with
10   the years. I co-served as the head of an antimicrobial     10    respect to the effectiveness and the safety of the
11   contraceptive task force with someone from the             11    product.
12   Population Council when I was in anti-viral drugs, but     12          The various sections are organized into --
13   my understanding is it's a non-profit organization that    13    organized and described in different summaries, the
14   helps develop contraceptive alternatives for women.        14    important ones for safety and effectiveness or the
15   Q. Who have you worked with from the Population            15    Integrated Summary of Safety and the Integrated Summary
16   Council?                                                   16    of Effectiveness.
17   A. You know, I've forgotten his name over the              17          And then the NDA also contains listings of the
18   years.                                                     18    original data that the patient, or if it's an animal
19   Q. Did you -- are you aware that the Population            19    study at the animal level, and often contains -- and
20   Council developed the Norplant implant device?             20    today always contains data sets of that data for the FDA
21   A. I may have known that. I don't recall if I knew         21    statisticians to evaluate.
22   that or not.                                               22    Q. That sounds like a lot of data.
23   Q. Did you know that the Population Council had            23    A. They are. They're big applications.
24   developed the copper IUD ParaGard?                         24    Q. Okay. And did you review the NDA for Mirena?
25   A. No. I may have known that. I don't remember             25    A. I reviewed some of the summary documents that


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 1   described the relevant portions of the NDA for my            1    FDA; correct?
 2   opinions.                                                    2    A. Yes.
 3   Q.    Other than the summary documents, did you review       3    Q. And I think you described it in your report as a
 4   the rest of the NDA?                                         4    negotiation; is that correct?
 5   A.    All of the different sections? No, I did not.          5    A. I may have used that word. It's -- you know,
 6   Q.    Do you know how many pages the Mirena NDA was?         6    "discussion" is also a good word.
 7   A.    I do not.                                              7          A label consists of a concise summary of
 8   Q.    Do you know how many volumes the Mirena NDA was?       8    scientific evidence, and there is some discussion
 9   A.    No, not sitting here, I don't.                         9    between the manufacturer and the FDA on the best way to
10   Q.    Do you -- can you approximate how many pages          10    summarize the information that's available.
11   would comprise the original Mirena NDA?                     11    Q. But you used the word "negotiation" in your
12   A.    No, I really don't have a way to do that because      12    report; right?
13   I don't know the types of individual data that -- the       13    A. I don't recall if I did. But it's -- but I
14   bulkiest part of the NDAs are the so-called raw data,       14    would agree that it's not negotiation in the business
15   the individual data, but at this time period, in 2000,      15    sense of trading this for that, it's really more of a
16   it still wouldn't have contained all of the case reports    16    discussion of trying to develop a consensus, a consensus
17   for them. So I just don't have enough information to be     17    on what is an adequate description, what is an adequate
18   able to estimate what -- you know, what -- how many         18    summary of the scientific evidence on which the approval
19   volumes or the size of the application.                     19    is based.
20   Q.    Do you agree that the ultimate purpose of the         20    Q. Now, you say in your report at Page 5 that Phase
21   review of the preclinical and clinical data contained       21    1 trials are small, closely monitored studies, usually
22   within the NDA is for FDA to review and ultimately          22    in normal volunteers, to learn how a drug is absorbed
23   approve the product with a label that provides adequate     23    and eliminated from the body and to determine doses for
24   instructions for the safe and effective use of the drug     24    further testing; is that correct?
25   for the purposes indicated?                                 25    A. Yes.


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 1   A.     Long, long question.                                  1    Q. Okay. And you say, typically, fewer than a
 2        Generally speaking, that is correct. There's a          2    hundred subjects participate in Phase 1 trials; is that
 3   part of the statute that actually does refer to adequate     3    correct?
 4   instructions for use but that pertains to                    4    A. Yes, for most drugs that's typical.
 5   over-the-counter drugs. But FDA's understanding of what      5    Q. Do you know how many subjects participated in
 6   adequate instructions for use for a prescription product     6    the Mirena Phase 1 trials?
 7   is found in the prescription drug labeling sections, 201     7    A. I don't know if -- I don't know if I described
 8   and 202.                                                     8    that. I really described Mirena from the standpoint of
 9   Q. When a product is -- when a New Drug Application          9    the evidence that was available at the time of its --
10   is submitted, it is based, in part, upon preclinical and    10    time of its approval, and I do have the numbers of the
11   clinical studies conducted by the product sponsor;          11    total number of patients studied from all the different
12   correct?                                                    12    phases and in the pivotal trials but I don't know if I
13   A. Yes, that's correct.                                     13    broke out the Phase 1 trials separately.
14   Q. FDA doesn't do any of its own independent,               14    Q. Okay. And you say, Phase 2 trials are the first
15   individual studies; correct?                                15    trials to evaluate the effectiveness of the drug for
16   A. That's almost always true. FDA does not do the           16    patients with a particular condition. These studies
17   clinical studies or the animal studies. The sponsor         17    often involve several hundred patients.
18   does those and then FDA reviews the data and inspects       18          Is that correct?
19   those studies.                                              19    A. Yes, that's correct.
20   Q. In this case, FDA did not do any sort of                 20    Q. And it says, they are used to learn enough about
21   independent studies on Mirena before it was approved;       21    the drug to plan for larger trials in Phase 3 that will
22   correct?                                                    22    study the safety and effectiveness of the drug for one
23   A. Not to my knowledge.                                     23    or more indications; is that correct?
24   Q. Now, the contents of a label, they're initially          24    A. Yes, that's correct.
25   the result of discussions between the sponsor and the       25    Q. And do you have any idea as we sit here today


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 1    how many subjects were involved in Mirena Phase 2          1    evaluation at the time of the NDA approval would also
 2    trials?                                                    2    include evaluation of the marketing safety experience in
 3    A. No, I didn't break it out that way. I think             3    Europe, for example, as well.
 4    what I summarized is that the application contained 20     4    Q. And how many subjects did you say were
 5    clinical trials and was based on total study of 3,021      5    participants in the Mirena pre-approval trials?
 6    patients.                                                  6    A. The safety -- the FDA's Integrated Summary or
 7    Q. Okay. And then you say that the purpose of              7    the company's Integrated Summary of Safety described
 8    Phase 3 trials is to study the safety and effectiveness    8    safety based on 3,021 women in 20 clinical trials, 2,899
 9    of the drug for one or more indications; correct?          9    for women from contraceptive studies, with the remainder
10    A. Yes, that's correct.                                   10    being for studies of menorrhagia or endometrial
11    Q. And what indication was studied in the Mirena          11    protection.
12    Phase 3 trials?                                           12    Q. And are you sure that that 3,021 number doesn't
13    A. It was its indication as a contraceptive, to           13    come from the pivotal trials versus the 20 trials that
14    prevent pregnancy.                                        14    you've discussed a moment ago?
15    Q. It was not studied at that time for heavy              15    A. Yes. I describe -- in my report in the section
16    menstrual bleeding?                                       16    on effectiveness I describe the pivotal trials, and the
17    A. Eventually, that is another indication that was        17    summary of effectiveness describes 17 trials of the 20
18    sought. I don't recall the timing. As I recall, that      18    and they also described that the trials included 1,594
19    was an indication which was obtained later.               19    women from qualified sites, sites which where the
20    Q. Okay. And just so we're clear, so at the time          20    clinical trial standards met the same standards that a
21    Mirena was approved it was approved for contraception,    21    U.S. study would meet.
22    not for the treatment of heavy menstrual bleeding;        22    Q. Mirena is indicated for usage for a five-year
23    correct?                                                  23    period; correct?
24    A. I believe that's correct. I might need to              24    A. Yes.
25    review the history. I focused on the initial approval     25    Q. And how many of these 3,021 women were studied


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  1   and not on the subsequent approvals in my report.          1    for a full five years?
  2   Q. And did you say something about you thought             2    A. I'm not sure I noted that in my report, except
  3   there were about 20 trials that preceded the Mirena        3    for effectiveness. Among the effectiveness patients,
  4   approval?                                                  4    there were 633 women of the 1,594 that completed five
  5   A. Yes.                                                    5    years of study.
  6   Q. Then you mentioned something about pivotal              6    Q. So this five-year product was approved based
  7   trials?                                                    7    upon a study containing only 633 women who used the
  8   A. Yes.                                                    8    product for five years; is that correct?
  9   Q. And what are pivotal trials?                            9    A. Yes, that's correct. It was a study of, you
 10   A. Pivotal trials are usually the subset of trials        10    know, close to 1,600 women but only 633 had used the
 11   that form the basis for the evidence of effectiveness.    11    product for five years.
 12         Safety is based on all the clinical trials but      12    Q. How many used the product for just one year or
 13   effectiveness usually relies on one or more clinical      13    less?
 14   trials, Phase 3 clinical trials, that demonstrates        14    A. I didn't break that out in my report. I would
 15   effectiveness.                                            15    have to go back to the document to look that up.
 16   Q. So if I'm understanding you correctly, the             16    Q. How many were -- of these women used the product
 17   safety of the product and the warnings that are           17    for two years or less?
 18   ultimately included in the product's labeling are         18    A. Again, I didn't look -- I didn't break that out.
 19   determined from the company's experience in the 20        19    I presented representative summary statistics of, you
 20   clinical trials that preceded approval.                   20    know, the description of the effectiveness. So that
 21   A. Yes. It would be their experience in -- it             21    information I'm certain would be in the reports but I'd
 22   would be their entire -- the safety would be based on     22    have to go back to the reports to look for that
 23   their entire body of studies.                             23    information.
 24         Since this was a product that was marketed          24    Q. What reports are you talking about?
 25   outside the United States, it would also -- the safety    25    A. Well, the source I relied on is the Integrated


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 1   Summary of Safety, which summarizes all of the studies,     1    A. Yes.
 2   rather than trying to compile the data from the             2    Q. And I want to refer you to the E-mail towards
 3   individual studies myself.                                  3    the bottom from Dr. Bettina Fiedler.
 4   Q. How many of these women were studied in the              4         And this E-mail is talking about getting
 5   United States?                                              5    approval in another country. And Miss Fiedler, can you
 6   A. As I understand it, the majority of them were            6    read what she says starting at "However" there in the
 7   not, that these were the studies that had been conducted    7    middle of the paragraph?
 8   in Europe, where it was first approved.                     8    A. However, you should be aware that the Berlex
 9   Q. How many of these women -- strike that.                  9    regulatory affairs is currently going through a major
10         Are you aware that certain study data was            10    reorganization.
11   excluded from full analysis because the studies were       11    Q. All right. No. The other "however" above that.
12   conducted at unqualified sites?                            12    Here. You can see on the ELMO.
13   A. Yes. I mean, I described the fact that the              13    A. Oh, up there. I'm sorry. There are several
14   pivotal trials were based on qualified sites that met      14    howevers on this page.
15   certain criteria, that met U.S. standards. There were      15    Q. Yeah.
16   other sites that, for different reasons, were not          16    A. However, with regard to the U.S. submission of
17   considered, were not relied on for the effectiveness       17    Mirena, you should be aware of one big difference to
18   because, one reason or another, that they didn't meet      18    your situation in Japan. The FDA is highly interested
19   U.S. standard for trials.                                  19    in getting the product onto the U.S. market, therefore,
20   Q. Do you believe a pharmaceutical product should          20    they worked intensively with Berlex and Leiras to be
21   be approved based upon less-than-perfect data?             21    able to accept data that were not always so perfect.
22   A. Well, I think you always have less-than-perfect         22    Q. Keep going.
23   data. It's a matter of judgment as to whether or not       23    A. So the Berlex approach of the submission may not
24   the data is adequate to describe the effectiveness.        24    be so helpful to you because it was based on some
25         And the criteria for whether a site was              25    goodwill from the authority, which I'm afraid the


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 1   qualified or not, as I understand it, was criteria that     1    MHLW -- that's the Japanese FDA -- may not have towards
 2   FDA worked out with the company.                            2    a fertility-control product.
 3   Q. Does goodwill with the regulators ever come into         3    Q. Okay. Did you know, based upon your review of
 4   play in the product approval process?                       4    the documents that you were provided in this case, that
 5   A. Well, I mean, I think companies do strive to             5    the FDA was highly interested in getting the product
 6   have a good relationship with FDA but I don't think FDA     6    onto the market in the U.S.?
 7   tries to factor in whether there is goodwill or some        7    A. Well, this isn't the FDA speaking, but FDA, in
 8   other kind of ill will with a company. They try and         8    general, is highly interested in seeing that new, safe
 9   look objectively at the information that's in the           9    and effective products come on the market. It's not an
10   application.                                               10    adversarial relationship.
11   Q. Do friendships between government regulators and        11    Q. Did you know from your review of the documents
12   pharmaceutical companies develop from time to time?        12    that you were provided in this case that Bayer felt that
13         MR. SCHMIDT: Objection. Vague.                       13    the FDA had worked intensively with Berlex and Leiras to
14         THE WITNESS: I mean, there's a lot of people         14    be able to accept the data that were not always so
15   in -- on both sides of the table. I'm certain that         15    perfect? Did you know that?
16   there probably are friendships and that there are many     16    A. Well, I was aware of the fact that FDA carefully
17   relationships who are -- they're cordial working           17    developed criteria for identifying clinical trials where
18   relationships.                                             18    the sites met the U.S. standard and then didn't consider
19         (Exhibit Feigal-6 was marked for                     19    the other sites' data for effectiveness, and so I
20   identification.)                                           20    imagine that was a process where they had to work
21         MR. SCHMIDT: What number are we at?                  21    closely together and intensely to see if there was
22         THE COURT REPORTER: Six.                             22    something that -- in those trials that could be used for
23   BY MR. JONES:                                              23    an approval decision.
24   Q. Dr. Feigal, I've handed you an E-mail that we're        24    Q. Do you agree that the data submitted for the
25   marking as Deposition Number 6.                            25    approval of the Mirena product were not always so


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 1   perfect?                                                    1    Q. -- according to Miss Fiedler.
 2   A. I don't know what this person meant, but if it's         2    A. Well, I don't know what she means by goodwill,
 3   simply commenting on the fact that some of the sites,       3    but you can see that FDA did work with the company to
 4   looking back over studies done over the past ten years,     4    identify the subset of studies that they wished to
 5   didn't meet the standards for clinical trials at the        5    consider that they considered met FDA standards for
 6   time of the approval, it may simply be referring to the     6    adequate and well-controlled trials to be the basis for
 7   fact that there would be sites that would be relied on      7    the effectiveness.
 8   and other sites which wouldn't be considered for            8    Q. And just to be clear, you've never seen this
 9   effectiveness.                                              9    document before today; correct?
10   Q. Did you know, based upon your review of the             10    A. Not that I recall.
11   documents provided to you, that Bayer felt that the        11    Q. It's not something that Bayer's lawyers provided
12   approval of Mirena was based on some goodwill from the     12    to you; correct?
13   authority, meaning the FDA?                                13    A. If they do, I don't recall having seen it.
14   A. I'm -- I don't think it was based on goodwill.          14          MR. JONES: And just for the record, we'll note
15   I think it was based on the evidence, which is well laid   15    that that's Bates numbered MIR_PSEU_00546368.
16   out in the summary documents.                              16    BY MR. JONES:
17         I think the author here is commenting on the         17    Q. Down towards the bottom of Page 6 of your report
18   country differences. As I understand, Japan has been       18    you say, FDA employs a number of resources in reviewing
19   very reluctant to approve hormonal contraceptives, and     19    the NDA data, including a team of physicians and other
20   condoms are the major form of contraception in Japan,      20    scientists who are experts in their respective fields.
21   unlike this country.                                       21    This team prepares detailed reports in their area of
22         So I think they're commenting on the fact that       22    expertise based on their findings.
23   the environment is different, going to a regulatory body   23          Are these the summary reports that you've
24   that approves hormonal contraceptives in many different    24    mentioned you reviewed earlier?
25   forms compared to a country that relies on barrier         25    A. No. The documents that I'm -- the ISS and the


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 1   contraceptive methods.                                      1    ISE are actually the company documents.
 2   Q. So are you disagreeing with Bettina Fiedler, the         2          FDA has reviews of those documents, and I read
 3   global regulatory affairs employee for the company, when    3    those as well, but I -- for the description of what was
 4   he or she says that the approval was based on some          4    in the ANDA, I took that from the company's summaries.
 5   goodwill from the authority?                                5    Q. Okay. It says, these reviews and reports may
 6         MR. SCHMIDT: Object to characterization,              6    contain conclusions and recommendations of the
 7   foundation.                                                 7    individual reviewers at the time they are written but do
 8         THE WITNESS: Well, I think she's describing --        8    not necessarily represent the final FDA position; is
 9   I mean, I don't know what she meant. I don't. I don't       9    that correct?
10   know what she meant by that, but what she's describing     10    A. Yes, that's correct.
11   is the fact that there was data that wasn't relied on.     11    Q. Your next sentence you say, during the review
12   That's the data that's less than perfect. That's part      12    process, FDA has complete access to all of the data from
13   of the record of the approval process.                     13    the studies in the NDA either as submitted at the time
14         If that's what she means by goodwill, then I         14    of filing or per FDA's request to the NDA applicant.
15   would agree that FDA was willing to accept historical      15          Did I read that correctly?
16   studies and to identify the subset of studies that met     16    A. Yes.
17   FDA's current standards.                                   17    Q. Do you know, based upon your review of the
18         FDA could have taken a hard position and just        18    documents in this case, whether FDA had complete access
19   said, do the studies, do new studies and start over, but   19    to all of the data from the studies in the NDA or
20   they worked with the company to see if there were          20    whether they had requested it at some point?
21   studies that met the standards, found those studies, and   21    A. Well, there certainly were both. I think that I
22   made a decision based on them.                             22    described that during the NDA, the company submitted 41
23   BY MR. JONES:                                              23    supplements.
24   Q. Based upon some goodwill from the authority --          24          So supplements typically contain additional
25   A. No. I don't think --                                    25    information or analyses or data that FDA requests. So


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 1   there's, you know, evidence that it was a very              1    the Copper T was actually on the market in the 1970s.
 2   interactive process, that FDA used not only the NDA but     2    Q. And the Mirena, that's a hormonal IUD; right?
 3   requested additional information and it was submitted 41    3    A. That's correct.
 4   different times.                                            4    Q. And it releases a potent synthetic progestin
 5   Q. Did FDA have access to the case reporting forms          5    called levonorgestrel; correct?
 6   from the studies that were listed in the NDA?               6    A. That's correct.
 7   A. I would -- I don't know. I don't know directly           7    Q. And do you agree that there is systemic
 8   which case reports. There are always some case reports      8    circulation of levonorgestrel in Mirena users?
 9   that are included but I don't know if this application      9    A. Yes.
10   had all case reports.                                      10    Q. And you agree that Mirena users experience
11   Q. And when I say "case reports," I'm talking about        11    systemic hormonal effects as a result of their use of
12   the case report forms.                                     12    the IUD; correct?
13         You know what that is; right?                        13          MR. SCHMIDT: Objection. Characterization.
14   A. Yes. Right. The raw data from the                       14          THE WITNESS: They can. There may be systemic
15   individual --                                              15    effects. It does circulate systemically, yes.
16   Q. Right.                                                  16    BY MR. JONES:
17   A. -- trial participants. Yes.                             17    Q. This process of the risk/benefit assessment,
18   Q. Does FDA engage in a risk/benefit assessment            18    that continues to occur throughout the life of the drug;
19   during its new drug approval process?                      19    correct?
20   A. Yes.                                                    20    A. Yes, that's correct.
21   Q. Okay. And I believe you said that this                  21    Q. As the company receives reports of adverse
22   risk/benefit assessment is conducted with every FDA        22    effects, they are to continue balancing the risks versus
23   approved on the market and is a crucial element of the     23    the benefits; correct?
24   drug approval process; is that correct?                    24    A. Yes, that's correct.
25   A. Yes.                                                    25    Q. And do you agree that once a drug is on the


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 1   Q. And so we're talking about Mirena, a                     1    market, the number of patients who take the drug expands
 2   contraceptive; right?                                       2    from a few hundred or a few thousand patients in the
 3   A. Yes.                                                     3    clinical trials to tens of thousands or even millions of
 4   Q. Okay. Were there other contraceptives on the             4    patients who are prescribed the drug?
 5   market at the time Mirena was approved?                     5    A. Yes. I think I've written that or something
 6   A. Yes.                                                     6    similar to it in my report.
 7   Q. There were oral contraceptives; right?                   7    Q. I think that's straight from your report.
 8   A. Yes.                                                     8          And do you -- I think we talked earlier about
 9   Q. Norplant was still on the market in the U.S. at          9    all adverse effects can't be expected to be picked up in
10   that time; correct?                                        10    pre-approval trials; correct?
11         MR. SCHMIDT: Bless you.                              11    A. That's correct.
12         THE WITNESS: I don't recall the year Norplant        12    Q. Okay. And so isn't it true that there's a
13   was withdrawn but --                                       13    period of time as a drug develops more users and more
14   BY MR. JONES:                                              14    usage that new adverse effects may come to the attention
15   Q. If you don't know, that's fine.                         15    of the manufacturer?
16   A. Yeah.                                                   16    A. Yes, that's correct.
17   Q. ParaGard, the copper IUD, that was on the market        17    Q. And those manufacturers are supposed to receive
18   at the time; right?                                        18    that information and determine whether or not an update
19   A. There were copper IUDs on the market at the             19    to their label is necessary; correct?
20   time, yes.                                                 20    A. Yes, that's correct.
21   Q. Copper IUDs have been on the market in the U.S.         21    Q. And at all times while their product is on the
22   since the 1980s; right?                                    22    market, a drug manufacturer is responsible ultimately
23   A. Yes.                                                    23    for its label; correct?
24   Q. And a copper IUD is a non-hormonal IUD; right?          24    A. That is correct.
25   A. That's correct. I think there were -- I think           25    Q. And when you're talking about premarket studies,


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 1   isn't it true that this testing is conducted in a           1    A. Yes, it does.
 2   limited number of patients; correct?                        2    Q. Patients?
 3   A. Well, relative to the eventual use, that is              3    A. Patients? Yes. It -- patients do directly
 4   correct. Sometimes it's a very large number of              4    report both to the company and to the FDA.
 5   patients, but compared to the use once the product is       5    Q. Okay. The name Foreign Adverse Experience
 6   approved, it is limited, yes.                               6    Reports, are those part of the post-marketing
 7   Q. Okay. And these premarket studies are conducted          7    surveillance?
 8   on a population that's relatively healthy; correct?         8    A. Yes. The company is responsible for analyzing
 9         MR. SCHMIDT: Object to characterization.              9    all of those. The FDA actually identifies which types
10         THE WITNESS: Generally speaking. Not always.         10    of foreign information it would like to have submitted
11   But for a product to be used by healthy people, it         11    and in different settings. So there are slightly
12   certainly would be conducted in healthy people, yes.       12    different rules for foreign reports than U.S. reports
13   BY MR. JONES:                                              13    but the company's responsibility is to know about it all
14   Q. Well, isn't it true that many of these studies          14    and then there's rules about which ones get submitted to
15   actually have exclusion factors where they keep people     15    FDA and how.
16   out that have certain health conditions?                   16    Q. They're supposed to know about all of the
17   A. Yes, that's correct.                                    17    information that's out there?
18   Q. And they have inclusion factors where they bring        18    A. No matter how they learn of it, the company is
19   in individuals to study that they would like to study in   19    responsible to know about the safety information for
20   a product; correct?                                        20    their product, whether it's from patients, foreign, from
21   A. Yes, that's generally true. It varies from              21    health-care providers or even from lawsuits.
22   product to product and who the target users are. But it    22    Q. Right. Clinical trials?
23   is true that the studies try to remove some of the         23    A. From clinical trials.
24   sources of variation, variability, such as patients who    24    Q. Information from the medical literature?
25   have other conditions going on that complicate the         25    A. Yes.


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 1   interpretation of the studies.                              1    Q. You mentioned lawyers and lawsuits; right?
 2   Q. Do you know what percentage of women studied in          2    A. Yes.
 3   the premarket studies for Mirena would be classified as     3    Q. And is -- do you put less credence in a report
 4   overweight or obese?                                        4    of an adverse event that is learned from a lawyer versus
 5   A. I don't think I know that. I don't think I know          5    someone else?
 6   that number.                                                6    A. No. The credence of the report should be based
 7   Q. Would you agree that it's a relatively small             7    on the content of the report, not who reported it.
 8   percentage of the women studied?                            8          So there are reports that are incomplete and
 9         MR. SCHMIDT: Objection. Foundation.                   9    difficult to interpret that come from lawyers and ones
10         THE WITNESS: I don't think I know one way or         10    that come from doctors and so forth. So you judge each
11   the other. It depends on the setting where the studies     11    report in terms of what you know about it.
12   are being conducted, and rates of obesity vary in          12          There may be limitations in getting follow-up
13   different populations and different ages and with          13    information when there's lawsuits involved but --
14   socioeconomic status, so I just don't know one way or      14    compared to a report from a patient or a doctor but the
15   the other.                                                 15    credibility of the report depends on the quality of the
16   BY MR. JONES:                                              16    report.
17   Q. What is post-marketing surveillance?                    17    Q. Well, as it relates to lawyers and the
18   A. It's a required activity of companies with              18    follow-up, isn't it true that it might actually result
19   products on the market, where they collect information     19    in more information because the lawyers can provide
20   about the reports of potential adverse reactions and       20    copies of their client's medical records?
21   look for other ways that -- to identify safety             21    A. It can. It -- the way that the privacy laws
22   information.                                               22    allow post-market surveillance where the patient doesn't
23   Q. And this information includes spontaneous               23    give their consent to have their medical history shared
24   reports from -- of individual cases from health-care       24    with a drug company, which I think would surprise a
25   practitioners; right?                                      25    certain number of patients, but the context for that is


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 1   that the company may seek follow-up from the party that     1    for more information in post-market surveillance.
 2   reports the problem but they are not allowed to contact     2    Q. Could a pharmaceutical company ask a patient for
 3   anybody else who they may know of who might have more       3    a HIPAA release to talk to his or her other doctors?
 4   information. They always have to work with the              4    A. That's probably a legal question that I just, I
 5   reporter.                                                   5    don't know the -- I don't know the answer.
 6         So it will -- reporters vary, no matter who they      6          One, I don't offer legal opinions as an expert.
 7   are, in terms of their ability or willingness to provide    7    But I think that's a legal issue around what is
 8   additional information.                                     8    permissible and whether or not that would be something
 9   Q. Can the FDA ask the individual reporter for              9    that's trying to subvert the privacy balance that's
10   permission to contact his or her health-care providers?    10    built into HIPAA.
11   A. Well, could they is an interesting question.            11    Q. Maybe that would be a good topic for your food
12         It's not part of the practice because the            12    and drug law class.
13   privacy laws, which are, have the nickname of HIPAA,       13    A. It is an interesting topic.
14   actually have a very specific description of how you can   14    Q. Serious and unexpected adverse events must be
15   get information for a post-market report and it limits     15    reported within 15 days of receipt by the manufacturer;
16   it to seeking information from the reporter.               16    correct?
17         I think that FDA or the company can always           17    A. That's correct.
18   request that a reporter could ask other people to          18    Q. And those are known commonly as 15-day reports?
19   contact FDA and to become a reporter themselves but        19    A. Yes.
20   there are certain rules about how this is done.            20    Q. And do you agree that the purpose of spontaneous
21         And then other countries have rules, some of         21    reporting systems is to detect a signal of a previously
22   them even much stricter than the U.S., about privacy.      22    unknown potential association between an adverse effect
23   In some countries, doctors are not allowed to actually     23    and a drug?
24   report to the companies, they have to report to the        24    A. Yes.
25   government. So it just varies on who the report is         25    Q. And beyond examining individual spontaneous


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 1   from, the circumstances.                                    1    reports, signal evaluation may include epidemiological
 2   Q. With all due respect because you worked at the           2    studies, research on the pathophysiology of the adverse
 3   FDA, that seems silly to me. It seems like it ties the      3    reaction and, where feasible, clinical trials; correct?
 4   FDA's hands a little bit.                                   4    A. Yes, those are all things you can do. Yes.
 5         Is that a fair characterization?                      5    Q. And another important source of safety
 6   A. Well --                                                  6    information comes from clinical trials and other studies
 7         MR. SCHMIDT: Object to form.                          7    conducted after the initial market approval; correct?
 8         THE WITNESS: No, I don't think so. I think            8    A. Yes, that's correct.
 9   that -- I think what it is is it -- and, you know, it's     9    Q. And even Phase 4 studies or post-marketing
10   not part of the -- it's not part of FDA's law, it's part   10    commitments.
11   of HIPAA, it's part of the health privacy laws that are    11    A. Yes, that's correct.
12   part of HIPAA, is that it balances the public health       12    Q. Now, in addition to clinical trials, there may
13   need for reports with the patient's need for privacy.      13    also be publications of individual patients or series of
14   BY MR. JONES:                                              14    patients thought to have had adverse experiences from a
15   Q. Now, a pharmaceutical company, when they receive        15    drug or from related drugs; correct?
16   a report from a consumer, are they also limited only to    16    A. Yes, that's correct.
17   talking with the consumer about the report?                17    Q. And do you agree that it's well known and
18   A. No. To the reporter. So if it's a consumer,             18    understood that additional information about the
19   they can talk to the patient, if that's the reporter.      19    benefits and risks of medicines will become available
20   Q. Right.                                                  20    after they're approved and that the evaluation of that
21   A. If it's a doctor, they can only talk to that            21    information is an ongoing process?
22   doctor and they can only request additional information    22    A. Yes.
23   from that doctor. And that doctor has no limitations on    23    Q. Now, you talk about hierarchy of evidence, of
24   what they can provide, it's just they have to -- they're   24    scientific evidence; right?
25   the only person the company, under the rules, can ask      25    A. Yes.


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 1   Q. There is a recognized hierarchy of scientific            1          MR. SCHMIDT: Object to characterization.
 2   evidence relevant to the assessment of drug safety;         2          THE WITNESS: The downloadable forms are
 3   right?                                                      3    deconstructed, if you will. You have to put it back
 4   A. Yes.                                                     4    together yourself. And they're very large and they're
 5   Q. And while it may be at the bottom, spontaneous           5    cumbersome and it's challenging to set it up right to
 6   reports are part of that hierarchy of evidence; correct?    6    get the information that you want. But it is relatively
 7   A. Yes, they play a role, particularly in providing         7    straightforward but there's -- it's tedious, at best.
 8   a signal and identifying a safety, potential safety         8          MR. JONES: Yeah. I actually, point of
 9   issue that needs follow-up.                                 9    interest, I had a -- I hired a software developer to
10   Q. And would you agree that infrequent or rare             10    build me a database --
11   adverse reactions are often described initially by         11          THE WITNESS: Uh-huh.
12   individual case reports either reported to the company     12          MR. JONES: -- so I could look at it.
13   or FDA or published in medical literature as a case        13          THE WITNESS: Yeah. Well, you know firsthand
14   series after the product enters the market?                14    that the definitions change for the fields, the fields
15   A. Yes, I would agree with that.                           15    move --
16   Q. And you agree that a PTC is a rare event;               16          MR. JONES: Uh-huh.
17   correct?                                                   17          THE WITNESS: -- and there are other challenges
18   A. Yes, it is.                                             18    as well.
19   Q. Do you agree that, when performed properly,             19    BY MR. JONES:
20   case-control studies are the best method to determine      20    Q. Now, you mentioned that some companies will
21   whether there's an increased risk of infrequent adverse    21    construct their own databases to be able to review the
22   events associated with a drug?                             22    FDA adverse event information; is that correct?
23   A. Yes, when well conducted, when well performed,          23    A. Yes.
24   they are one of the better sources of information about    24    Q. Did any of the companies that you worked at have
25   rare events.                                               25    such a database?


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 1   Q. And when both the drug use is infrequent and the         1    A.    No, neither Elan nor Amgen had such a database.
 2   adverse event is rare, the very large                       2    Q.    Do you know whether Bayer has such a database?
 3   pharmacoepidemiology databases may be the only practical    3    A.    I do not.
 4   method to assess the risk; correct?                         4         Generally, when you're dealing with your own
 5   A. Yes, that's correct.                                     5    products, you use your own database, and I don't know if
 6   Q. And are you aware of private companies that              6    they also -- I didn't see anything that indicated that
 7   provide access to information from regulatory adverse       7    they had an in-house copy of the AERS, now called FAERS,
 8   event databases like FDA and WHO?                           8    database.
 9   A. Yes, there are open source, if you will. I'm             9    Q.    Do you know if they have a subscription to be
10   not quite sure of the -- who -- the structure of all of    10    able to search through the FDA database?
11   the organizations that provide them, but there are         11    A.    I don't know.
12   open-source tools for searching regulatory databases and   12    Q.    You mentioned earlier something along the lines
13   adverse experience databases.                              13    of a company as part of their post-marketing
14   Q. Well, let me make sure that we're talking about         14    surveillance should be looking for anything that's out
15   the same thing.                                            15    there that relates to the safety of their product.
16        I understand that there are companies out there       16         Do you remember talking about that?
17   that will sell subscriptions that a company can buy that   17    A.    Yes.
18   would allow them to, basically, search FDA adverse event   18    Q.    Okay. And would that include looking at the
19   data; is that correct?                                     19    FAERS database?
20   A. Yes, there are. The FDA makes the data                  20    A.    It could. It depends on the -- it depends on
21   available publicly, you know, on a quarterly basis, and    21    the product and depends on the reporting patterns.
22   so many companies construct their own databases, but       22         90 percent of the reports, on average, that are
23   they may choose to use the services of a contractor.       23    in FAERS have come from the companies who are
24   Q. They don't make it real easy to see the                 24    responsible for the products. So, generally speaking,
25   information, do they?                                      25    the company databases are pretty complete, plus they


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 1   have reports which FDA does not request as part of          1    collection of adverse experiences from different
 2   FAERS. So the company database is typically larger than     2    regulatory bodies. The FDA reports make up about 60
 3   the FAERS database, although there's always something in    3    percent of the reports in the database but the other 40
 4   FAERS that may not -- the company may not have.             4    percent come from other countries.
 5   Q. Did you know that in this case that Bayer didn't         5    Q. And what's the name of that database?
 6   look at the FAERS database regarding Mirena and PTC         6    A. It's part of the EudraVigilance system. WHO is
 7   until 2015?                                                 7    responsible for it. I can't think of the exact name at
 8         MR. SCHMIDT: Object to characterization.              8    the moment, but it's the system that's based in Sweden.
 9         THE WITNESS: I'm not -- no, I don't know if I         9    Q. Is it the one from the Uppsala Monitoring
10   know when they first looked at it. No.                     10    Centre?
11   BY MR. JONES:                                              11    A. Yes, it's in Uppsala, Sweden.
12   Q. Did you know that when Bayer looked at the FAERS        12    Q. Okay. Did you say EudraVigilance?
13   database in 2015, that they actually found cases in        13    A. Well, EudraVigilance is one of the descriptions
14   FAERS that were not part of their database?                14    of the European pharmacovigilance databases.
15   A. I don't recall if I knew that, but I would              15    Q. Do you know, does Eudra, is EudraVigilance and
16   expect that to be the case. There would always be a        16    WHO the same data source or does EudraVigilance feed
17   small percentage of reports that went directly to FDA.     17    into WHO? Do you know?
18   Q. Did you know that it was not part of their, of          18    A. My understanding is EudraVigilance feeds into
19   Bayer's pharmacovigilance practices prior to 2015 to       19    WHO, but I'd have to review to see the exact
20   review the FAERS database?                                 20    relationships. But there is -- the Swedish database is
21         MR. SCHMIDT: Object to form and foundation.          21    the other large database.
22         THE WITNESS: I don't. No, I don't think I've         22    Q. So is the Swedish database something different
23   seen any company SOPs about what their standard            23    from WHO?
24   practices were.                                            24    A. No. That's the WHO-sponsored --
25         MR. JONES: Yeah, I was going to ask you that.        25    Q. Okay.


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 1   You jumped ahead of me.                                     1    A. -- database that has U.S. and other country data
 2   BY MR. JONES:                                               2    in it.
 3   Q. Have you reviewed any of Bayer's                         3    Q. Do you know what other countries report to WHO?
 4   pharmacovigilance standard operating procedures, or         4    A. My understanding is that it -- it's -- the next
 5   SOPs?                                                       5    largest collection come from the European Union. I
 6   A. No, I have not. I have reviewed the analyses             6    don't -- I'm not sure what the reporting rate is for
 7   themselves but not the SOPs.                                7    different countries.
 8   Q. The SOPs weren't provided to you by Bayer's              8    Q. Can you turn to Page 12 of your report.
 9   lawyers?                                                    9    A. Okay.
10   A. No. And I didn't request them.                          10    Q. Okay. This is -- this isn't very helpful for me
11   Q. When you're evaluating whether or not a                 11    to read it sideways.
12   pharmacovigilance department interacted appropriately      12    A. I have it in front of me if -- but --
13   with the FDA, don't you think that it would be important   13    Q. This is the -- this is from Page 12 of your
14   to know what their standard operating procedures are?      14    report, the "Hierarchy of Study Design and Evidence For
15         MR. SCHMIDT: Object to form.                         15    Drug-Associated Adverse Effects."
16         THE WITNESS: In some circumstances. But I            16           Did I read that correctly?
17   think here I think that the documents of the analyses      17    A. Yes.
18   that they did, by my review, were adequate.                18    Q. Now, did you make this chart or did you pull
19   BY MR. JONES:                                              19    this from somewhere?
20   Q. Other than the FAERS database from FDA, what            20    A. No. I made this chart.
21   other safety databases are available from government       21    Q. Okay. And "Hierarchy of Designs (Strongest to
22   regulators worldwide?                                      22    Weakest)," and then you have, "Adverse Effects assessed
23   A. Well, there is a -- there's a European database.        23    prospectively before adverse event?" "Controls for
24   There's actually different names for it. But one of the    24    selection Bias/and Ascertainment Bias?" "Can estimate
25   databases is maintained in Sweden and it has a             25    relative risk or hazard compared to control group?"


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 1   And, "Can study rare events?"                              1    A. It may be that you have a circumstance of a very
 2         Did I read that correctly?                           2    high-risk patient population that you could enroll in
 3   A. Yes.                                                    3    the cohort that has a high -- where the rate becomes
 4   Q. Okay. And so it -- as it relates to pseudotumor         4    common enough that you could study it.
 5   cerebri, we've established that's a rare event; right?     5    Q. Okay. Would a -- how many individuals would it
 6   A. Yes.                                                    6    take in a controlled cohort study to study a rare event?
 7   Q. Okay. So a randomized, controlled trial is not          7    A. It depends how enriched the population would be
 8   going to work to study that rare event; correct?           8    by your -- by the types of patients that you enrolled.
 9   A. That's correct. They just can't be big enough.          9          So if the condition was -- you know, let's say
10   Q. Okay. And registries or uncontrolled cohort            10    that the clinical trial was 20 times too small but you
11   studies, that's not going to work either; right?          11    could enrich the population in a cohort study to have
12   A. That's correct.                                        12    the condition occur 20 times more often, then you may
13   Q. Okay. And then you say maybe for controlled            13    well be able to actually study it in that kind of a
14   cohort studies, enroll patients starting a new drug and   14    setting.
15   compare it to similar patients not taking the drug. You   15    Q. And when you say enrich it, you mean enroll
16   say maybe.                                                16    people that would be more at risk for the adverse event
17         Why maybe on that?                                  17    that you were studying.
18   A. Well, for registries and other uncontrolled            18    A. Yes. For example, when they're studying heart
19   cohorts, the biggest -- well, there's two issues, but     19    disease, if you enroll smokers with high blood pressure
20   one of the more important ones is that even for two       20    and high cholesterol, you'll find more -- you'll see
21   drugs in the same class, the types of patients that are   21    more heart attacks than you would if you just enrolled
22   prescribed one drug versus another may be very            22    all comers taking the drug from the general population.
23   different.                                                23    Q. Okay. I know from reading your report that you
24         So, for example, you know, relevant to Mirena,      24    believe that obesity -- overweight and obesity and
25   if there's a condition that's associated with obesity     25    recent weight gain are risk factors for developing PTC;


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 1   and there's recommendations to use IUDs in obese women,    1    right?
 2   then even if you put together a cohort of, say, oral       2    A. Yes.
 3   contraceptive users and Mirena users, you would have --    3    Q. Okay. So let's use that example and focus on
 4   you wouldn't have controlled the selection bias. The       4    the second category here.
 5   patients would have been selected for a risk factor for    5    A. Yes.
 6   a condition.                                               6    Q. You agree that not everyone who is overweight or
 7        So there are ways that you can, with registries       7    obese develops PTC; correct?
 8   that you can try and match participants with one           8    A. That's right. It's still relatively rare. It's
 9   exposure to another but it's not done very often. Those    9    20 times more common than non-obese but 20 times rare is
10   are called case cohort studies.                           10    still rare.
11        So, generally speaking, you can't really control     11    Q. Yeah. We'll talk about those numbers in a bit
12   why the patient got the drug.                             12    but --
13   Q. I think you've been talking about registries and       13           So from a percentage-wise, how many -- what
14   other controlled cohort studies; right?                   14    percent of overweight or obese women ultimately end up
15   A. Oh, okay. Where were you?                              15    developing PTC?
16   Q. Yeah. See, look up -- I'm up here on the               16    A. Oh, from a percentage it's still well, well
17   screen.                                                   17    under -- I mean, if the rate is one in a hundred
18   A. Oh, okay.                                              18    thousand for non-obese, approximately, or two in a
19   Q. You had "no" there so you can't --                     19    hundred thousand, it's -- you know, we can discuss what
20   A. Yeah.                                                  20    the correct number would be but, you know, it could be
21   Q. I was up above that, the controlled cohort             21    as high as 20 per hundred thousand, but that's still
22   studies. You said maybe --                                22    pretty rare when you talk about how many patients you'd
23   A. Oh, yeah.                                              23    have to enroll to find PTC in cases.
24   Q. -- on can study rare events.                           24    Q. Right. So for purposes of studying PTC and
25        Why maybe?                                           25    obesity, the controlled cohort study that you say maybe


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 1   can be used to study an adverse event or a rare adverse     1    had an adverse effect and compare similar patients
 2   event, it's not really practical.                           2    without the adverse effect and look back to see drug
 3   A. It doesn't work here, no. That's right.                  3    use)."
 4   Q. Okay.                                                    4    A. Yes.
 5   A. That's right.                                            5    Q. Is that correct?
 6   Q. And so then the --                                       6    A. Yes, that's correct.
 7         MR. JONES: How much time do we have left?             7    Q. Okay. And you have that that -- you can use
 8         VIDEO OPERATOR: Two minutes.                          8    that kind of case-control study to study a rare event;
 9         MR. JONES: I don't think we can get through the       9    correct?
10   next one in two minutes.                                   10    A. Yes.
11         THE WITNESS: All right.                              11    Q. And that kind of study can estimate the relative
12         MR. JONES: He only has two minutes on the tape.      12    risk or hazard compared to the control group; right?
13         THE WITNESS: Sure.                                   13    A. Right.
14         MR. JONES: So let's take a break.                    14    Q. And you have maybe controls for selection bias
15         THE WITNESS: Okay.                                   15    and maybe controls for ascertainment bias; right?
16         VIDEO OPERATOR: We are going off the record.         16    A. Yes.
17         This is the end of Media Number 2, and the time      17    Q. Okay. So explain that to me.
18   is 2:24 p.m.                                               18    A. Well, people who have a -- you know, here you're
19         (Recess, 2:24-2:41 p.m.)                             19    studying people who have a condition like PTC and people
20         VIDEO OPERATOR: This is the beginning of Media       20    who don't, and when you're trying to evaluate the two
21   Number 3.                                                  21    groups of patients, just by virtue of the fact that the
22         We are back on the record at 2:41 p.m.               22    person has the condition, they may have had different
23   BY MR. JONES:                                              23    medical care, they may have had more interactions, they
24   Q. Dr. Feigal, we're back from break with a new            24    may be -- have been exposed to more drugs because of
25   videotape.                                                 25    their underlying condition.


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 1         Let's go back up to the controlled cohort             1         If you were looking at PTC in general, not just
 2   studies that we were talking about, the second box.         2    with -- as a risk for Mirena, you would probably be
 3   A. Sure.                                                    3    studying men and women and yet if the question was about
 4   Q. That would be a prospective study; correct?              4    Mirena, you would really only be interested in the
 5   A. Right. And a cohort usually implies an exposure          5    women.
 6   cohort, so you'd prospectively follow Mirena patients to    6         So you have to make sure that the selection of
 7   see if they developed IIH.                                  7    cases is representative and the selection of controls is
 8   Q. And you couldn't ethically put individuals in a          8    as comparable as though you had set up a cohort study
 9   prospective controlled cohort study without advising        9    years ago and were following them forward.
10   them that you were studying the risk of pseudotumor        10         And there are examples from the literature where
11   cerebri and whether or not they would develop it;          11    they looked at dietary risk factors, for example, for
12   correct?                                                   12    pancreatic cancer but the controls came from the GI
13   A. Generally speaking, that would be correct. You          13    practice and the GI practice took care of many patients
14   generally disclose the purpose, the research purposes,     14    who were put on special diets.
15   of the study to the study participants.                    15    Q. Uh-huh.
16   Q. I mean, by and large, when you're looking at            16    A. So then the pancreatic cancer patients generally
17   studying a potential association between levonorgestrel    17    had not been put on special diets and so they tended to
18   and PTC, you don't have a choice but to do a               18    show that -- in that particular study they raised the
19   retrospective study, ethically; correct?                   19    question of whether caffeine caused pancreatic cancer.
20   A. I think you could do them prospectively but the         20    But it was selection bias because the controls were a
21   condition is so rare that I would agree with you that      21    group that had been advised not to drink coffee because
22   the only studies that are feasible are retrospective       22    they had ulcers, for example.
23   studies.                                                   23    Q. Okay. So --
24   Q. Okay. Then going down to the next box, we have,         24    A. So that's just an example of -- you just have to
25   "Case-Control Studies (enroll patients who have already    25    pay a lot of attention to the details to make sure that


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 1   your cases and controls are representative of their, you    1          MR. JONES: Uh-huh.
 2   know, respective populations.                               2          THE WITNESS: -- that you're part of that
 3   Q. So selection bias is, you want to figure -- you          3    spectrum that is more complicated.
 4   want to try to do your best to find cases and controls      4    BY MR. JONES:
 5   that are pretty daggone similar?                            5    Q. So that's the challenge to case controls is
 6   A. Well, you want them to be each representative of         6    to -- one of the papers that was written years ago about
 7   their own population. So you've got the cases -- you've     7    this is the problem of spectrum and bias, being the
 8   got the population that has the disease. You want your      8    right spectrum of patients and not being biased in the
 9   cases to be typical of those patients.                      9    way that they're ascertained.
10         And then the controls are supposed to be             10          You may have more data on one group than the
11   comparable. Maybe they're supposed to be the same age,     11    other and that makes -- that may make something
12   same age and sex. You know, you might control for that,    12    artificially appear to be the case but it's just that
13   but in other respects you want them -- you don't want      13    you collected more information on one group. So that's
14   them to be different in some way because, you know, in     14    a challenge.
15   my example of trying to study diet in a population who     15    BY MR. JONES:
16   had been put on special diets, they don't represent the    16    Q. Say I was doing a study and you and Mr. Schmidt
17   general population's eating.                               17    were my control group. Would it be acceptable for me to
18   Q. Uh-huh.                                                 18    just walk out in the lobby of the law firm and select
19   A. So that's why you -- that's why selection               19    two other people and say this is going to be my control
20   matters.                                                   20    group?
21   Q. So on selection bias, what's the process for            21    A. No. You'd want a --
22   trying to minimize selection bias? What are good           22          MR. SCHMIDT: Objection to -- object to
23   methods for developing a study that's going to minimize    23    foundation.
24   selection bias?                                            24          THE WITNESS: You'd want a little more care than
25         MR. SCHMIDT: Objection. Vague.                       25    that.


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 1        THE WITNESS: Well, you'd start with your cases         1          If you look at how case-controlled studies do,
 2   and you'd say, what are the cases that I want to study      2    they usually have a large population of controls.
 3   and is there a way that I can select a representative       3    Controls are easier to come by than cases. So they
 4   sample?                                                     4    usually take the cases that -- all the cases that they
 5        So if, for example, you've got -- you're at a          5    can find, because they're studying rare things so cases
 6   university and the only -- you only see the most severe     6    are precious, so they find all the cases. You have to
 7   and unusual cases and all the milder ones are out in the    7    make sure it's the right place that gets the right
 8   general practices, you'd want a way to find, to select      8    cases, as I mentioned before.
 9   your cases from that whole, not just the university but     9          For controls, then they typically randomly
10   from the general practice. In other words, you'd only      10    select them from medical records, other kinds of ways to
11   be looking at part of the spectrum of the disease.         11    show that they're representative of the same population
12        With respect to the controls, you want to make        12    that the cases came from. So that's the selection bias
13   sure that the controls are the appropriate control         13    aspect.
14   group. You want them to be the same kinds of patients      14          Then the ascertainment issue is you have to have
15   as the cases, except that they didn't develop the          15    the same access to information for the cases and
16   disease, PTC in this case.                                 16    controls. And so if, for example, you can contact cases
17        And so if PTC can, you know, develop in a             17    because they're patients in your clinic but the
18   healthy person, for example, then you want to make sure    18    controls, you know, you don't have a relationship with,
19   that your controls could -- you know, largely reflected    19    you don't have a way to contact them, then you may have
20   a healthy population.                                      20    incomplete information on one group compared to much
21         That's often a challenge for hospital-based          21    more complete on the other and that could create some
22   studies and medical records systems because the more       22    biases.
23   interactions you have with a health-care system, the       23          So the attention is really on the details in the
24   more times you're hospitalized or things, more likely      24    specific studies to do these right.
25   you're not an average, healthy person --                   25


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 1   BY MR. JONES:                                               1    how big of a problem could that be with this.
 2   Q. So on the selection bias, again, if you and Mr.          2          And you'll actually see that done in some
 3   Schmidt were my cases --                                    3    articles, where they try and estimate what effects could
 4   A. Yeah.                                                    4    be of things that, you know, could be biased in the
 5   Q. -- would it be appropriate for me to get my              5    study.
 6   controls by saying, you know, each of you call two of       6    Q. And is there a way of -- is there an accepted
 7   your friends and ask them if they'll participate in my      7    way of quantifying the amount of selection bias or
 8   study?                                                      8    ascertainment bias?
 9        MR. SCHMIDT: Object to foundation.                     9    A. The usual -- well, yes, but there isn't -- it
10        THE WITNESS: Well, I chuckled because --              10    isn't quite as standardized as calculating a P-value
11        MR. SCHMIDT: Incomplete hypothetical.                 11    from a two-by-two table, which is really pretty, pretty
12        THE WITNESS: -- because friend controls               12    well worked out. There's a lot more judgment involved.
13   actually are one of the ways that people select controls   13    But there are techniques that involve modeling, where
14   in case-controlled studies. They actually ask people to    14    you make some assumptions about how big a bias effect
15   identify someone like them in their community that they    15    could be and see how much that would change your result.
16   can approach and ask if they'd participate in a study.     16    That's one -- you know, that's one common method.
17        More often, they come from what I would guess,        17    Q. And do you agree that -- well, strike that.
18   say, convenience collections of people, such as you        18    Okay.
19   mentioned the lobby, but from the hospital, it would       19          Let's move to the next box here,
20   probably be other people in the clinic who don't have      20    "Pharmacoepidemiology Studies (cohort or case-control
21   the condition. That's -- you know, that's commonly         21    designs conducted with insurance databases)." And you
22   done. Or if you're selecting from a large health           22    have yes, can study rare events; yes, can estimate
23   database and identifying them, then other participants     23    relative risk or hazard compared to control group;
24   in the health database.                                    24    again, we're at maybe/maybe on selection bias and
25                                                              25    ascertainment bias; and adverse effects assessed


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 1   BY MR. JONES:                                               1    prospectively before the adverse event or adverse
 2   Q. And on this -- what did you call it? Friend              2    effect, you have yes/no on that.
 3   control?                                                    3          Tell me why that's yes/no.
 4   A. Yes.                                                     4    A. Well, ideally, when you're studying an exposure
 5   Q. You said that people were asked to find a friend         5    risk, you want to know that the exposure -- know about
 6   that's like them?                                           6    the exposure before you know about the adverse effect
 7   A. Yes.                                                     7    because we know that people who have had, you know,
 8   Q. Doesn't that introduce some bias into -- you             8    particularly a serious adverse effect spend a lot of
 9   know, is Paul or is Mr. Schmidt like me or you like -- I    9    time thinking about what did I do to deserve this cancer
10   mean, that introduces some biases as well.                 10    or this birth defect or this problem and they can
11   A. No. That's absolutely right. No. No. So                 11    remember a lot more drugs that they took and they can
12   that's not a great way to do it. But that has -- that      12    remember a lot more other behavioral kinds of things
13   is a method that has been used.                            13    than someone where, you know, nothing is going on in
14   Q. Okay. And then -- okay. So is there -- in               14    their life.
15   terms of the controls for selection bias and               15          And so you can't always -- in these databases,
16   ascertainment bias, can you ever eliminate in one of       16    some of them are just cross-sections of one point in
17   these case-control studies, absolutely eliminate           17    time and you don't have any historical record that the
18   selection bias and ascertainment bias?                     18    exposure occurred well before the event. And with the
19   A. No. And what the appropriate thing to do is to          19    databases, it's less of a problem of memory because you
20   estimate what -- you know, what the -- how large a         20    are collecting but it's an issue sometimes that you just
21   problem it could be.                                       21    can't reconstruct the time sequence when two things, you
22         So you shouldn't just discard studies because        22    know, two things appear together.
23   you can think of a reason that they might not be -- that   23          You can't tell from some databases, for example,
24   there could be a problem with the study. You should        24    when someone is diagnosed whether it's a new diagnosis,
25   also -- the responsible thing to do is to then assess      25    and if you don't know when the diagnosis started, then


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 1   you don't know if they took the drug before the             1    patients forward -- you know, forward in time.
 2   diagnosis. So that's a bit of a problem. If someone         2          So those are sometimes called
 3   already has the condition when they take the drug, the      3    retrospective/prospective studies.
 4   drug couldn't have caused it. So that's the issue           4    BY MR. JONES:
 5   there.                                                      5    Q. Follow them forward in time based upon the
 6   Q. I'm just having trouble understanding how you            6    treatment that they've had.
 7   can use an insurance database to study something            7    A. Yeah. You're looking at the exposures, whether
 8   prospectively.                                              8    you're looking at the risk from cigarettes, from
 9   A. Well, it's a retrospective/prospective.                  9    obesity, or from a drug, but the point is you've got
10   Q. Okay. Explain that to me.                               10    longitudinal information that you can rely on. And not
11   A. Well, if you had an insurance record that had           11    all insurance databases do. So that's why it's yes/no.
12   five years' worth of data, for example, you can go back    12    Q. Okay. And then the next in your hierarchy is,
13   to that first year and find the people who do not yet      13    "Case Series (a collection of patients with an adverse
14   have --                                                    14    event)," and you have yes, it can study a rare event;
15         MR. SCHMIDT: Bless you.                              15    no, it cannot estimate relative risk or hazard; then you
16         THE WITNESS: -- the condition that you're            16    get into the ascertainment and selection bias, maybe/no,
17   looking at and you looked at the drugs they're taking      17    and no.
18   and then you look at the second year and the third year    18    A. Yeah. And our problem here is we don't have a
19   and you can see all the things that are going on for       19    control group. So we may have -- I may say I've got
20   that patient and then they develop the complication, and   20    five cases in my clinic, but you'd say, compared to
21   then you can see -- and then you can say, all right,       21    what?
22   they were exposed to these things before the event of      22    Q. Uh-huh.
23   interest and are people who have the event more likely     23    A. And then the question is, why do you have five
24   to have had those exposures than the controls?             24    cases in your clinic or your referral center or so
25         Now, a lot of studies can't establish the start      25    forth?


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 1   of a condition. There are some conditions where the         1          But the problem with the case series is that it
 2   condition starts and then it may occur again later and      2    doesn't have a control group so you really can't make a
 3   you don't know that it's the first episode.                 3    comparison. The case series are helpful in describing
 4         And then the other challenge if it's billing          4    how patients do with a condition, what the spectrum is,
 5   data is that you really have to validate that just          5    what they look like, how many of them might have a
 6   because it's coded that way, they really had the            6    factor, in this case, for example, obesity, but you
 7   disease, not that they're being evaluated, did they have    7    don't have any control group to try and get, link it
 8   the disease? Because they get coded the same sometimes.     8    back to in terms of, you know, population.
 9         But it's -- the different insurance databases         9    Q. And when we talk about case series, this is what
10   have different quality of longitudinal information. And    10    we see in medical journals, doctors writing in saying,
11   so if you have a disease that can appear and then, say,    11    hey, I've had this experience, I had five patients --
12   be quiet for five years and then appear again and you've   12    A. Right.
13   only got two years of data, year before, year after, and   13    Q. -- in my clinic --
14   they develop the disease in the second year, you don't     14    A. Right.
15   know that they've had it before from an insurance          15    Q. -- and here are the details; right?
16   database, you've just got the codes.                       16    A. Right. Right. Right. The minimum number seems
17         Now, the way you can get around that is in the       17    to be three to write them up but --
18   systems where you also have access to the medical          18    Q. Okay.
19   records. So some of the systems, like Kaiser, for          19    A. -- but before the journal editors will publish
20   example, with their databases, they start their task by    20    it but -- unless it's very unusual.
21   looking at the codes but then they pull the charts and     21          But yeah. So these are sort of the uncontrolled
22   see what's really going on. So they use the codes to       22    collections. They're a step up from an individual case
23   pull the charts and then they can do -- then they can      23    report in that somebody has systematically tried to
24   simulate what a prospective cohort study is because they   24    describe the condition they're describing. They're
25   can identify an exposure and they can follow those         25    writing a paper about the condition, if you will,


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 1   because these often come from the literature, or a          1    was --
 2   company could do one as part of its evaluation. But --      2    Q. She.
 3   and so it will have some uniformity in the way that it      3    A. -- trying -- I'm sorry. She was trying to do.
 4   describes and assesses them but it won't have a control     4    My -- but being an abstract, there's really not --
 5   group. So that's why it's limited.                          5    there's not very many details in the methods about where
 6   Q. Okay. You mentioned the individual case                  6    the controls came from.
 7   reports. So what you're --                                  7          And so, for example, you know, in terms of
 8   A. Yes.                                                     8    ascertainment bias, it wasn't clear if they had the
 9   Q. -- talking about there is not Spontaneous                9    ability to actually telephone the controls as well as
10   Adverse Event Reports, you're talking about a              10    the cases. So there was just -- because it's an
11   health-care professional who writes something up?          11    abstract, it's -- you know, abstracts are typically 10
12   A. No. It can be any -- it can be from any source.         12    or 11 sentences long and often works in progress.
13   Q. Okay.                                                   13          But that study is, I think, designed as a
14   A. It can be from any source.                              14    case-controlled study but there's a lot of questions
15         The case series are almost always going to be        15    about that study that we probably want to talk about.
16   written up by a health professional or a safety            16    Q. And it's longer than 10 or 11 sentences long;
17   professional but the case reports, as we've talked about   17    right?
18   earlier, they can come from any source. You can learn      18    A. I'd have to count them. But when I used to
19   about them from any source.                                19    advise students writing abstracts, I'd say, you've got
20   Q. And the individual case reports, the spontaneous        20    ten sentences, three for introductions, three for
21   reports, the quality of the data, I believe you would      21    results, and three for conclusions.
22   agree, is hit or miss.                                     22    Q. Well, we'll look at it in a little bit.
23   A. Yeah, it's varied.                                      23    A. All right.
24   Q. Sometimes they're well documented?                      24    Q. And you've mentioned, you know, that there's
25   A. Right.                                                  25    some information, based upon your review of that


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 1   Q. Many times they're not; right?                           1    abstract, that you don't know whether, for instance,
 2   A. Right. And then they're contradictory and                2    they had the opportunity to telephone controls; right?
 3   there's, you know, the individual -- they vary in their     3    A. Well, that's right. We don't -- there are some
 4   quality.                                                    4    things that we don't know and -- although we'll get to
 5   Q. And with the case series, you get more detail            5    this, the other thing that was unusual was the number of
 6   because a health-care professional is kind of putting       6    cases that he identified. When you look at some of the
 7   their reputation on the line by publishing something?       7    other -- or she identified.
 8   A. Well, and they're trying to write up --                  8          When we look at some of the other literature,
 9         MR. SCHMIDT: Object to characterization.              9    you'll see far fewer cases being identified by a
10         THE WITNESS: I think what -- whether it's their      10    combined effort of nine or ten university hospitals. So
11   reputation or not, they're trying to write up and          11    if a paper ever is written about that, we'll be able to
12   describe a specific thing. They think there's some         12    answer some of those questions.
13   commonality to those cases. So there's more detail and     13          But it's -- the other possibility, which gets to
14   there's more -- they're more likely to note whether        14    selection, is it could be that the net was cast very
15   there's common features to the cases that might be a       15    broadly in terms of trying to obtain possible cases.
16   risk factor, although you don't have a control group.      16    And we know that the ICD-9 codes, when they're used for
17         With the individual cases, you don't have a          17    PCT, are actually only referring to an actual case of
18   control, you don't have any -- you know, you don't have    18    PTC about half the time. So we just don't know that
19   anything to anchor those things to.                        19    about that abstract.
20         MR. JONES: Okay.                                     20    Q. Right. And you're speculating that in that
21   BY MR. JONES:                                              21    particular study that only 50 percent of the cases
22   Q. And the Rai abstract, would that be -- on the           22    identified by ICD-9 code might not be PTC cases;
23   first page, would that be what you would consider a        23    correct?
24   case-control study?                                        24    A. Well, that's right. There's no description.
25   A. It -- I think that's what he was trying or she          25    Normally, in a study, in a study that has ability to


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 1   write a longer methods section, they would describe how    1          THE WITNESS: Not exactly.
 2   they validated their selection criteria and how they       2          I think that you can make some estimates, with
 3   know that the cases are PTC.                               3    limitations, if you know the total sales of the product
 4   Q. Are you aware of whether or not those authors           4    but the problem with spontaneous reports is that there's
 5   have a full article in process?                            5    always a degree of underreporting.
 6   A. I don't know one way or the other.                      6          So if you were to get a number of reports that
 7   Q. In progress?                                            7    when you divided it by your known sales of the product,
 8          Have you heard from anyone, any of your             8    for example, and that was already more reports than you
 9   colleagues in the medical community, that these authors    9    would expect from the background rate and even though
10   have developed a full article that's now under -- being   10    you couldn't estimate the incidence, you'd say this
11   subjected to the peer-review process?                     11    looks like we've got an association with the drug.
12   A. No, I don't know one way or the other.                 12          On the other hand, if it's a serious condition
13          MR. SCHMIDT: It's kind of like the next J. K.      13    where the reporting is generally better and the rates
14   Rawling's book. All we hear is chattering. Might be       14    are below or similar to the background rates, that's
15   coming, it might not be.                                  15    reassuring but it isn't a reason to stop looking.
16          MR. JONES: Do share.                               16          You -- but that is something that companies
17   BY MR. JONES:                                             17    commonly do is they compare the rates compared to sales,
18   Q. An individual --                                       18    and that helps also understand over time if the
19          MR. JONES: That's a good joke.                     19    reporting is going up and the sales are going up
20   BY MR. JONES:                                             20    proportionally, then you may be looking at something
21   Q. An individual spontaneous --                           21    that isn't changing.
22          MR. SCHMIDT: That will be my contribution.         22          On the other hand, if the reporting is going up
23   I'll shut up now.                                         23    and the sales are flat, then it may be a problem that
24   BY MR. JONES:                                             24    increases with time, with, you know, more prolonged
25   Q. An individual spontaneous case report is the           25    exposure to the same number of patients.


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 1   observation of an adverse event associated with a drug;    1          So there are some clues, but you just can't do
 2   correct?                                                   2    epidemiology from aggregated case reports.
 3   A. That's correct.                                         3    BY MR. JONES:
 4   Q. And these reports may be useful in some cases to        4    Q. Can you point me to anything and -- any FDA
 5   detect signals of a potential association between          5    guidances, FDA regulations, statutes governing FDA that
 6   outcomes and medical treatments; correct?                  6    says if you have sales data, then you can use
 7   A. That's correct.                                         7    spontaneous reports to provide estimates of incidence
 8   Q. And the FDA and product manufacturers use               8    rates or prevalence for the product?
 9   spontaneous reports to detect new potential safety         9    A. Not in those exact terms but, you know, if you
10   issues; correct?                                          10    look at the quote that starts on Page 13 and goes on to
11   A. Yes.                                                   11    Page 14, FDA is talking about the factors by which you
12   Q. And these reports, even when aggregated, cannot        12    evaluate the number of reports you have.
13   provide estimates of incident -- incidence rates or       13          So, for example, they point out publicity is
14   prevalence for the product, let alone provide             14    something that can increase the number of reports, or
15   comparative rates between products; correct?              15    how long the product has been -- has been -- the product
16   A. Yes, that's correct. And FDA has said that as          16    has been marketed.
17   well.                                                     17          So I think these are more qualitative things
18   Q. So you can't use spontaneous reports to try to         18    that you evaluate. So you do look at your sales and you
19   determine what the incidence rate is; correct?            19    do, you know, calculate some numbers but you use the
20   A. That's correct.                                        20    information more qualitatively. You can't assert that
21   Q. And if someone tried to use spontaneous reports        21    that's the known incidence or prevalence of the adverse
22   to estimate incidence rates, that would be contrary to    22    effect in all users of the drug because you just don't
23   what FDA says; correct?                                   23    have all the reports.
24   A. Well, not --                                           24    Q. I'm trying to find in the quote that you've
25         MR. SCHMIDT: Object to characterization.            25    cited me to anywhere where it discusses sales data, if


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 1   you have sales data, that you can use spontaneous           1    A. Yes, I have.
 2   reports to provide estimates of incidence rates or          2    Q. Okay. And so you've looked at the Rai study --
 3   prevalence for the product.                                 3    A. Yes.
 4   A. Well --                                                  4    Q. -- from the abstract.
 5   Q. Can you point me to that?                                5    A. Yes.
 6   A. -- it's not in the report, but it isn't what             6    Q. How much would you estimate a study like the Rai
 7   I've said.                                                  7    study would cost?
 8         What I've said is that you take that information      8          MR. SCHMIDT: Objection. Foundation.
 9   into account. You know, they point out other factors,       9          THE WITNESS: If it involves contacting
10   such as publicity or length of time on the market, which   10    patients, chart reviews, certain amount of work before,
11   may relate to cumulative exposure and sales. These are     11    the individual patient cost, once identified, is
12   factors to consider when you look at why are you getting   12    probably in the range of three to four thousand dollars
13   reports and how many you're getting but FDA's bottom       13    per patient. The upfront work of doing the database
14   line is that you can't calculate accurate incidence or     14    work and all of that type of stuff, maybe a few, you
15   prevalence rates.                                          15    know, a few tens of thousands of dollars.
16   Q. And when you talk about FDA talking about               16          So I can't do the math in my head, how that
17   publicity and time on the market, extent of use, it's      17    works out, but those are sort of typical costs for
18   not talking about calculating an incidence rate from       18    studies like that today.
19   that data, is it?                                          19    BY MR. JONES:
20   A. No, it's not. It's talking about -- although            20    Q. So are you of the understanding that the
21   you can do that. But it's talking about evaluating the     21    patients who participated in the telephone interviews in
22   relationship of the reports, the reports to the total      22    the Rai study were paid three or four thousand dollars
23   sales.                                                     23    apiece?
24         And it's a common practice in industry to sort       24    A. No. That's the labor cost of the study
25   of say, if these were all the reports we had and this is   25    personnel from the time they identify a patient, do the


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 1   the incidence and this -- if this is all the reports and    1    interview, fill out the case report forms, get the data
 2   this is the sales, what would the incidence be, you'll      2    in the database. If you just add up the hours of their
 3   see that done. But they don't -- I think everyone will      3    time, that would be my estimate. Could be a little less
 4   acknowledge that doesn't calculate accurate incidence       4    than that. But, no, that's assuming you're not paying
 5   and prevalence.                                             5    the patients, that the patients are just voluntarily
 6   Q. Going back to your hierarchy of study design and         6    participating.
 7   evidence for drug-associated adverse effects, are you       7    Q. And I think that maybe that study said that they
 8   aware of any efforts by Bayer to -- strike that.            8    were volunteers.
 9         Are you aware of any case-control studies that        9    A. Yes. That wouldn't surprise me.
10   Bayer has conducted to study the potential association     10    Q. Do you agree that generally rigorous
11   between pseudotumor cerebri and Mirena?                    11    pharmacoepidemiologic studies, such as case-control
12   A. No, I'm not. And I think even the Rai article,          12    studies and cohort studies with appropriate follow-up,
13   you know, illustrates how difficult it is to actually      13    are usually employed to further examine the potential
14   organize those studies.                                    14    association between a product and an adverse event?
15   Q. And are you aware of any efforts by Bayer to            15    A. I don't think they're --
16   conduct a pharmacoepidemiology study to examine the        16          MR. SCHMIDT: Objection.
17   potential association between pseudotumor cerebri and      17          THE WITNESS: I don't think they're usually
18   Mirena?                                                    18    employed. They're a tool that's being used more and
19   A. No, I'm not aware of any pharmacoepidemiology           19    more as the databases become more accessible.
20   studies that have been completed and I don't recall        20          It's only been within the last half decade that
21   reviewing documents about plans so -- but there            21    the databases linked pharmacy records with medical
22   certainly -- there certainly -- I'm not aware of any       22    diagnoses. So there was a lot of pharmacoepi in the
23   that have been conducted.                                  23    past that was simply based on studying patterns of drug
24   Q. Have you been a part of designing                       24    use to try and guess what was going on medically.
25   pharmacoepidemiology studies in your career?               25          MR. JONES: I --


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 1         THE WITNESS: So that the tools have gotten           1    Q. Is it your testimony and belief that every
 2   better and better and better. So I wouldn't say usual,     2    warning and adverse reaction listed in the current
 3   but it's a tool that's being employed more often, more     3    Mirena label is supported by reasonable evidence of a
 4   and more often today.                                      4    causal association?
 5   BY MR. JONES:                                              5    A. I haven't --
 6   Q. Will you turn to Page 13 of your report.                6          MR. SCHMIDT: Objection. Foundation.
 7   A. Yes.                                                    7          THE WITNESS: I haven't really looked. You
 8   Q. And do you see down at the last full paragraph          8    know, I've only really -- in my work with Mirena have
 9   where it says, "According to FDA"?                         9    really only looked at perforation and IIH so I don't
10   A. Yes.                                                   10    really have any opinions about the others.
11   Q. Can you read that into the record.                     11    BY MR. JONES:
12   A. Yeah.                                                  12    Q. But you're giving an opinion in this case that
13         Rigorous pharmacoepidemiology --                    13    the labeling was adequate; correct?
14   Q. Can you start with the beginning of the                14    A. Yes; with respect to PTC.
15   sentence.                                                 15    Q. When is the last time you reviewed the label?
16   A. Okay. According to FDA, rigorous                       16    A. I think I've looked at the label within the last
17   pharmacoepidemiologic studies, such as case-controlled    17    week.
18   studies and cohort studies with appropriate follow-up,    18    Q. And based upon your -- does FDA allow anything
19   are usually employed to further examine potential         19    in a product label in the warnings or adverse reactions
20   association between a product and an adverse event.       20    section that is not supported by reasonable evidence of
21   Q. Okay. So you did say "usually employed" in your        21    a causal association?
22   report; right?                                            22    A. Generally speaking, no. That is the standard
23   A. Well, the FDA said that. And they're actually          23    for a warning and precaution.
24   not referring to the kind of insurance database studies   24    Q. And you said the some-basis standard related to
25   that I was jumping to the conclusion that we were         25    the adverse reactions portions of the label; right?


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 1   talking about. They're talking about the typical -- the    1    A. Yes.
 2   traditional types of case control and cohort studies       2    Q. And then I asked you about what the standard is
 3   where they actually enroll patients in those studies       3    for the post-marketing experience section of the label
 4   rather than just study their records.                      4    and you suggested that the standard is the same; is that
 5   Q. If you don't understand a question, feel free to        5    correct?
 6   ask me to clarify it.                                      6    A. Yes. The adverse reactions section has two
 7   A. Yes.                                                    7    sections, one of them is adverse reactions from clinical
 8   Q. Okay?                                                   8    trials. And when they're controlled clinical trials,
 9   A. I apologize if I misunderstood.                         9    the basis to believe that there's a possible causal
10   Q. Isn't it true that FDA does not require that a         10    association is the fact that they're -- that the rates
11   causal relationship between a product and an event be     11    are different in one group than the other, although
12   proven before allowing it to be added to the product      12    sometimes they'll actually also include information
13   labeling?                                                 13    showing comparisons of things where there's no
14   A. Yes, that's correct. The standard is reasonable        14    difference.
15   evidence of a causal association.                         15          But, generally, where there is a difference,
16   Q. That's the standard for what?                          16    it's because there's more of the adverse event in the
17   A. That's the standard for a warning or precaution.       17    drug than in, for example, the placebo arm.
18   The standard for an adverse reaction is some basis to     18          The post-marketing experience section often
19   believe there's a causal association.                     19    begins with, has been reported, and they list the things
20   Q. Some basis to believe.                                 20    that have been reported where there's some basis to
21   A. Yes. That's been the standard since 2006.              21    believe there's a causal association.
22   Q. And what's the standard for adding an event to a       22    Q. Has --
23   product label in the post-marketing experience section?   23    A. So the standard is the same but the source of
24   A. Well, that is the standard: Some basis to              24    the evidence is a little different. One comes from a
25   believe that there's a causal association.                25    clinical trial and the other comes from mostly


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 1   spontaneous reports and some, the literature.               1    definition to use. But I don't -- sitting here today, I
 2   Q. Has pseudotumor cerebri been reported in                 2    don't know what that is.
 3   relation to Mirena?                                         3    Q. Do you agree that not all patients who have PTC
 4   A. Yes, it has.                                             4    experience a resolution of symptoms with weight loss?
 5   Q. Is there some basis to believe that there's a            5    A. I think that would probably be correct, yes.
 6   causal association?                                         6    Q. FDA does not receive reports for every adverse
 7   A. In my opinion, no.                                       7    event or medication error that occur with a product;
 8   Q. And you don't think that the Rai abstract                8    correct?
 9   provides some basis of evidence of a causal association?    9    A. That's correct.
10   A. No, not as written, it does not.                        10    Q. And many factors can influence whether or not an
11   Q. What's it going to take to satisfy you that             11    event will be reported, such as the time the product has
12   there is some basis of -- for believing there's a causal   12    been marketed and the publicity about an event; correct?
13   association between Mirena and PTC?                        13    A. Yes, that's correct.
14         MR. SCHMIDT: Objection. Foundation.                  14    Q. And are you aware of any publicity about the
15         THE WITNESS: If there was a study which could        15    connection between the potential association between
16   demonstrate that the rate was higher than the background   16    Mirena and pseudotumor cerebri?
17   rate after controlling for weight and recent weight        17    A. I personally have not come across any publicity
18   gain, then I think if there was an increased risk of --    18    about this. May be out there but I have not noticed
19   that was unlikely to be due to chance, that would be       19    any.
20   some basis to believe that there was reasonable evidence   20    Q. So you can't testify or you're not giving an
21   of a causal association.                                   21    opinion that publicity about the product or pseudotumor
22   BY MR. JONES:                                              22    cerebri contributed to an increase in reporting of
23   Q. What do you define as recent weight gain?               23    events involving Mirena and pseudotumor cerebri?
24   A. Well, some of the case-controlled studies that          24    A. No, for this specific case, I don't know of any
25   have looked at the role of obesity have shown that as a    25    publicity associated with the potential risk.


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 1   risk factor for recurrence, as little as 7 percent total    1    Q. You agree that reporting of adverse events by
 2   body -- total body weight is correlated with a -- is        2    physicians and patients is both voluntary and
 3   correlated with recurrence.                                 3    spontaneous; correct?
 4         And the authors also commented that weight loss       4    A. Yes.
 5   of 7 percent also is about the average weight loss for      5    Q. What's a disproportionality analysis?
 6   patients where loss of weight was associated with           6    A. It is a -- that's a term that's usually used to
 7   resolution of the syndrome. So that's -- that would be      7    describe an increased proportion of reports of a side
 8   one, you know, criteria to start. If you had enough         8    effect for one drug compared to other drugs reporting
 9   information to document that kind of level of change,       9    that same side effect.
10   then that would fit with the current literature.           10          So if one drug, say, 2 percent of its side
11   Q. Okay. You answered the weight gain part of it.          11    effects were PTC and another drug was 1 -- and all other
12         What do you define as recent?                        12    drugs was 1 percent of the reports with PTC, that would
13   A. I don't know if I have a working definition. It         13    give you a reporting ratio of 2, you know, 2 percent
14   would be recent in relationship to the development of      14    compared to 1 percent, and that -- one of the
15   the PTC.                                                   15    descriptions of that is a disproportionality analysis.
16   Q. Can you point me to any scientific literature           16    Q. And I understand from your report that you don't
17   anywhere in the world that defines what recent is in       17    believe that a disproportionality analysis can establish
18   relation to recent weight gain and its risk factor --      18    a causal association between an event and a drug;
19   A. I don't --                                              19    correct?
20   Q. -- for the development of PTC?                          20    A. Yes, that's correct.
21   A. I don't recall how it was defined in the studies        21    Q. Okay. And wouldn't the converse be true as
22   where you used that term.                                  22    well? A disproportionality analysis can't rule out a
23         I would go back and look to what were the            23    causal relationship either, can it?
24   definitions the authors used where they found it was a     24    A. I would agree with that. Yes, I would agree
25   risk factor and that would probably be a reasonable        25    with it.


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 1         The analyses are used primarily to detect             1    control whose weight was between, you know, 33 and 37,
 2   signals, and so it could be used to say there's no          2    you would be able to control for weight as a confounder
 3   signal, but that's only indirect evidence about whether     3    even though you didn't estimate the risk of weight by
 4   there's a potential relationship or not.                    4    using that design.
 5   Q. Other than checking the work of plaintiffs'              5          So control usually means that you've got the
 6   experts in this case, did you conduct your own              6    variable in the patients that you're studying.
 7   independent disproportionality analysis?                    7    Sensitivity analysis means you've done a bunch of
 8   A. For this case, for this -- and for this                  8    hypothetical exercises to see what could have happened.
 9   condition, I -- what motivated me to do it was reading      9    Q. But you're -- maybe control was the wrong word.
10   the reports by the plaintiffs' experts, and that's when    10    You can account for confounding bias; correct?
11   I went to the database and repeated their analyses.        11    A. Yeah, I'd say the controls account for it and
12   Q. Okay. But you just repeated their analysis, you         12    the modeling assesses it, assesses the potential, the
13   didn't try to conduct your own analysis; correct?          13    hypothetical role.
14   A. Well, I ran variations on their analyses, not           14          They're slightly different. I may be being too
15   all of which I think they reported.                        15    picky about the words. I think it's appropriate to
16         So, for example, I also looked to see what           16    after you've done an analysis where you were unable to
17   happened when you used the -- when you restricted the      17    measure confounders to try and model what the potential
18   cases to women of childbearing potential, for example.     18    effects could be.
19         So I did something -- I did analyses that they       19    Q. Have you ever used a sensitivity analysis in any
20   didn't do but I looked to see where their numbers came     20    of the studies you've been involved in?
21   from and then I did variations on their analyses.          21    A. Yes.
22   Q. Did you put those in your report ?                      22    Q. So it's an accepted scientific method; correct?
23   A. Not all of them, no, I did not.                         23          MR. SCHMIDT: Objection. Vague.
24   Q. What database did you use?                              24          THE WITNESS: Well, there are various methods
25   A. I used OpenVigil, both 2.0, which Dr. Ross              25    and they have their strengths and weaknesses. They're


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 1   initially used, and 2.1, which Dr. Etminan used.            1    the methods that are used to actually assess how robust
 2   Q. When you're talking about case-controlled                2    your result is, could your result be due to something
 3   studies, there is a way to control for confounders,         3    that you haven't measured or haven't accounted for.
 4   isn't there?                                                4    BY MR. JONES:
 5         MR. SCHMIDT: Objection. Vague.                        5    Q.    Do you know Sebastian Schneeweiss,
 6         THE WITNESS: There are methods to control for         6    S-C-H-N-E-E-W-E-I-S-S, at the Division of
 7   confounding, yes.                                           7    Pharmacoepidemiology and Pharmacoeconomics at the
 8         MR. JONES: Okay.                                      8    Brigham & Women's Hospital and Harvard Medical School?
 9   BY MR. JONES:                                               9    A.    I know of Dr. Schneeweiss. I think it's
10   Q. And one would be a --                                   10    Schneeweiss.
11         MR. SCHMIDT: Bless you.                              11    Q.    I'll take your word for it.
12   BY MR. JONES:                                              12    A.    But I had trouble with the gender of Dr. Rai so
13   Q. -- sensitivity analysis?                                13    I'm not sure how good I am on people today.
14   A. No. I think that's more an analysis of the              14         But I know of him, yes.
15   hypothetical effects of confounders.                       15    Q.    Okay. And is Dr. Schneeweiss respected in the
16         Usually if you say you've controlled for             16    field of pharmacoepidemiology?
17   confounders, you've measured a confounding variable and    17    A.    Yes, I believe he is.
18   you've adjusted for it in some way. You've either done     18    Q.    Okay. And are you aware of his "Sensitivity
19   at multivariate analysis that includes both the drug and   19    Analysis and External Adjustment For Unmeasured
20   a confounder so you'd, for example, simultaneously         20    Confounders in Epidemiologic Database Studies of
21   estimate the risk of Mirena and weight and weight gain     21    Therapeutics"?
22   or you control for confounding in the selection of your    22    A.    Yes. As I recall, Dr. Etminan may have
23   controls.                                                  23    identified that paper as the source of the methods that
24         So if you selected a case and you found that         24    he used, and when he did that, I went and looked at that
25   that case had a BMI of, say, 35, and then you picked a     25    paper. I didn't -- I'm looking to see if I referenced


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 1   that. And I may not have referenced it, but it should       1    how many contraceptives have compared themselves
 2   be in my total list, because I have that paper, I've        2    directly to, you know, to Mirena -- then it becomes used
 3   seen that paper.                                            3    as a control in other studies that the company doesn't
 4   Q. And if I understand it, you didn't have any              4    have access to.
 5   problems with Dr. Schneeweiss's sensitivity analysis,       5          So, for example, Mirena did a large
 6   your problem was with the data that Dr. Etminan used to     6    post-marketing study with 60,000 women comparing Mirena
 7   plug into the Schneeweiss spreadsheet; correct?             7    users to copper IUD users so they had a lot of data
 8        MR. SCHMIDT: Object to form.                           8    about copper IUDs that were in study reports and things
 9        THE WITNESS: Well, there are two issues.               9    but they weren't in the AERS database and they weren't
10        I think Dr. Schneeweiss's method is a reasonable      10    data that the copper IUD manufacturers had direct access
11   method to assess the effect of a potential confounder.     11    to.
12        There were sort of two issues with Dr. Etminan's      12    Q.     Do you know whether or not Bayer has access to
13   numbers. One is the numbers that he used. It depends       13    the Norplant study data?
14   on which tables we're talking about from his report or     14    A.     I don't know. I don't know to what extent they
15   from his paper but, for example, when he was looking at    15    have that data.
16   disproportionality, he was looking at reports rather       16          I know that they have a follow-on product to
17   than cases, and it's more important to look at cases       17    Norplant and that there's been -- but I'm not sure what
18   because reports -- there's almost two reports for every    18    the relationship is with the companies in terms of
19   case, so you just have a number of duplicates.             19    exchange of data and exchange of original records with
20         So that's one issue with the cases. And you          20    respect to Norplant. It was originally brought to
21   should also, you know, be comparing to women and so        21    market by Wyeth?
22   forth. So that's an issue with the tables.                 22    Q.     Is that what you think?
23         But the other issue that I would have with Dr.       23    A.     Well, let me look. Because I actually wrote
24   Etminan is the range of values that he used to put in      24    down -- I wrote up a bit about Norplant so hate to --
25   his modeling and in the way that he described the          25          MR. SCHMIDT: Objection to the memory test.


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 1   results of his analysis.                                    1          THE WITNESS: Hate to provide --
 2         So I had a number of issues with how Dr. Etminan      2          MR. JONES: I didn't ask him a question.
 3   applied Dr. Schneeweiss's methods but I don't have a        3          THE WITNESS: You didn't. You know, you didn't.
 4   problem with Dr. Schneeweiss's methods themselves.          4          MR. SCHMIDT: You said, is that what you think?
 5   BY MR. JONES:                                               5          THE WITNESS: Well --
 6   Q. In going to Page 15 of your report, the last             6          MR. SCHMIDT: I never object in the ether.
 7   sentence of the paragraph under Item Number 7 reads,        7          MR. JONES: I didn't ask him a memory test.
 8   while a manufacturer only has access to its own data,       8          MR. SCHMIDT: To be fair, this is about my
 9   FDA has access to data from all manufacturers relating      9    fourth objection today.
10   to the drug, which can often provide important adverse     10          THE WITNESS: Well, as I recall, Norplant was
11   event information.                                         11    not the original, but at the time that some of the
12         Did I read that correctly?                           12    issues around Norplant came up Wyeth-Ayerst was the NDA
13   A. Yes, you did.                                           13    holder.
14   Q. Okay. And isn't it true that Bayer has equal            14          MR. JONES: Okay.
15   access to FDA data?                                        15    BY MR. JONES:
16   A. No. They have access to the AERS database               16    Q.     Have you ever heard of a company called Leiras
17   that -- but in the example I gave where, you know, a       17    Oy?
18   company might use another company's product in clinical    18    A.     Yes.
19   trials, clinical trials adverse events don't go into the   19    Q.     And you would agree that Leiras Oy is now Bayer
20   AERS database.                                             20    Oy; correct?
21   Q. So when you're talking about data, you're               21    A.     My understanding is that, yes, that Bayer --
22   talking about clinical study data.                         22    that that's now part of the Bayer family of companies.
23   A. Well, I mentioned -- that's one of the sources          23    Q.     Okay. And did you know that Leiras Oy
24   here, but yes. I mean, the -- when a drug becomes a        24    manufactured Norplant on behalf of Wyeth?
25   standard -- and I'm not sure there -- how many of them,    25    A.     I think I did know that, yes.


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 1   Q. And did you know that Leiras Oy marketed                 1    appears in the product labeling, many factors other than
 2   Norplant outside of the United States back in the '90s?     2    a true causal relationship between a drug and an event
 3   A. Yes, I did know that.                                    3    may influence the labeling, such as some class effects,
 4   Q. Have you been provided in this case any adverse          4    litigation and publicity.
 5   event data related to Norplant from Bayer's lawyers?        5          Did I read that correctly?
 6   A. I do have some information about the adverse             6    A. Yes.
 7   events and the literature, the medical literature, about    7    Q. And what source are you citing for that?
 8   Norplant's safety as it relates to these cases and those    8    A. Apologize that that isn't clear, but that is
 9   are cited in the report.                                    9    a -- I believe that is a -- refers to the Levine
10   Q. Do you know what an Adverse Event Report is?            10    article, which is Reference 36 in the end notes, and
11   A. Yes.                                                    11    that's just a -- it's a quote from the Levine article.
12   Q. Have you been provided with any Adverse Event           12    Q. And do you believe FDA allows events to be
13   Reports related to Norplant and pseudotumor cerebri by     13    listed in product labeling when there is something other
14   Bayer's lawyers?                                           14    than a true causal relationship between a drug and an
15   A. Not that I recall.                                      15    event, such as litigation?
16   Q. Did you ask Bayer's lawyers for any of that             16    A. Well, that's an interesting question.
17   information?                                               17          The event is usually listed first and the
18   A. No, I did not. I reviewed the circumstances             18    litigation comes later so -- so I can't think of a
19   under which Norplant came to have a warning about          19    situation where litigation reports resulted in what was
20   pseudotumor cerebri.                                       20    the first notice of an adverse event and was the result
21   Q. Did you know that Wyeth sent out a                      21    of a labeling change.
22   dear-health-care-professional letter in the 1990s          22    Q. So you believe that an event listed in a label
23   advising health-care professionals about the potential     23    usually leads to litigation?
24   or advising physicians about the change to the label       24    A. No.
25   adding pseudotumor cerebri?                                25          MR. SCHMIDT: Object to characterization.


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 1   A. Yes, I'm aware of that.                                  1          MR. JONES: I was trying to figure out --
 2   Q. Have you ever seen that                                  2          THE WITNESS: No, I didn't say that. But where
 3   dear-health-care-professional letter?                       3    there are -- you know, FDA, for example, has written
 4   A. I think I have, although I don't recall. But I           4    about the situation with Accutane where they point out
 5   think I have. I'm familiar with the labeling change.        5    in one year 97 percent of the reports were from
 6   Q. Have you seen the dear-health-care provider              6    litigation reports and they were commenting on how that
 7   letter within the scope of your work on this case?          7    made -- how that distorted disproportionality analyses
 8   A. Well, that's when I would have seen it. I don't          8    when there was a large number of litigation reports.
 9   recall sitting here if I've seen the letter. I'm            9    That was an FDA comment.
10   familiar with the labeling change.                         10          So they're -- but what I was saying was the
11   Q. Okay. But you don't know whether you've seen            11    opposite, which is I can't think of a situation where
12   the letter or not?                                         12    litigation itself was the first reasonable evidence of a
13   A. I think I have, but I don't know for certain.           13    causal association that led to a labeling change.
14   Q. Did you ever ask Bayer's lawyers to provide you         14    Usually something leads to the labeling change. Some of
15   with that dear-health-care-provider letter?                15    those -- some things in labeling do lead to lawsuits but
16   A. No, I didn't ask to see the letter. But I don't         16    certainly not all.
17   know if they sent it to me and that's -- if that's in      17    BY MR. JONES:
18   the material that I've reviewed.                           18    Q. When you talk about litigation reporting, you're
19   Q. You don't know whether it's on your reviewed or         19    talking about the company is reporting to FDA that
20   relied upon list?                                          20    they're involved in litigation; isn't that correct?
21   A. I could look, but I don't know specifically if          21    A. That's right. Well, what they're reporting
22   it is or isn't.                                            22    is -- actually, what they do is they report the facts of
23   Q. In Footnote 10 of your report on Page 15 you            23    the case that are described in the legal document, which
24   say, you quote from a source and say, the authors go on    24    may be a Complaint, for example. As -- and then the
25   to comment, quote, even in the cases when the event        25    source down at the bottom, the way FDA identifies those


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 1   as a report from a lawyer is that many companies then       1    Q. And you agree, don't you, that contraception
 2   identify that the reporter was a lawyer.                    2    choice is also a decision to be made by the individual
 3   Q. Well, I'll tell you something that has bothered          3    patient; correct?
 4   me throughout this case is that it doesn't indicate that    4    A. Yes, I agree with that.
 5   it is the defense lawyer, the company's lawyer, who is      5    Q. You agree that labeling is the FDA's principal
 6   reporting that.                                             6    tool for educating health-care practitioners about the
 7          Do you realize that?                                 7    risks and benefits of approved products to help ensure
 8          MR. SCHMIDT: Object to the preamble.                 8    safe and effective use; correct?
 9          THE WITNESS: Actually, I don't think that's the      9    A. Yes; both directly as prescribing information
10   case. I think that the reporter in that case is            10    and then all of the promotional materials that are based
11   actually the attorney who's filed the Complaint. But, I    11    on the labeling that are derived from the labeling. The
12   mean, that's my understanding of who the reporter is.      12    label plays an important role there.
13   The reporter is the person who sent in the information     13    Q. And FDA-approved labels are supposed to be
14   to Wyeth, not the people at Wyeth that evaluated the       14    balanced and accurate; correct?
15   information, which in a legal case would involve an        15    A. That's the standard for promotional materials.
16   attorney.                                                  16    But, yes, labels, generally speaking, are going to be
17   BY MR. JONES:                                              17    balanced and accurate.
18   Q. Well, I've made no reports to FDA but I see that        18    Q. And warnings describe serious adverse reactions
19   it's listed as a lawyer report in Bayer's documents        19    and potential safety hazards, limitations in use imposed
20   so --                                                      20    by them, and steps that should be taken if adverse
21   A. Well, I think --                                        21    reactions occur; correct?
22          MR. SCHMIDT: Object to lawyer testimony.            22    A. Yes, that's correct.
23          THE WITNESS: -- the way that it would occur is      23          MR. JONES: How long have we been going on this
24   that if you made a compliant about a case, one, if they    24    tape?
25   can identify it as a case they already know about, if it   25          VIDEO OPERATOR: One hour, eight minutes.


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 1   has new information, then they could file a new report      1         MR. JONES: Why don't we take a little break.
 2   to the same ISR, the same study report, and say this is     2         VIDEO OPERATOR: We are going off the record.
 3   a supplement. If it's a patient that they didn't            3         The time is 3:49 p.m.
 4   previously know about, then they would -- the company's     4         (Recess, 3:49-4:01 p.m.)
 5   practice would be to fill out the MedWatch form based on    5         VIDEO OPERATOR: We are back on the record.
 6   the information in the Complaint.                           6         The time is 4:01 p.m.
 7   BY MR. JONES:                                               7    BY MR. JONES:
 8   Q. You agree -- I'm sorry.                                  8    Q. Dr. Feigal, welcome back.
 9   A. Yeah. And the reporter then would be the                 9         You note in your report that the Mirena
10   attorney who submitted the complaint because that's the    10    prescribing information label also contains information
11   source of the information about the patient.               11    for patients; is that correct?
12   Q. You agree that labeling is the key source to            12    A. Yes, there's a section that's called that. That
13   assure safe use of a drug product; correct?                13    section is actually written for doctors to give them
14   A. I would agree with that. It's one of the most           14    guidance on what to tell patients about. So it's not
15   important sources about the safety information about a     15    written to be given to patients but it's written for
16   product, yes.                                              16    doctors to give recommendations on what to include in
17   Q. And a label is intended to provide physicians           17    providing information about the product.
18   with a clear and concise summary of the information        18    Q. And nothing in there warns of the potential of
19   necessary for the safe and effective use of the drug;      19    developing pseudotumor cerebri with Mirena usage;
20   correct?                                                   20    correct?
21   A. Yes.                                                    21    A. That's correct.
22   Q. An FDA-approved label is intended to assist a           22    Q. Okay. And do you understand that there was also
23   prescriber in making decisions for individual patients;    23    a Patient Information Booklet that was also given to the
24   correct?                                                   24    patients at the time of insertion?
25   A. Yes, that's correct.                                    25    A. Yes.


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 1   Q. Okay. And that also contains no reference to             1    Q. Did someone insert these footnotes for you?
 2   pseudotumor cerebri, does it?                               2    A. No. This is all my -- this is all my own work.
 3   A. That's correct. It does not.                             3    Q. You wrote this report?
 4   Q. Do you agree that before 2007, FDA had no                4    A. I did.
 5   authority to order label changes?                           5    Q. Do you agree that the importance of safe and
 6   A. No, not exactly. They -- after 2007, they had            6    reliable contraception is beyond question?
 7   very specific authority to order label changes with         7    A. Yes, I would agree.
 8   certain time frames, but before that time, FDA had a        8    Q. Do you agree that several major categories of
 9   number of ways that they would accomplish getting           9    contraceptives are widely available?
10   labeling changes that FDA felt were appropriate.           10    A. Yes, I would agree with that.
11   Q. Well, can you cite me to the specific authority         11    Q. Do you agree that several reversible drugs and
12   that allowed FDA to order label changes before 2007?       12    device contraceptive methods are available that are not
13   A. Yes. The authority is based on the misbranding,         13    hormonal?
14   that if FDA determines that a label is inadequate,         14    A. Yes. They vary in their effectiveness, but yes,
15   doesn't meet the labeling standards, then the product      15    there are several -- there are many options that women
16   must be revised to address the issue that FDA is           16    can choose from.
17   concerned about in order for it not to be misbranded.      17    Q. Are you aware of any Adverse Event Reports
18         So FDA generally didn't have to resort to            18    involving the copper IUD ParaGard and pseudotumor
19   actually actions against products. Part of what FDA        19    cerebri?
20   does with companies is communicate with them frequently    20    A. I do not -- I don't -- I'm not aware of any.
21   about changes that it asks the companies to evaluate and   21    No, I'm not.
22   incorporate in their labeling or make a proposal to them   22    Q. You mention in your report an ACOG bulletin that
23   as to what to do instead or why it may not be needed.      23    says that levonorgestrel IUDs may represent a
24   Q. Before 2007, if a product was misbranded, FDA           24    particularly sound choice. Does that sound correct?
25   could force the removal of the product from the market;    25    For obese women. Sorry.


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 1   correct?                                                    1    A. Yes, they -- yes, I did cite an ACOG document
 2   A. They could. They could do -- most common                 2    where the product is recommended for obese women.
 3   regulatory action would be a product seizure. But yes,      3    Q. Did you know that one of the ACOG bulletins that
 4   they could.                                                 4    you cited to was prepared by a physician who is a Bayer
 5   Q. But there was no specific legal authority before         5    consultant for Mirena?
 6   2007 for FDA to order a label change; correct?              6         MR. SCHMIDT: Object to the characterization.
 7   A. Not in the same way that it was written after            7         THE WITNESS: No, I don't know -- I didn't look
 8   2007. But before that time, if you go through the           8    to see in the document the disclosures from the authors
 9   records, you'll find any number of times where FDA sends    9    of the bulletin.
10   companies labeling that it wants, sometimes class          10    BY MR. JONES:
11   labeling -- that almost always comes from FDA -- but       11    Q. Do you think that there should be disclosures in
12   also to address safety problems that have come to FDA's    12    the ACOG bulletin if it was prepared by a Bayer
13   attention that the company may not even be aware of yet.   13    consultant for Mirena?
14   Q. Can you look at Page 18 of your report.                 14    A. Possibly. It depends on the circumstances of
15   A. Yes.                                                    15    the relationship, the consulting relationship. Most
16   Q. I want to point out that there's a difference in        16    journals have their own policies which they ask their
17   font between the body of the report and the footnotes.     17    authors to follow so...
18         Do you see that?                                     18    Q. You mention in your report that LNG,
19   A. Yes.                                                    19    levonorgestrel, is an active ingredient in 54 NDAs and
20   Q. Okay. And why is that?                                  20    ANDAs; is that correct?
21   A. Probably just the vagaries of Microsoft Word            21    A. Yes.
22   that I don't -- when things -- particularly if I've cut    22    Q. And you say that the FDA labeling database lists
23   and pasted from one document to another, sometimes the     23    75 separate product labels where LNG is an active
24   formatting from the other document gets carried over. I    24    ingredient; is that correct?
25   try to clean that up but --                                25    A. Yes.


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 1   Q. Did you do any searches of either the FDA                1    reporting rate is actually having an adverse reaction in
 2   database or the WHO database to determine how many          2    the labeling, as it is for Norplant.
 3   Adverse Event Reports had been made alleging the            3    BY MR. JONES:
 4   development of pseudotumor cerebri in relation to use of    4    Q. But there's no similar adverse reaction for
 5   these 75 separate product labels?                           5    pseudotumor cerebri in the Mirena label; correct?
 6   A. The databases aren't organized that way. The             6    A. That's correct. And then you have to look at
 7   databases are organized by -- the databases are             7    the relative use of the product. So a product could
 8   organized by the drug and by the drug product name.         8    appear to have a large number of reports just by virtue
 9         So you can separate out Mirena in your searches       9    of the fact that it has the majority of the uses of that
10   by searching on the drug product name, Mirena. If you      10    product.
11   search on levonorgestrel, you could identify the           11    Q. Can you tell me from your report how many
12   levonorgestrel combination birth-control pills by also     12    adverse reports there have been made in the FDA FAERS
13   specifying the estrogen component.                         13    system for Mirena during the life of the product?
14         I did do searches initially of levonorgestrel        14    A. I don't know if I reported that. That is one of
15   alone for all products but because I was largely looking   15    the things in OpenVigil. It doesn't show the whole life
16   at the searches and with respect to Dr. Ross's and Dr.     16    of the product because I think OpenVigil goes back to
17   Etminan's work, I mostly focused on the Mirena reports.    17    2004, not all the way back to -- not all the way back to
18   Q. How many of the 75 separate products were               18    2000.
19   levonorgestrel combined with something else?               19          MR. JONES: Christina, will you help us find
20   A. Probably a very large number of them.                   20    this?
21   Q. Most of them; right?                                    21          MS. NATALE: Uh-huh.
22   A. Probably. You can tell that by the number of            22          MR. JONES: It's 76.
23   generic birth-control pills that have been approved as     23          THE WITNESS: I mentioned in my report in
24   ANDAs.                                                     24    OpenVigil there are 73,330 reports --
25   Q. And when you go into the WHO database and               25          MR. JONES: Okay.


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 1   search, as you noted, you can put in levonorgestrel;        1           THE WITNESS: -- associated with Mirena.
 2   right?                                                      2    BY MR. JONES:
 3   A. Yes.                                                     3    Q. So you used OpenVigil for that calculation?
 4   Q. And the adverse event that you are interested            4    A. Yes.
 5   in; correct?                                                5    Q. And how many reports were there for ParaGard?
 6   A. Yes.                                                     6    A. There are very few reports for ParaGard in that
 7   Q. And the report, the output, will actually list           7    system.
 8   the products that are associated with those reports;        8           I think that the challenge, and I don't know if
 9   correct?                                                    9    it's in my report, but that is the marketing period for
10   A. In the WHO, yes.                                        10    ParaGard.
11   Q. Okay. And did you try to determine how many             11    Q. Okay. At Page 44 of your report you say there
12   pseudotumor cerebri reports were listed in connection      12    were 73,330 Adverse Event Reports associated with
13   with other levonorgestrel-based products?                  13    Mirena; correct?
14   A. No, I did not.                                          14    A. Yes.
15   Q. Would it surprise you to learn that if you were         15    Q. And then at Page 45 you say there were 2,266
16   to do a search like that, that Norplant and Mirena would   16    reports with ParaGard; correct?
17   have far, far, far more reports than any other             17    A. Yes. But pointing out that --
18   levonorgestrel-based product?                              18    Q. ParaGard was approved in 1984; correct?
19         MR. SCHMIDT: Objection. Foundation.                  19    A. Yes, that's right.
20         THE WITNESS: I don't know if it would surprise       20           I mean, part of the point that I made was that
21   me or not.                                                 21    this product had already been on the market for almost
22         I think -- I'm unaware of any protective effect      22    20 years before the OpenVigil database is collecting
23   from the combination products, so it raises the question   23    things, and the older products are known to have far,
24   of why do some products get reports and others not? And    24    far fewer reports than the products when they're first
25   one of the things that we know actually increases the      25    on the market.


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 1   Q. How far back does the OpenVigil data go?                 1    would still come into the AERS database as reports of
 2   A. I believe to 2004.                                       2    Mirena adverse experiences, so I would assume that the
 3   Q. Is that just that you limited the search to 2004         3    European reports are actually in the FAERS database.
 4   or is that the oldest data that's available in              4    Q. But you're just assuming that. You don't know.
 5   OpenVigil?                                                  5    A. Well, it's -- they're --
 6   A. That's the oldest data that's available in               6          MR. SCHMIDT: Object to form.
 7   OpenVigil.                                                  7          THE WITNESS: They actually can separate it out
 8   Q. Are you sure about that?                                 8    by country because Dr. Ross's analysis did the U.S. I
 9   A. No. I'd have to look at their website, but               9    tried to see what he was doing and looked at the U.S.,
10   that's what -- as I recall, that's what the numbers are    10    Dr. Etminan looked at the worldwide reports, as I
11   for OpenVigil.                                             11    recall, and I looked at the total in the world. But I
12   Q. But over the same time period that you searched         12    didn't try and separate out European reports.
13   there were approximately 35 times the number of adverse    13    BY MR. JONES:
14   events reported with Mirena than with ParaGard; correct?   14    Q. So my question is direct. Have you ever sat
15   A. Yes. That's not surprising for a new product            15    down at a database and searched to determine whether
16   compared to an old product.                                16    there were any pseudotumor cerebri reports associated
17   Q. Do you -- Mirena has been on the market in the          17    with the usage of Levonova?
18   U.S. for 16 years now; is that correct?                    18          MR. SCHMIDT: Object to the preamble. Asked and
19   A. Yes, that's correct.                                    19    answered.
20   Q. Okay. How many Adverse Event Reports have there         20          THE WITNESS: Not directly. I have searched for
21   been associated with Mirena in the last year?              21    the levonorgestrel irrespective of product that would
22   A. I didn't look that up.                                  22    have included Levonova but I did not look for Levonova
23   Q. Do you know whether the number of reports,              23    per se.
24   adverse reports, associated with Mirena have gone up or    24    BY MR. JONES:
25   gone down in the last year?                                25    Q. Do you know how many different formulations of


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 1   A. I didn't do that analysis.                               1    Mirena there have been since it was first approved as
 2   Q. Do you know -- you write in your report that             2    Levonova in Finland in 1990?
 3   Mirena was first approved for marketing in Finland in       3         MR. SCHMIDT: Objection. Vague.
 4   1990; is that correct?                                      4         THE WITNESS: No, I have not tracked the
 5   A. Yes.                                                     5    different formulation changes.
 6   Q. And actually that's not exactly true, is it?             6    BY MR. JONES:
 7   A. Well, I don't know what you mean.                        7    Q. Did you know that the initial studies of the
 8   Q. Well, isn't it true that when it was approved,           8    product that were submitted to FDA were based upon
 9   when the product was approved for marketing in Finland      9    formulations different than the formulation that has
10   in 1990, it was under the name Levonova?                   10    been marketed in the United States?
11   A. I don't recall what the European marketing name         11         MR. SCHMIDT: Object to foundation.
12   was.                                                       12         THE WITNESS: I didn't -- I don't recall if I
13   Q. Have you ever heard of Levonova before?                 13    knew that. I focused on the product that was approved
14   A. I may have. I didn't really focus on the                14    in the U.S. and has been used in the U.S.
15   marketing of the product before it was approved in the     15    BY MR. JONES:
16   U.S.                                                       16    Q. The initial IND was submitted to FDA by the
17   Q. At any point during the course of your work in          17    Population Council on August 17th, 1983; is that
18   this case have you ever searched to see if there were      18    correct?
19   any pseudotumor cerebri reports in association with        19    A. Yes, that is correct.
20   Levonova?                                                  20    Q. Okay. And then on November 12th, 1997, the IND
21   A. In the 1990s or you mean still currently?               21    was transferred to Berlex Labs, who filed the NDA on
22   Q. At any time.                                            22    January 21st, 2000; is that correct?
23   A. I don't know if it's still marketed by that             23    A. Yes.
24   name. But I have -- you know, with -- if it's marketed     24    Q. Do you know why there was a 17-year lag between
25   by Bayer under a different name than Mirena, the reports   25    the IND being submitted and the NDA being filed?


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 1         MR. SCHMIDT: Object to characterization.              1    included information related to Norplant.
 2         THE WITNESS: I don't know exactly, but during         2    Q. Did you know that in the hospitalization study
 3   this time period, the use of IUDs in the U.S. dropped       3    section listing benign intracranial hypertension as a
 4   markedly and many, many IUDs were withdrawn from the        4    target diagnosis that Bayer said or that the company at
 5   market after the experience with the Dalkon Shield. So      5    that time said that benign intracranial hypertension was
 6   there was a time period here where there was much less      6    known to be related to hormonal contraceptives?
 7   interest in the IUD as a contraceptive method than there    7          MR. SCHMIDT: Objection. Foundation.
 8   is today because of that experience.                        8          THE WITNESS: I haven't seen that document and
 9   BY MR. JONES:                                               9    I'm not aware that that study actually identified any
10   Q. Based upon your review of the NDA materials, you        10    cases or any study identified cases of benign
11   realize that Leiras Oy was also involved in seeking        11    intracranial hypertension at that time.
12   approval for Mirena in the United States; correct?         12    BY MR. JONES:
13   A. I don't recall the exact business relationship          13    Q. You've given opinions in this case that benign
14   between different partners. There were different           14    intracranial hypertension/pseudotumor cerebri is not
15   people -- different companies and different entities       15    related to hormonal contraceptives; correct?
16   involved with the product at different points in time.     16    A. Well, my opinion is specific to Mirena but I
17   Q. You write that FDA approved Mirena on                   17    also -- I didn't really -- I don't have access to and I
18   December 6th, 2000, after 41 supplemental submissions;     18    don't think -- I don't know if the data -- the documents
19   is that correct?                                           19    exist to revisit the entire story with Norplant. But I
20   A. Yes.                                                    20    think with what we know today about Norplant and its
21   Q. And did you read all 41 supplemental                    21    follow-on products and pseudotumor cerebri, that that
22   submissions?                                               22    association doesn't meet the current standard for
23   A. No. I read their decision based on the review           23    reasonable evidence of causal association, even for
24   of that cumulative information.                            24    Norplant.
25   Q. Did you know that in the period before Mirena           25    Q. Isn't it true that you write in your report that


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 1   was approved for use in the United States, that             1    benign intracranial hypertension/pseudotumor cerebri is
 2   intracranial -- benign intracranial hypertension was        2    not related to use of hormonal contraceptives?
 3   added to its investigator brochure?                         3    A. Well, that is my opinion. I think I've focused
 4   A. I think I did know that, yes.                            4    first on Mirena but, as I just finished up, I also
 5   Q. Did you know that as far back as the mid-'90s,           5    believe that's true about Norplant. And I don't see any
 6   that benign intracranial hypertension was included as a     6    evidence that it's related to the oral contraceptives.
 7   target diagnosis in a hospitalization study being done      7    Q. Yeah. You talked about -- you said in your
 8   by the company?                                             8    report that it's not related to oral contraceptives;
 9   A. I don't --                                               9    right?
10        MR. SCHMIDT: Object to foundation.                    10    A. Yes.
11        THE WITNESS: I don't recall this. I don't             11    Q. So don't you think that it would have been
12   recall that study.                                         12    enlightening to your opinions to know that the company
13   BY MR. JONES:                                              13    said back in the 1990s that benign intracranial
14   Q. Were you provided the hospitalization study?            14    hypertension was known to be related to hormonal
15        MR. SCHMIDT: Same objection.                          15    contraceptives?
16        THE WITNESS: Not that I recall.                       16          MR. SCHMIDT: I'll object to you asking this
17   BY MR. JONES:                                              17    line of questions without showing him the document.
18   Q. Have you ever heard of the hospitalization              18          MR. JONES: You should have given him the
19   study?                                                     19    document.
20   A. Not sitting here today, I don't remember that           20          MR. SCHMIDT: We don't need to fight about it.
21   particular study.                                          21    BY MR. JONES:
22   Q. Were you provided with the investigator's               22    Q. You can answer.
23   brochure?                                                  23          MR. SCHMIDT: I don't think it's a fair
24   A. I'm not sure. But I was aware that the                  24    question, and I'll object.
25   investigator's brochure was based on information that      25          THE WITNESS: Well, I think that there were risk


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 1   assessments made in the 1990s based on the early            1    as is the selection of the product that's going to be
 2   Norplant experience that were the state of the knowledge    2    marketed.
 3   at that time.                                               3    BY MR. JONES:
 4         What we know now, based on much more extensive        4    Q.    You write at Page 24 of your report that IIH
 5   use of these products, is that the evidence that was the    5    most often presents in young women who are overweight or
 6   basis for those opinions in 1990 hasn't been borne out.     6    obese, although it is occasionally seen in children,
 7         So I don't know what my opinion would have been       7    men, and older adults as well; is that correct?
 8   in 1990 and I'm not really offering an opinion about        8    A.    Yes.
 9   whether the company's opinions were reasonable in 1990      9    Q.    Okay. And you agree that it's seen in much
10   but, as we sit here today, I don't think there is          10    lesser rates in children, men, and older adults;
11   reasonable evidence for a causal association for           11    correct?
12   levonorgestrel and benign intracranial hypertension.       12    A.    Yes, that's correct.
13   BY MR. JONES:                                              13    Q.    Okay. And you agree that PTC/IIH is less common
14   Q. You talk about 20 investigational trials at             14    in prepubescent females; correct?
15   Page 21 of your report.                                    15    A.    Yes, I believe that's correct.
16   A. Yes.                                                    16    Q.    Okay. And doesn't that suggest to you that
17   Q. Can you tell me what formulation of the product         17    there's a hormonal component to the development of the
18   was used in those 20 investigational trials?               18    disease state?
19         MR. SCHMIDT: Objection to formulation.               19    A.    No, not necessarily. There are many
20         THE WITNESS: Not without going back and              20    differences. There are many diseases which have a
21   reviewing the summary data. But I'm quoting from the       21    predilection for men or for women that are not based on
22   summary that the studies that were the basis of the        22    hormonal differences between men and women and
23   safety database.                                           23    differences then in age groups that don't relate to the
24   BY MR. JONES:                                              24    hormonal changes in ages. So no, I don't think that's
25   Q. Did you know that the marketed formulation was          25    direct evidence that it's related to hormonal changes.


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 1   shown in Bayer's studies to actually have higher release    1    Q. You talk about signs and symptoms of IIH/PTC
 2   rates than the earlier formulations that were used in       2    include papilledema, headache, pulsatile noises, and
 3   the pre-approval studies?                                   3    visual disturbances; is that correct?
 4         MR. SCHMIDT: Object to foundation,                    4    A. Yes.
 5   characterization.                                           5    Q. And did you review all Bayer Adverse Event
 6         THE WITNESS: I don't know if that's correct or        6    Reports that included these terms?
 7   not. I have not reviewed that information.                  7    A. No, I did not.
 8   BY MR. JONES:                                               8    Q. You mentioned earlier in your experience at one
 9   Q. Did you review the NDA package in this case?             9    of your pharmaceutical companies that you were familiar
10         MR. SCHMIDT: Asked and answered.                     10    with a software system called Argus?
11         THE WITNESS: Yes, I told you that I reviewed         11    A. Yes.
12   the overall summaries that described the basis for the     12    Q. Were you given access to Bayer's Argus system to
13   safety information and the efficacy information. Yes, I    13    perform searches for this case?
14   did.                                                       14    A. No, I didn't feel that was necessary for me to
15   BY MR. JONES:                                              15    develop my opinions.
16   Q. Did you know that the information I've been             16    Q. You don't contend that obesity causes
17   questioning you about about the different formulations     17    pseudotumor cerebri, do you?
18   was in the NDA package?                                    18    A. I would describe that as a causal association.
19         MR. SCHMIDT: Same objection.                         19    It's -- it -- there could be something about obesity and
20         THE WITNESS: It wouldn't surprise me. The            20    about the changes in the body associated with obesity
21   safety information in an NDA is based on all               21    that is the underlying cause but I don't think the
22   formulations and all doses that are used during the        22    mechanism is actually well understood.
23   investigation of the product, so most NDAs will contain    23    Q. Is that something that happens in the body, is
24   safety information about a variety of different doses      24    it hormonal?
25   and exposures and all of that information is considered,   25    A. No, there's things that happen in the body that


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 1   aren't hormonal.                                            1    smoker.
 2   Q. What percentage of obese or overweight women             2    Q. And if I get lung cancer, stopping smoking is
 3   develop PTC?                                                3    not going to make the lung cancer go away, is it?
 4   A. Well, I think the rates that -- you know, the            4    A. In the case of lung cancer, stopping smoking
 5   rates in the general population are thought to be one to    5    will not make it go away. That's correct.
 6   two per hundred thousand and the rates in obese women of    6    Q. You say that at Page 24, due to increases in
 7   childbearing potential are as high as 20 per hundred        7    obesity, since those data were generated several decades
 8   thousand.                                                   8    ago and because obesity has dramatic -- because obesity
 9   Q. So a very small percentage of women of                   9    dramatically increases the risk for IIH, the incidence
10   childbearing age who are overweight or obese ultimately    10    rate is likely higher today.
11   develop PTC; correct?                                      11          Did I read that correctly?
12   A. Yes, that's correct.                                    12    A. Yes.
13   Q. But you believe there's a causal association            13    Q. Okay. And can you point me to any scientific
14   between obesity and overweight and PTC?                    14    studies anywhere that show that the incidence rate of
15   A. Yes. When we say the word "association," it             15    PTC is higher today because of increases in obesity?
16   means causation hasn't been proven, but that gives you a   16    A. No. It's an indirect conclusion. We know the
17   risk factor that increases the risk, you know, 10- to      17    obesity -- proportion of the population that's obese is
18   20-fold. That's greater than the risk of cigarettes for    18    higher than it's been in the past and we know that
19   lung cancer.                                               19    obesity, the prevalence in obesity is higher; therefore,
20   Q. Let's talk about cigarettes and lung cancer.            20    the prevalence in the population which has more obesity
21         Is there an established pattern of development       21    will have a higher prevalence.
22   of lung cancer with cigarette smokers?                     22    Q. What percentage of the U.S. population is obese
23   A. Well, I think the epidemiology is well stood, if        23    or overweight?
24   that -- understood, if that's what you mean by pattern,    24    A. Obese or overweight, overweight is usually
25   yes.                                                       25    defined with a BMI of 25 and obese at 30 and more


                                              Page 251                                                         Page 253
 1   Q. No. I'm talking about a temporal pattern.                1    serious obesity at a BMI of 35.
 2   A. Well, the temporal relationship is that smokers'         2          Actually, I don't remember the exact number. I
 3   risk increases steadily with duration of use, which is      3    know the number that is overweight or obese is more than
 4   temporal, and also amount of use.                           4    half the population.
 5   Q. Some cigarette smokers never develop lung                5    Q. And I've seen it referred to as about
 6   cancer; right?                                              6    two-thirds.
 7   A. That's correct.                                          7    A. Yes, that probably is correct.
 8   Q. Okay. I'm a cigarette smoker. Can you tell me            8    Q. Okay. And do you know what percentage of Mirena
 9   as we sit here today, based upon current scientific         9    users would be considered overweight or obese?
10   knowledge, when or if I will develop lung cancer?          10    A. No, I do not.
11   A. No. It's -- the smoker's risk of lung cancer --         11    Q. You've never seen any data on that point?
12   the average smoker's risk of lung cancer is                12    A. I don't know if it's available, but I don't
13   approximately ten times greater than the risk of a         13    recall seeing estimates of obesity in Mirena users.
14   non-smoker.                                                14    Q. Have you ever asked Bayer's lawyers for that
15   Q. But the inability to determine a time period in         15    data, the obesity and overweight percentage of its
16   which someone will develop lung cancer does not negate     16    users?
17   the fact that there is a causal association between        17    A. No. I think that the thing I was trying to
18   smoking cigarettes and lung cancer; correct?               18    determine was the obesity in the cases that are reported
19   A. Well, that's correct. For any given individual          19    with PTC, but I didn't ask for it for the Mirena users.
20   you can't predict what will happen.                        20    Q. At Page 25 you say, with many patients, IIH
21          Risk changes over time, risk changes with dose.     21    either resolves spontaneously or resolves after the
22   There's many different sources of evidence that suggest    22    patient receives a lumbar puncture.
23   that cigarettes and lung cancer is a causal association.   23          Did I read that correctly?
24   But not every lung -- not every smoker gets lung cancer,   24    A. Yes.
25   it's just that the risk is much higher if you're a         25    Q. And do you know what percentage of patients have


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 1   spontaneous resolution of their IIH?                        1    opinion about that.
 2   A. No, I don't.                                             2          I can recall in the case-controlled studies, in
 3   Q. Do you know scientifically the reason why one            3    one case-controlled study where they identified
 4   would experience spontaneous resolution of IIH?             4    patients, approximately half of them were patients with
 5   A. No. I know it's a situation -- it's a -- it's            5    recurrences and the other half had never had a
 6   one of the conditions that waxes and wanes and sometimes    6    recurrence after the resolution. But I don't know if
 7   recurs but I don't know if we know the reasons for why      7    that's representative.
 8   it can spontaneously resolve without treatment.             8    Q. You mentioned that -- oh, strike that.
 9   Q. And it resolves sometimes after a patient                9          At Page 25 you talk about the IIH warning was
10   receives a lumbar puncture, which is a diagnostic tool     10    added to Norplant based on a small number of case
11   for determining whether one has PTC; correct?              11    reports?
12   A. That's correct.                                         12    A. Yes.
13   Q. Does it completely resolve in those patients or         13    Q. Okay. How many is a small number?
14   does it sometimes just provide temporary relief?           14    A. Well, I think I walk through in Section 1, which
15   A. I think it's variable.                                  15    begins on the bottom of 26, the evidence, beginning with
16   Q. And you would agree with me, wouldn't you, that         16    two reports and then in 1995 two additional reports and
17   there are patients who have developed PTC that will have   17    then reports by Alder, who identified 56 cases, although
18   it permanently, regardless of whether their -- they lose   18    it's not clear that they're all IIH because he included
19   weight or not?                                             19    disk edema alone, which may or may not have been -- may
20         MR. SCHMIDT: Objection. Vague.                       20    not have been pseudotumor cerebri. But these were the
21         THE WITNESS: I'm not sure what you mean by           21    cases that resulted in the Norplant warning.
22   permanently. There are neurologic complications in some    22    Q. Do you know when the Norplant warning was added
23   patients that are permanent, that persist, so in that      23    to the label?
24   sense, the condition can have permanent effects, yes.      24    A. 1992, I believe.
25                                                              25    Q. Okay. And you were just talking about, I asked


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 1   BY MR. JONES:                                               1    you about the small number of case reports and you were
 2   Q. Are you aware of any cure for PTC?                       2    citing to 1995 articles; right?
 3   A. Well, I guess I don't think of it as a disease           3    A. Well, that's right. I think there were much
 4   that has a cure or not a cure. It has treatments that       4    fewer than that. So initially, it was based on a very
 5   resolve, resolve the episode, which, you know, include      5    small number.
 6   lumbar puncture and acetazolamide, which is a diuretic,     6    Q. Well, you say "much fewer than that."
 7   and, as I mentioned, some -- you know, some patients        7          Can you point me to any evidence anywhere that
 8   will spontaneously improve, others will have                8    tells me exactly how many number of case reports were in
 9   recurrences.                                                9    Wyeth's possession at the time that it proposed the
10   Q. The treatments resolve the symptoms; correct?           10    labeling change to add idiopathic intracranial
11   A. Yes.                                                    11    hypertension to the Norplant System?
12   Q. There's no pill that you can take that just             12    A. I don't have any data that actually indicates
13   cures you of the disease.                                  13    the number of reports.
14   A. Well, I'm not sure I understand the distinction.        14          We know that by the time of the Alder report in
15         I guess I don't think of this as necessarily a       15    '95, that Wyeth-Ayerst commented that they had 70
16   chronic, persistent condition of -- I think there are      16    reports by 1995. And, of course, by that time, it's in
17   many patients where the episode resolves and does not      17    the labeling and attention is being called to it. But I
18   recur.                                                     18    actually don't have the historical data of how many
19   Q. And, alternatively, there are many patients             19    cases were initially reported.
20   where the condition does not resolve; correct?             20    Q. And so when you say small, that it was based on
21   A. There are some. I don't know the breakdown.             21    a small number of case reports, where are you getting
22   Q. Because you're not -- you said earlier --               22    that information that it was a small number versus a
23   A. I'm --                                                  23    large number?
24   Q. -- you're not an expert on PTC/IIH; correct?            24    A. Well, the fact that even by '95, we're still
25   A. No, I'm not offering -- I'm not offering an             25    dealing with -- you know, after the condition has been


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 1   publicized, we're still dealing with, at most, the 70      1    way back to 2002, there had been reports of idiopathic
 2   cases and the cases at the time of the labeling had to     2    intracranial hypertension in Norplant System users.
 3   be some smaller set of that 70.                            3    A. Yes, that's correct.
 4   Q. Okay. Because it was changed three years                4    Q. A cardinal sign of idiopathic intracranial
 5   earlier.                                                   5    hypertension is papilledema. Early symptoms may include
 6   A. Yes, that's right.                                      6    headache associated with a change in frequency, pattern,
 7   Q. So you're concluding that it was something              7    severity or persistence. Of particular importance are
 8   substantially less than 70 when Wyeth proposed this        8    those headaches that are unremitting in nature and
 9   labeling change; right?                                    9    visual disturbances.
10   A. Yes.                                                   10          Do you agree with that?
11         MR. SCHMIDT: Object to characterization.            11    A. Yes, I think that's correct.
12         THE WITNESS: Well, and there's nothing in the       12    Q. Okay. Patients with these symptoms,
13   literature that describes a larger number of cases.       13    particularly obese patients or those with recent weight
14   BY MR. JONES:                                             14    gain, should be screened for papilledema and, if
15   Q. And today you're aware that there are well over        15    present, the patient should be referred to a neurologist
16   100 cases of PTC/IIH reported in association with         16    for further diagnosis and care.
17   Mirena; right?                                            17          Do you agree with that?
18   A. Yes, that's correct.                                   18    A. Yes, generally.
19   Q. Okay. And you're not aware of any efforts by           19    Q. What do you not agree with in that sentence?
20   Bayer to go to the FDA and propose a labeling change to   20    A. I think it's just a matter of medical judgment
21   add IIH/PTC; correct?                                     21    when you screen a patient for papilledema. Many of
22   A. Well, that's correct.                                  22    these symptoms are nonspecific and so it would really
23         I think those are the number of cases that have     23    depend on the patient's history. But, generally
24   been acquired over all of the use since the product has   24    speaking, I think that's reasonable advice.
25   been on the market and reflects a very different          25    Q. Yeah. It's not wrong to tell doctors that if


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 1   situation than the labeling decisions that were made       1    you see these symptoms in your patients, particularly
 2   when Norplant was relatively new to the market.            2    obese patients or those with recent weight gain, to
 3   Q. Okay. Let's look at, you cite the label change          3    screen them for a serious condition. That's not
 4   starting at Page 25 and going to Page 26. Okay?            4    unreasonable, is it?
 5   A. Yes.                                                    5    A. No, it's not unreasonable.
 6   Q. And it says, "Idiopathic Intracranial                   6    Q. And then the final part of the Norplant label
 7   Hypertension," and then beginning with the first           7    says, Norplant System should be removed from patients
 8   sentence, idiopathic intracranial hypertension             8    experiencing this disorder.
 9   (pseudotumor cerebri, benign intracranial hypertension)    9           Do you agree with that?
10   is a disorder of unknown etiology which is seen most      10    A. Well, that's what the statement says. I -- in
11   commonly in obese females of reproductive age.            11    hindsight, looking back at that, we know now that the
12         Do you agree with that?                             12    IIH resolves in patients when you leave it in and
13   A. Yes, you read that correctly.                          13    there's other patients when you take it out and they're
14   Q. Okay. Do you agree with that statement, though?        14    given other treatments, it resolves in them as well.
15   A. Yes.                                                   15    It's not clear to me, sitting here today, that that is
16   Q. Okay. There have been reports of intracranial          16    still a well-founded recommendation.
17   hypertension -- there have been reports of idiopathic     17    Q. If you had a patient come to you that had
18   intracranial hypertension in Norplant System users.       18    PTC/IIH that had the Norplant System in there, would you
19         Do you agree with that?                             19    recommend removal?
20   A. Yes, there were reports.                               20           MR. SCHMIDT: Objection. Foundation, incomplete
21   Q. Okay. And do you agree that, as we sit here            21    hypothetical.
22   today, there have been reports of idiopathic              22           THE WITNESS: I think it would -- this was
23   intracranial hypertension in Mirena users?                23    information that was written almost 25 years ago.
24   A. Yes, that's also correct.                              24           I think with what we know now, I think it would
25   Q. Okay. And you would agree that going all the           25    be an individual discussion with the patient and it


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 1   might be very reasonable to treat the patient and see if     1    Number 4.
 2   the symptoms resolve.                                        2          We are back on the record at 5:05 p.m.
 3   BY MR. JONES:                                                3    BY MR. JONES:
 4   Q. What do we know now that makes it safe to leave           4    Q. Dr. Ellman (sic), we're back on the record.
 5   a Norplant System in a patient who's experiencing PTC?       5          Can you go to Page 41 of your report.
 6        MR. SCHMIDT: Object to characterization.                6    A. Okay.
 7        THE WITNESS: Well, what we know now is that the         7    Q. Okay. The first full paragraph, third sentence,
 8   sparsity of reports, despite 30 years of use and             8    you say, Bayer reasonably and appropriately decided that
 9   millions and millions of patients of use, is that, you       9    the Norplant label should be used only on a case-by-case
10   know, based on this initial prediction, had it been         10    basis when scientific evidence demonstrated its
11   correct, this should have been an ongoing and, you know,    11    applicability to Mirena, and then there's a Footnote 69.
12   management problem with patients taking levonorgestrel      12          Do you see that?
13   and yet for the products that come out further -- I         13    A. Yes.
14   mean, you see this if you just even look at the U.S.        14    Q. Okay. And then if you go down to Footnote 69,
15   reports in the OpenVigil database system. We have 24        15    the label on the document is MIR_JR_00186491.
16   reports in ten years of experience and we have reports      16          Did I read that correctly?
17   of patients whose symptoms resolve when the Mirena is       17    A. Yes.
18   not removed.                                                18    Q. Okay.
19        So I think that's a little categorical and I           19          MR. JONES: I'm going to hand this to the court
20   think it's an individual decision that should be made       20    reporter to be marked as Deposition Exhibit 7.
21   between the patient and the physician.                      21          (Exhibit Feigal-7 was marked for
22   BY MR. JONES:                                               22    identification.)
23   Q. You read the literature that you cited about             23    BY MR. JONES:
24   Norplant, the Norplant experience; correct?                 24    Q. Is the document that I handed you, on the front
25   A. Yes.                                                     25    page does that say MIR_JR_00186491?


                                                      Page 263                                                  Page 265
 1   Q.    And you agree with me that in that, in that            1    A. Yes, it does.
 2   literature, the Wysowski article, the Oliver letter,         2    Q. Okay. And is that the document cited in
 3   those cite to patients that the symptoms went away when      3    Footnote 69 of your report?
 4   the Norplant was removed; right?                             4    A. Yes.
 5   A.    Yes. But we know now that when Mirena is left          5    Q. Okay. And can you point me to where in this
 6   in place, which is, you know, another source of              6    document it mentions Norplant?
 7   levonorgestrel, that the patients will often improve         7          MR. SCHMIDT: I'll object to the premise of this
 8   even when it's left in place.                                8    question.
 9   Q.    More often -- if you've looked at the documents,       9          MR. JONES: Can you be more specific? Maybe I
10   more often, isn't it true that patients actually have a     10    can fix it.
11   resolution of symptoms after the Mirena is removed?         11          MR. SCHMIDT: Yeah. I think you're citing the
12        MR. SCHMIDT: Object to foundation.                     12    wrong document from his report.
13        THE WITNESS: Well, again, there are very few           13          MR. JONES: And why do you say that?
14   patients you can interpret that that's due to the Mirena    14          MR. SCHMIDT: Because I think what he's using
15   removal because that's not all that's done. They're         15    for the Norplant proposition is 70.
16   also treated with lumbar punctures and with diuretics.      16          MR. JONES: It cites Footnote 69 for the
17        So my interpretation of the evidence is that the       17    sentence that I read.
18   symptoms resolve whether you remove the Mirena or not.      18          THE WITNESS: Well, I think this is the document
19        MR. JONES: Okay. We have to take a break.              19    that lays out the labeling strategy and then 70 I think
20   We'll pick back up there when we come back.                 20    is a quote from a Bayer document where it's discussing a
21        VIDEO OPERATOR: This is the end of Media Number        21    risk factor that is in Norplant.
22   3.                                                          22    BY MR. JONES:
23        We are going off the record at 4:54 p.m.               23    Q. Well, let's read your sentence again: Bayer
24        (Recess, 4:54-5:05 p.m.)                               24    reasonably and appropriately decided that the Norplant
25        VIDEO OPERATOR: This is the beginning of Media         25    label should be used only on a case-by-case basis when


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 1   scientific evidence demonstrated its applicability to       1    manufacturing and controls are relevant to what I was
 2   Mirena, Footnote 69; correct?                               2    reviewing.
 3   A. Yes.                                                     3          But I think the document does show that they're
 4   Q. Okay. So tell me where in this document it               4    taking labeling from other labeling, and then when you
 5   mentions the word "Mirena."                                 5    look at the other document where I have a direct quote,
 6         MR. SCHMIDT: Same objection.                          6    you can see that it does relate to Norplant.
 7         THE WITNESS: Oh. Well, I think you meant              7    Q. I just wanted to make sure you were -- you're
 8   Norplant.                                                   8    not using this document to say that Bayer reasonably and
 9         MR. JONES: Or Norplant.                               9    appropriately decided that the Norplant label should be
10         THE WITNESS: Yes.                                    10    used only on a case-by-case basis when scientific
11         It does not. These two sentences go together         11    evidence demonstrated its applicability to Mirena.
12   and the two footnotes and the two documents go together.   12          MR. SCHMIDT: Object to characterization.
13         So the first document lays out the labeling team     13          THE WITNESS: Well, I think the document does
14   and the strategy and shows the deliberate way in which     14    show. I mean, the product is redacted, but if you look
15   they were approaching the labeling and then Document 70    15    at the other document and we trace it back to Norplant,
16   is actually a specific reference to a Norplant warning     16    they are basing it on another label, and that's what
17   that they're considering for Mirena.                       17    this document shows and that's what I've said in that
18   BY MR. JONES:                                              18    sentence.
19   Q. Well, isn't conventional use of a citation              19    BY MR. JONES:
20   something to support the proposition that you've just      20    Q. So are you concluding that this redaction and
21   laid out in the sentence that you're citing to?            21    the it was proposed to follow the redacted label with
22   A. Yes.                                                    22    respect to, are you concluding that it says Norplant
23         MR. SCHMIDT: Objection.                              23    under that redaction box?
24   BY MR. JONES:                                              24    A. As I recall -- I don't have the other document
25   Q. Can you -- do you see -- can you flip to                25    in front of me, but the other document is a specific


                                              Page 267                                                         Page 269
 1   MIR_JR_00186492.                                            1    example of a Norplant issue that they are looking at and
 2        MR. SCHMIDT: Can you give me that number again?        2    it's an example of their case-by-case examination of the
 3        MR. JONES: MIR_JR_00186492.                            3    Norplant warnings and not just -- and issues in Norplant
 4        MR. SCHMIDT: Thank you.                                4    and not just accepting or rejecting all of them.
 5        MR. JONES: The second page of the document, on         5    They're making their decisions on a scientific basis.
 6   the back side.                                              6    Q. Let's switch gears a little bit.
 7        THE WITNESS: Oh, okay.                                 7          Back when you were at FDA, did you feel as
 8        MR. JONES: Okay.                                       8    though FDA had adequate resources to do its job and
 9   BY MR. JONES:                                               9    satisfy its mission?
10   Q. Do you see down towards the bottom where it             10    A. For the most part. There were some areas,
11   says, it was proposed to follow the, redacted other        11    particularly foreign inspections, where FDA could have
12   Bayer, label with respect to, and then it lists some       12    used additional resources and, to an extent, even for
13   items?                                                     13    some domestic, domestic inspections. But at the review
14   A. Yes.                                                    14    divisions I felt, that I was responsible for, that I had
15   Q. Okay. Were you ever provided with a copy of a           15    adequate resources.
16   document that did not have that redacted other Bayer box   16    Q. Do you feel as though, is it your belief that
17   over whatever the text is underneath that?                 17    FDA has adequate resources today to meet its mission?
18   A. Not that I recall.                                      18    A. I think if the word is "adequate," yes. I think
19   Q. Were you -- see on the next page it says,               19    actually there are areas still where there are needs
20   "Redacted: Manufacturing/CM&C"?                            20    to -- needs -- where there's a need to add specific
21   A. Yes.                                                    21    types of scientists and reviewers. So it's an ongoing
22   Q. Okay. And were you ever provided a copy of this         22    process of building and improving the FDA but I think
23   document without the redactions for Manufacturing/CM&C     23    that from a -- the issues that are relevant to this
24   redaction?                                                 24    case, the FDA resources are adequate, and it's actually
25   A. No; although I don't think the chemistry,               25    where FDA places in the drug center a large percentage


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 1    of its resources is in the review process.                        1    staffing in some areas, for improving computer systems.
 2    Q.     Based upon your experience at FDA, did you ever            2    There's other areas. Those are just a couple that I
 3    feel as though there was a lack of adequate resources             3    recall that were identified in the report.
 4    that rose to the level of being a crisis for the FDA?             4           MR. JONES: Can we mark that as Deposition
 5    A.     No.                                                        5    Exhibit 8.
 6    Q.     Do you remember being involved in an American              6           (Exhibit Feigal-8 was marked for
 7    course on drug development and regulatory sciences at             7    identification.)
 8    the Mission Bay Conference Center at UCSF?                        8    BY MR. JONES:
 9    A.     Yes.                                                       9    Q. What's been handed to you is the FDA Science and
10    Q.     Okay. And your wife also -- you were a faculty            10    Mission at Risk report of the Subcommittee on Science
11    member at that conference; correct?                              11    and Technology prepared for the FDA Science Board dated
12    A.     That's right. My wife was the course director,            12    November 2007; is that correct?
13    and I still teach in that -- that course is still                13    A. Yes.
14    ongoing. It's jointly taught by FDA and UC-San                   14    Q. And you've seen this report before; right?
15    Francisco. And actually, there's a session next week             15    A. I have.
16    where I'm giving two lectures.                                   16    Q. Okay. And let's go, can we flip over to the --
17    Q.     Okay. And you were involved in a section called           17    it's the fourth page in that set but it's labeled little
18    "The Global Registration and Approval Process"; correct?         18    I, little I, little I.
19    A.     I don't recognize that title but --                       19    A. Oh, okay.
20    Q.     Okay. Well, let me try to refresh your                    20    Q. See where it says "FDA Mission Statement"?
21    recollection.                                                    21    A. Yes.
22    A.     Okay.                                                     22    Q. Okay. It reads, the FDA is responsible for
23    Q.     Some of the lectures given as part of that were           23    protecting the public health by assuring the safety,
24    the history of regulation of drugs and biologics, U.S.,          24    efficacy, and security of human and veterinary drugs,
25    U.K., Germany, and Japan, FDA regulatory pathways, INDs,         25    biological products, medical devices, our nation's food


                                                            Page 271                                                  Page 273
 1   EINDs, NDAs, BLAs, 505 B1, 505 B2, and ANDAs, EMA and EU           1    supply, cosmetics, and products that emit radiation.
 2   registration procedures, centralized procedure, mutual             2    The FDA is also responsible for advancing the public
 3   recognition procedure, and decentralized procedure.                3    health by helping to speed innovations that make
 4   There were also presentations on FDA's critical path               4    medicines and foods more effective, safer, and more
 5   initiative.                                                        5    affordable and helping the public get the accurate,
 6         Have you ever heard of that before?                          6    science-based information they need to use medicines and
 7   A.     Yes, I was there when that program was                      7    foods to improve their health.
 8   implemented and designed.                                          8         Did I read that correctly?
 9   Q.     Okay. There were also presentations on the IOM              9    A. Yes, you did.
10   report on drug safety and FDA Science Board Subcommittee          10    Q. And did you understand that to be FDA's mission?
11   on Science and Technology Report, "FDA Science and                11    A. That is FDA's mission statement, yes.
12   Mission At Risk. Where Are We Now?"                               12    Q. Okay. And let's flip over to the next page
13         Do you remember that?                                       13    where it says "Executive Summary."
14   A.     Yes, I know that report. Yes.                              14    A. Yes.
15   Q.     And do you know the report, the FDA Science and            15    Q. Second paragraph, a strong -- or first
16   Mission At Risk report?                                           16    paragraph, a strong Food and Drug Administration is
17   A.     Yes, I know that report.                                   17    crucial for the health of our country.
18   Q.     Okay. And can you tell me what the FDA Science             18         Do you agree with that?
19   and Mission, FDA Science and Mission At Risk report is?           19    A. Yes.
20   A.     This was a report prepared by the FDA Science              20    Q. Second paragraph, the FDA constitutes a critical
21   Board. I was actually a member of that board while I              21    component of our nation's healthcare delivery and public
22   was the center director because the center directors sit          22    health system.
23   on that board with some external advisors.                        23         Do you agree with that?
24         It was a report prepared at the request of the              24    A. Yes.
25   FDA as part of a budget justification for increasing              25    Q. The FDA, as much as any public or private sector


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 1   institution in this country, touches the lives, health,     1         Did I read that correctly?
 2   and well-being of all Americans and is integral to the      2    A.    You did read it correctly.
 3   nation's economy and its security.                          3    Q.    Okay. The Subcommittee found that the
 4         Do you agree with that?                               4    deficiency has two sources: The demands on the FDA have
 5   A. Yes, I do.                                               5    soared due to the extraordinary advance of scientific
 6   Q. Okay. Going down to the fourth paragraph, the            6    discoveries, the complexity of the new products, and
 7   FDA is also central to the economic health of the           7    claims submitted to FDA for premarket review and
 8   nation, regulating approximately $1 trillion in consumer    8    approval, the emergence of challenging safety problems,
 9   products or 25 cents of every consumer dollar expended      9    and the globalization of the industries that FDA
10   in this country annually.                                  10    regulates.
11         Do you agree with that?                              11         Did I read that correctly?
12   A. Yes.                                                    12    A.    Yes, you did.
13   Q. Go to the next page. It begins, thus, the               13    Q.    And next it reads, the resources have not
14   nation is at risk if FDA science is at risk.               14    increased in proportion to the demands. The result is
15         Do you agree that the nation is at risk if FDA       15    that the scientific demands on the agency far exceed its
16   science is at risk?                                        16    capacity to respond. The imbalance is imposing a
17   A. Generally speaking, that's true. I think you            17    significant risk to the integrity of the food, drug,
18   have to get much more specific.                            18    cosmetic, and device regulatory system and, hence, the
19         And, in fact, when you look at the risks they're     19    safety of the public.
20   talking about, they lead off with the need to improve      20         Did I read that correctly?
21   the science in the food science area and food safety       21    A.    Yes, you did.
22   because there's approximately 50,000 deaths a year from    22    Q.    Okay. Let's go to the next page, "1.2 Major
23   food poisoning and food contamination.                     23    Findings."
24         So there are very specific examples that are         24         Do you read -- see that?
25   given in the report. I think you need to look at the       25    A.    Yes.


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 1   report examples rather than to --                           1    Q. Okay. Below that, the Subcommittee found
 2   Q. But --                                                   2    substantial weaknesses across the agency, with the
 3   A. -- accept the broad premise that the nation is           3    possible exception of some drug and medical device
 4   at -- that all parts of things that FDA regulate are at     4    review functions funded by our industry fees. There are
 5   risk because some things need resources and other things    5    several areas of greatest concern, however, which form
 6   are in pretty good shape.                                   6    the basis for this report's most significant findings.
 7   Q. Well, and that's what we're doing. We're going           7          Did I read that correctly?
 8   to look at the report.                                      8    A. Yes.
 9   A. Okay.                                                    9    Q. Okay. And below that, the FDA cannot fulfill
10   Q. But you agree with me that this report is not           10    its mission because its scientific base has eroded and
11   limited to food safety, is it?                             11    its scientific organizational structure is weak.
12   A. Oh, no, it's not.                                       12          Did I read that correctly?
13   Q. And --                                                  13    A. Yes, you did.
14   A. It's all FDA products.                                  14    Q. Going down into the box, it says, FDA's
15   Q. It relates to drugs that are regulated by the           15    inability to keep up with scientific advances means that
16   FDA; correct?                                              16    American lives are at risk.
17   A. Yes.                                                    17          Did I read that correctly?
18   Q. And combination products that are regulated by          18    A. Yes, you did.
19   the FDA; correct?                                          19    Q. Going to the last sentence, likewise, evaluation
20   A. Yes, that's correct.                                    20    methods have not kept pace with major advances in
21   Q. Okay. Let's go over to or let's go down. It             21    medical devices and uses of products in combination.
22   says, the Subcommittee concluded that science at the FDA   22          Did I read that correctly?
23   is in a precarious position. The agency suffers from       23    A. Yes. And on the next page they give an example
24   serious scientific deficiencies and is not positioned to   24    of the products they're talking about.
25   meet current or emerging regulatory responsibilities.      25    Q. And we talked earlier, Mirena is a combination


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 1   product, isn't it?                                          1    exponential rate and each generates novel scientific,
 2   A. Yes, it's --                                             2    analytic, laboratory, and/or information requirements.
 3        MR. SCHMIDT: Asked and answered.                       3          Did I read that correctly?
 4        THE WITNESS: Yes, it's a medical, it's a               4    A. Yes, you read that.
 5   medical device that's a drug delivery device so it's a      5    Q. Next sentence, the FDA cannot fulfill its
 6   combination device and drug.                                6    surveillance mission because of inadequate staff and IT
 7        MR. JONES: Okay.                                       7    resources to implement cutting-edge approaches to
 8   BY MR. JONES:                                               8    modeling, risk assessment, and data analysis.
 9   Q. And then down below that it says, the world              9          Did I read that correctly?
10   looks to FDA as a leader to integrate emerging             10    A. Yes.
11   understanding of the biology of medicine, technology,      11    Q. The FDA lacks a coherent scientific structure
12   and computational mathematics in ways that will lead to    12    and vision as a result of weak organizational
13   successful disease therapies. Today, not only can the      13    infrastructure.
14   agency not lead, it cannot even keep up with the           14          Did I read that correctly?
15   advances in science.                                       15    A. You did.
16        Did I read that correctly?                            16    Q. Last sentence, consistent and rigorous peer
17   A. You did.                                                17    reviews of programs and processes which are currently
18        I don't think I agree with that conclusion by         18    lacking are critical for wise utilization of resources
19   the Committee, but they're entitled to their opinion.      19    and for rebuilding the agency's ability to implement its
20   Q. Sure.                                                   20    science-based regulatory responsibilities effectively.
21        Let's go to the next page. Due to constrained         21          Did I read that correctly?
22   resources and lack of adequate staff, FDA is engaged in    22    A. Yes, you did.
23   reactive regulatory priority setting or a fire-fighting    23    Q. Next, the FDA cannot fulfill its mission because
24   regulatory posture instead of pursuing a culture of        24    its scientific workforce does not have sufficient
25   proactive regulatory science.                              25    capacity and capability.


                                              Page 279                                                         Page 281
 1          Did I read that correctly?                           1          Did I read that correctly?
 2   A. Yes. And they point out they're talking about            2    A. Yes, you did.
 3   the Center for Food and the Center for Veterinary           3    Q. The Subcommittee found that, despite the
 4   Medicine.                                                   4    significant increase in workload during the past two
 5   Q. Actually, what they say is that is particularly          5    decades, in 2007 the number of appropriate -- number of
 6   true for those two entities; correct?                       6    appropriated personnel remained essentially the same,
 7   A. Yes.                                                     7    resulting in major gaps of scientific expertise in key
 8   Q. Okay. The FDA cannot adequately monitor the --           8    areas.
 9   monitor development of food and medical products because    9          Did I read that correctly?
10   it is unable to keep up with scientific advances.          10    A. Yes.
11          Did I read that correctly?                          11          And the word "appropriated" is very important
12   A. Yes. And then they list the advances, and you           12    because the size of the FDA by 2007 had nearly doubled,
13   can see that none of those really apply to Mirena.         13    its budget now has quadrupled because of the user fees.
14   Q. The next sentence then -- we'll see what the            14    So while the congressional appropriated, funded staff or
15   document says.                                             15    funds for staff remains constant -- and this is a
16          The Subcommittee identified the following           16    document prepared with Congress in mind -- the FDA has
17   emerging -- eight emerging science and technologies that   17    actually been adding the staff in these areas based on
18   are most challenging the FDA: Systems biology,             18    user fees.
19   including genomics and other -omics, wireless              19    Q. But as of 2007, this was the Committee's report;
20   health-care devices, nanotechnology, medical imaging,      20    correct?
21   robotics, cell- and tissue-based products, regenerative    21    A. Well, it's about the appropriated rather than --
22   medicine, and combination products.                        22    it's not talking about the total FDA workforce, they're
23          Did I read that correctly?                          23    talking about the congressional appropriation, which had
24   A. You did.                                                24    remained relatively flat at right around 10,000, you
25   Q. Each of these emerging areas is developing at an        25    know, 10,000 employees, but -- and the budget, the


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 1   appropriated budget, had remained relatively flat, right    1    Q. Going down, the FDA was extremely disturbed at
 2   around a billion dollars, but by 2007, as I recall, it      2    the state of the FDA IT infrastructure.
 3   was almost an additional billion dollars from user fees     3         Did I read that correctly?
 4   that provided staff. In fact, more than half the staff      4    A. Yes, you did.
 5   in the review divisions are funded by other sources than    5    Q. It also found that the FDA has insufficient
 6   appropriated dollars.                                       6    access to data and cannot effectively regulate products
 7   Q. Okay. More importantly, despite the critical             7    based on new science due to lack of supportive IT
 8   need for a highly trained workforce to fulfill its          8    infrastructure.
 9   mission, the FDA faces substantial recruitment and          9         Did I read that correctly?
10   retention challenges.                                      10    A. Yes, you did.
11         Did I read that correctly?                           11    Q. Okay. The IT situation at FDA is problematic,
12   A. Yes. That's true of some parts of FDA.                  12    at best, and, at worst, it is dangerous. Many of the
13   Q. But it doesn't say some parts of FDA in the             13    FDA's systems reside on technology that has been in
14   document, does it?                                         14    service beyond the useful life cycle. Systems fail
15   A. No. But I know -- I mean, I know what parts of          15    frequently, and even E-mail systems are unstable, most
16   FDA that have problems and other areas -- you know, in     16    recently, during an E-Coli food contamination
17   the device center the average tenure of my thousand        17    investigation. More importantly, reports of product
18   staff was 17 years, so we had a 3 percent turnover rate.   18    dangers are not rapidly compared and analyzed.
19         So the document is very -- speaks in the             19         Did I read that correctly?
20   introduction in very broad terms. You actually have to     20    A. Yes. This is a good description of the Food
21   sort of drill down and see the specific areas they're      21    Center.
22   talking about.                                             22    Q. It doesn't say the Food Center there, does it,
23   Q. There's insufficient investment in professional         23    sir?
24   development, which means that the workforce does not       24    A. Well, the E-Coli --
25   keep up with scientific advances.                          25         MR. SCHMIDT: Object to characterization.


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 1         Did I read that correctly?                            1          THE WITNESS: The E-Coli food contamination,
 2   A. You did.                                                 2    their one example that they give, is a Food Center
 3   Q. Okay.                                                    3    issue.
 4   A. And, again, it's very -- it varies from                  4    BY MR. JONES:
 5   organizational unit to organizational unit.                 5    Q. But, sir, this paragraph does not refer to the
 6   Q. FDA's failure to retain and motivate its                 6    Food Center, does it?
 7   workforce puts FDA's mission at risk. Inadequately          7          MR. SCHMIDT: Objection. Asked and answered,
 8   trained scientists are generally risk-averse and tend to    8    argumentative.
 9   give no decision, a slow decision or, even worse, the       9          THE WITNESS: This is an overall statement, but
10   wrong decision on regulatory approval or disapproval.      10    the examples that they're citing are -- throughout most
11         During our encounters with staff and center          11    of this report are in the Center for Food and the Center
12   leadership, we were struck by the near unanimity at the    12    for Veterinary Medicine, two of the centers that in 2007
13   shortage of science staff due to the lack of resources     13    had no user fee resources compared to the Drug Center,
14   to hire and the inability to recruit and retain needed     14    which by this time had more than doubled in size over
15   expertise are serious, long-standing challenges.           15    the last decade.
16   Internal expertise and experience to provide the science   16          MR. JONES: Move to strike as nonresponsive.
17   capability and capacity needed in highly specialized and   17          MR. SCHMIDT: I'll object to that motion.
18   fast-evolving areas is disturbingly limited.               18    BY MR. JONES:
19         The lack of a trained workforce means that the       19    Q. Reading, critical data reside in large
20   FDA is ineffective in responding to emerging fields that   20    warehouses sequestered in piles and piles of paper
21   require individuals and work teams with                    21    documents. There's no backup of these records, which
22   multi-disciplinary skills built on very complex, highly    22    include valuable clinical trial data.
23   specialized, and often esoteric bodies of knowledge.       23          Did I read that correctly?
24         Did I read that correctly?                           24    A. You did, yes.
25   A. Yes, you did.                                           25    Q. The FDA has inadequate extramural funding


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 1   programs and collaborations to accelerate the               1    recruit the best leaders unless there is assurance that
 2   development of critical health information exchanges in     2    adequate resources and staff will be available to
 3   order to support clinical trials and pharmacovigilance      3    address the challenges.
 4   activities.                                                 4          Did I read that correctly?
 5        Did I read that correctly?                             5    A. Yes, you did.
 6   A. Yes, you did.                                            6          And the Center for Drug position was filled
 7   Q. And there are no pharmacovigilance activities            7    immediately. That person remains in that job and she's
 8   associated with food, is there?                             8    held that job since 1993, with a brief time when she
 9   A. Well, they're not pharmacovigilance but there's          9    worked in the commissioner's office. So they predicted
10   food safety vigilance programs, yes.                       10    that it would be a problem but, in fact, it was not.
11   Q. That's right. And that's in that paragraph that         11    Q. Not according to this report.
12   you were trying to say related to food safety; correct?    12          The magnitude of the resources --
13        MR. SCHMIDT: Objection. Argumentative.                13          MR. SCHMIDT: Object to -- objection.
14        THE WITNESS: No. They give examples, they do          14          Just a second.
15   give examples from drugs, although not very many.          15          Objection. Argumentative.
16        MR. JONES: Okay.                                      16    BY MR. JONES:
17   BY MR. JONES:                                              17    Q. The magnitude of the resources required to
18   Q. The next, 1.3, at the bottom, in contrast to            18    restore scientific capability and capacity is
19   previous reviews that warned crises would arise -- would   19    substantial.
20   arise if funding issues were not addressed, recent         20          Did I read that correctly?
21   events in our findings indicate that some of those         21    A. Yes.
22   crises are now realities and American lives are at risk.   22    Q. We recognize -- next page. We recognize that
23        Did I read that correctly?                            23    adequate resources, human and financial, alone will not
24   A. Yes, you did.                                           24    be sufficient to repair the deteriorating state of
25   Q. Going to the next page, we found that FDA's             25    science at FDA, which is why we also recommend


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 1   resource shortfalls have resulted in a plethora of          1    significant restructuring. But without a substantial
 2   inadequacies that threaten our society, including, but      2    increase in resources, the agency is powerless to
 3   not limited to, inadequate inspections of manufacturers,    3    improve its performance and will fall further behind and
 4   a dearth of scientists who understand emerging new          4    will be unable to meet either the mandates of Congress
 5   technologies, inability to speed the development of new     5    or the expectations of the American public.
 6   therapies, an import system that is badly broken, a food    6         Did I read that correctly?
 7   supply that grows riskier each year, and an information     7    A. Yes, you did.
 8   infrastructure that was identified as a source of risk      8    Q. Okay. Let's go down to, it's Page 11, and you
 9   in every center and program reviewed by the                 9    see a chart there. Let's go to the section that talks
10   Subcommittee. We conclude that FDA can no longer           10    about the Center for Drug Evaluation and Research, the
11   fulfill its mission without substantial and sustained      11    CDER.
12   additional appropriations.                                 12         Are you with me?
13         Did I read that correctly?                           13    A. Yes.
14   A. Yes, you did.                                           14    Q. Okay. CDER regulates the safety, efficacy,
15   Q. Although there is indeed great urgency to stem          15    quality, and advertising of all drug products marketed
16   the tide of continued deterioration and the science that   16    in the U.S., including brand-name and generic
17   supports the regulatory decisions of the FDA, the          17    pharmaceuticals, over-the-counter medicines, therapeutic
18   magnitude of changes that are needed will require a        18    proteins --
19   phased approach based on a well-thought-out plan.          19         And can you help me out with that word? Mono?
20         Did I read that correctly?                           20    A. Monoclonal antibodies.
21   A. Yes.                                                    21    Q. Oh.
22   Q. For example, during the time of our review, the         22         -- monoclonal antibodies, 2,500 U.S. and 2,500
23   directorship of two of the largest FDA centers, CFSAN      23    foreign non-gas manufacturers, 5,000 active commercial
24   and the Center for Drug Evaluation and Research, became    24    Investigational New Drug Applications, 12,000 drug
25   vacant. It will be difficult, if not impossible, to        25    products, 3.3 billion prescriptions per year, 61,000


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 1   pieces of promotional material received for review, 290     1    products; two, modernize current regulatory pathways;
 2   billion in pharmaceutical sales, brand prescription         2    and, three, develop new regulatory pathways where there
 3   sales 221 billion, generic prescription sales 54            3    are currently none. Much of this research must be
 4   billion, and over-the-counter sales 15 billion.             4    undertaken by FDA because it is mission critical and
 5         Did I read that correctly?                            5    because it either cannot or will not be done by other
 6   A. Yes.                                                     6    government agencies or industry.
 7   Q. Okay. Let's go to Page 12.                               7          Did I read that correctly?
 8         Science forms the basis of all regulatory             8    A. Yes, you did.
 9   decisions. Those --                                         9    Q. Okay. Next page, second paragraph, in summary,
10         MR. SCHMIDT: Where are you reading from?             10    getting the science right is critical to FDA's ability
11         MR. JONES: The last sentence.                        11    to fulfill its mission. Decisions made in regulation
12   BY MR. JONES:                                              12    development, premarket approvals, legal actions, and
13   Q. Science forms the basis of all regulatory               13    related public health emergencies must be based on
14   decisions. Those that do not have adequate scientific      14    understanding of contemporary and emerging science
15   support are thus subject to delays or, worse, poor         15    within the context of the risk analysis paradigm.
16   decisions. Therefore, effective regulation requires        16          Did I read that correctly?
17   that the scientific competency within FDA matches or       17    A. I lost where you were. Oh, I see where you are.
18   exceeds an applicant's knowledge.                          18          Yeah, what you did is you just skipped over
19         Did I read that correctly?                           19    several paragraphs where they cited examples where FDA
20   A. Yes.                                                    20    had actually done a good job.
21   Q. Next page, first paragraph, last sentence, the          21    Q. Well, I'll let your counsel go into that because
22   bulk of the agency's activities involve reviewing new      22    I only have so much time with you.
23   drugs, biologics, medical devices, and additives. It is    23          Next page, Center for -- the chart, Center for
24   clear from this list that the FDA must master science at   24    Drug Evaluation and Research, CDER, premarket reviewed
25   the molecular and nanoscale and be able to detect,         25    and approved 101 prescription drugs and biologics, 14


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 1   assess, and respond to the growing risks resulting from     1    OTC medications, 371 generic drugs, and conducted 648
 2   globalization.                                              2    clinical research inspections.
 3         Did I read that correctly?                            3          That was for 2000 -- fiscal year 2006; correct?
 4   A. Yes.                                                     4    A. Yes, that's right.
 5         It's referring back to the description of             5    Q. Okay. And then post-market, fiscal year 2006,
 6   genomics and nanotechnology, which in 2007 -- genomics      6    received 471,000 AERS reports.
 7   has actually come -- has actually become important,         7          Those are Adverse Event Reports; correct?
 8   nanotechnology not so much.                                 8    A. Yes, that's right.
 9   Q. Okay.                                                    9    Q. Issued 16 public health advisories, reviewed
10   A. So they're anticipating these would be new areas        10    13,000 medication error reports, issued 70 drug
11   that the center would need to -- the centers would need    11    promotion violation letters and 530 advisory letters.
12   to deal with.                                              12          Product quality, reviewed 184 pre-approval
13   Q. Next paragraph towards the bottom, an even              13    inspections in support of 81 new drugs and 109 generic
14   broader range of activities related to surveillance of     14    applications, reviewed 1,329 cGMP inspections, received
15   adverse events is needed with marketed products:           15    2,670 Drug Quality Reports, and coordinated 361 drug
16   Surveillance and efficacy and safety assessments need      16    recalls.
17   support. These iterative and complex activities consist    17          Did I read that correctly?
18   of multiple sublevels of activity, such as science-based   18    A. Yes.
19   interactions with third parties. Surveillance also         19          Those are activities that the field does, staff
20   requires an array of analytic activities as well as        20    of about 1,500 people. Yeah, this is the work that was
21   extensive risk communications activities.                  21    actually completed. Yes.
22         FDA must have the scientific staff and resources     22    Q. Okay. Let's go down to -- let's go down to Page
23   to undertake the regulatory research that will provide a   23    20, second paragraph, middle of the paragraph, but
24   basis to, one, improve capacity for safety and efficacy    24    despite this commendable commitment of staff, we found
25   evaluations and monitoring of candidate and licensed       25    that scientific capabilities and capacity at the FDA


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 1   overall are unevenly meeting current requirements, have      1    full sentence, we concur with the IOM's findings of
 2   areas of serious deficiencies, and are not positioned to     2    scientific gaps in surveillance and biostatistics and
 3   meet future needs. Most of these deficiencies are the        3    are in substantial agreement with the IOM
 4   result of the dramatic increase in responsibilities of       4    recommendations directed to the agency and with FDA's
 5   the FDA on the one hand and the lack of increasing           5    proposed response.
 6   personnel and scientific expertise to fulfill these          6          Did I read that correctly?
 7   responsibilities on the other.                               7    A. Yes.
 8        Did I read that correctly?                              8          This report is endorsing a request for agency to
 9   A. Yes.                                                      9    fund a program known as the Sentinel, the Sentinel
10   Q. Okay. Next page.                                         10    System, which has been funded and is in place.
11        Let's go down to Page 26, second-to-last               11    Q. Okay. Next paragraph, our findings and
12   paragraph, second-to-last sentence, the mission of          12    recommendations of the highest priority are summarized
13   getting safe and effective drugs to patients in a timely    13    below. Although there are many needs, e.g., external
14   manner is currently threatened by inadequate expertise      14    collaborations and IT support, in all centers and
15   and capabilities.                                           15    programs, none of it -- none is as time sensitive and
16   A. Yes.                                                     16    critical as surveillance and risk management.
17   Q. Did I read that correctly?                               17          Did I read that correctly?
18   A. Yes.                                                     18    A. Yes, you did.
19        This is a paragraph describing the use of              19    Q. The Subcommittee found that there's an urgent
20   genetics and genome-wide association, which isn't really    20    need for developing and evaluating new statistical
21   relevant to this product, but that's what this paragraph    21    methods that are most appropriate for the data generated
22   is about.                                                   22    by new areas of science. The Subcommittee notes that
23   Q. Isn't it also referring to combination products?         23    new challenges are posed by the wealth of new types of
24   A. Not products like Mirena. There are                      24    data arising from animal studies, early clinical work,
25   combinations of companion diagnostics where genomics is     25    and new approaches to safety surveillance.


                                                      Page 295                                                  Page 297
 1   used to predict which cancers will respond to which          1           Did I read that correctly?
 2   drugs. So that's largely what they're referring to           2    A. Yes.
 3   here.                                                        3    Q. Okay. Next paragraph down, second-to-the-last
 4   Q.       Let's go down to the bottom of that page. The       4    sentence, statistical and epidemiological expertise will
 5   area of drug safety now has several examples that            5    need to be brought to bear on the most efficient and
 6   favorably affect the benefit-risk ratio. Safety              6    productive analytical approaches to identifying and
 7   pharmacogenetics using genetic technologies can and have     7    evaluating signals arising from such databases.
 8   defined diagnostic profiles that can predict which           8    A. Yes.
 9   patients should not risk an adverse event before they        9    Q. Did I read that correctly?
10   take the drug. The Subcommittee stressed the importance     10    A. Yes.
11   of safety science.                                          11           They're talking about microarray and system
12           Did I read that correctly?                          12    biology and genetic information databases.
13   A.       Yes.                                               13    Q. Yeah. I don't see that. It's actually --
14        They're giving an example of where the agency          14    A. Well, it's at the top.
15   actually did this and resulted in a much safer use of a     15    Q. It's talking about the Center for Medicare and
16   drug for HIV infection. There's another --                  16    Medicaid and Veterans Administration databases, isn't
17   Q.       Page 30, Section 3.1.3, there is insufficient      17    it, sir?
18   capacity in modeling, risk assessment, and analysis.        18    A. Well, that relates to the Sentinel initiative.
19   Recommendation: The FDA should immediately implement        19    Yes, that's -- but it begins with methods to evaluate
20   the IOM recommendations for improving drug safety as        20    and appropriate data from microarray and systems biology
21   well as those made by the Subcommittee working group on     21    experiments but then it does talk about the availability
22   bio -- on surveillance/biostatistics.                       22    of -- this is the time period when we're starting to see
23           Did I read that correctly?                          23    electronic medical records and starting to utilize
24   A.       You did.                                           24    those, so this document was to help justify a request
25   Q.       Okay. Let's go to the next page, Page 31, first    25    for FDA to set up a 100-million-patient database that


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 1   FDA could do -- could access to actually use to help        1    and possibly foods as well as human drugs and biologics.
 2   evaluate safety.                                            2    This was at a minimum include providing access to
 3   Q. The Subcommittee found that the FDA lacked               3    existing databases with relevant medical information to
 4   sufficient expertise in quantitative methods, such as       4    FDA reviewers. It should increase the level of staff
 5   statistics and biomathematics, to effectively assess        5    expertise in scientifically based risk communication
 6   products and guide sponsors to design valid and             6    strategies and increase the involvement of external
 7   informative studies.                                        7    stakeholders in the evaluation of FDA approaches and
 8         Did I read that correctly?                            8    processes. The Subcommittee also urges the FDA to
 9   A. You did.                                                 9    develop enhanced reviewer tools, such as data standards,
10         I think it's referring back to the systems           10    electronic submissions, data mining and analysis as well
11   biology.                                                   11    as tools for electronic facilities, establishment, and
12   Q. Let's go to the next page. The Subcommittee             12    product listing and tracking.
13   found that the FDA also has a lack of expertise in         13         Did I read that correctly?
14   risk/benefit assessment. The Subcommittee notes that       14    A.    Yes.
15   another important area for quantitative methods            15         And a lot of that has been done and even some of
16   development is risk/benefit assessment. Such               16    the methodologic work done by FDA statisticians on data
17   assessments have traditionally been made informally but    17    mining are techniques that weren't used by either Dr.
18   as the public's concern about the value and safety of      18    Ross or Dr. Etminan but which I've cited in my report.
19   new drugs continues to grow and as the complexity and      19         MR. JONES: Okay. Strike as nonresponsive.
20   volume of data informative about potential benefits and    20         MR. SCHMIDT: Object to that motion.
21   risks increases, more formal methods will be important     21    BY MR. JONES:
22   for optimal decision-making.                               22    Q.    Page 34. Actually, let's go down to Page 42,
23         Did I read that correctly?                           23    Finding 3.2.2, Finding: The FDA has an inadequate and
24   A. Yes, you did.                                           24    ineffective program for scientist performance.
25   Q. Okay. Going down, skipping that next                    25    Recommendation: The FDA should enhance the program to


                                              Page 299                                                               Page 301
 1   recommendation in the interest of time, the Subcommittee    1    monitor performance metrics and put the appropriate IT
 2   recommends that the FDA strengthen the information tools    2    infrastructure in place to track the evolution of those
 3   for supporting effective risk management. This would        3    metrics.
 4   provide the FDA with improved capacity to identify          4          Did I read that correctly?
 5   safety risks in advance and to conduct effective risk       5    A. You did.
 6   management, analysis, and communications. Key areas of      6    Q. Okay. Going down, the Subcommittee found that
 7   focus would include providing improved database access      7    there needs to be more meaningful measures of scientific
 8   and analysis and support of safety assessment, including    8    performance on the part of staff.
 9   access to health and public health databases for adverse    9          Then going to the last sentence, if performance
10   event identification and the surveillance for risk         10    is based on a noisy proxy, such as time to review a new
11   identification and evaluation. It would also include       11    product application, the pressure to perform can lead to
12   the development of advanced data mining and analytical     12    unintended consequences, such as worse drug safety.
13   methodologies for signal detection in large health care    13          Did I read that correctly?
14   databases.                                                 14    A. Yes.
15        Did I read that correctly?                            15          That isn't what has happened but that -- you did
16   A. Yes.                                                    16    read that.
17        MR. SCHMIDT: Objection. You misread one word.         17    Q. Okay. Finding 3.2.3. That's okay. We'll skip
18        MR. JONES: That's okay.                               18    that in the interest of time.
19        THE WITNESS: But that does again refer to the         19          MR. SCHMIDT: Because I think you are down to a
20   FDA proposal to fund the Sentinel initiative.              20    few minutes. Ten minutes.
21        MR. JONES: Okay.                                      21          MR. JONES: Ten? Yeah, that's what I was
22   BY MR. JONES:                                              22    thinking.
23   Q. Let's go down to the bottom of Page 32. The FDA         23    BY MR. JONES:
24   should also expand the drug safety framework to apply      24    Q. Go to Page 47, Finding 3.3.2. Finding: The FDA
25   active surveillance to medical devices, animal drugs,      25    lacks the information science capability and information


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 1   infrastructure to fulfill its regulatory mandate.           1    BY MR. JONES:
 2         Going down, the Subcommittee found that the           2    Q. The Subcommittee found that in addition to
 3   FDA's current critical information supply chains are, at    3    deficiencies in its technology and communications
 4   best, inefficient, cost intensive and prone to promote      4    platform, the FDA lacks many basic tools to support
 5   errors in regulatory science due to the inability to        5    science and regulatory services. Specifically, the
 6   access, integrate, and analyze data. Incredibly,            6    agency lacks the ability to adequately store data from
 7   critical data resides in large warehouses sequestered in    7    clinical trials or adverse event reporting. The vast
 8   piles and piles of paper documents.                         8    majority of these data are still paper based and sit in
 9         Did I read that correctly?                            9    large warehouses, where it is not possible to
10   A. Yes.                                                    10    efficiently access the data. The agency lacks adequate
11         I mean, it reflects the situation a decade ago       11    tools to search data, model the data, and analyze the
12   but -- and not uniformly for FDA, but that certainly was   12    data. FDA staff repeatedly emphasized the incredible
13   true in 2007 for some parts of FDA.                        13    missed opportunities that exist due to the inability to
14         MR. JONES: Move to strike as nonresponsive.          14    conduct safety and efficacy studies as a consequence of
15         MR. SCHMIDT: Object to the motion.                   15    these deficiencies in storage, search, and core
16   BY MR. JONES:                                              16    scientific tools.
17   Q. There are no effective mechanisms to protect            17          Did I read that correctly?
18   these paper records, which include very valuable           18    A. You did.
19   clinical trial data. Furthermore, processes for data       19          I don't think the paragraph actually accurately
20   and information exchange, both internally as well as       20    describes the adverse reporting system, but you did read
21   among external partners, lack clear business processes,    21    that correctly.
22   information technology standards, sufficient workforce     22    Q. Okay. When did you leave FDA?
23   expertise, a robust technology platform, such that FDA     23    A. In 2004.
24   cannot credibly process, manage, protect, access,          24    Q. Okay. So that was three years before this
25   analyze, and leverage the vast amounts of data that it     25    report?


                                              Page 303                                                         Page 305
 1   encounters. Consequently, the FDA's ability to support      1    A. Yes. And some of the things that they're
 2   industry innovation and regulatory activities is            2    describing in 2007 weren't accurate in 2004.
 3   compromised.                                                3    Q. Okay. So you disagree with the Committee.
 4         Did I read that correctly?                            4    A. I'm --
 5   A. You did.                                                 5          MR. SCHMIDT: Object to characterization.
 6   Q. Let's go to Page 48, second-to-last                      6          THE WITNESS: Yes, I disagree with some of their
 7   recommendation. The Subcommittee recommends that the        7    conclusions and I think that some of their
 8   FDA develop the capacity to do advanced data mining and     8    characterizations are overbroad and superficial.
 9   use analytical methodologies and tool development for       9          This is a document that was prepared to support
10   large databases as well as the development of new          10    requests for funds in some of these areas and it was
11   statistical methods and trial designs. This includes       11    successful at doing this.
12   adverse event and signal detection, rapid portable         12          But, for example, with the adverse event
13   diagnostic analytic testing, the development of            13    reporting, I mean, you know since you've taken a look at
14   risk-based models for selection of manufacturing           14    AERS downloadable databases that those databases are
15   inspections, risk communications science, and enhanced     15    updated quarterly, there's usually a few-month lag, and
16   reviewer tools, such as data standards, electronic         16    they've been provided and they were provided
17   submissions, data mining analysis, and electronic          17    continuously all throughout this period and it existed
18   product listing and tracking.                              18    in FDA databases, so they're -- this is a time when FDA
19         Did I read that correctly?                           19    is transitioning from paper to electronic records, and I
20   A. Yes. These are all things which are -- have             20    think this report strongly supports that activity, which
21   been done since this report has been written.              21    is now largely complete.
22   Q. Let's go to Page 50, middle of the page. The            22          VIDEO OPERATOR: Source. Top right. Hit it
23   Subcommittee found that in addition to deficiencies --     23    twice, I think. One more time. Make sure the light is
24         MR. SCHMIDT: Let him catch up.                       24    on the right.
25         THE WITNESS: Okay.                                   25          MR. JONES: Yeah, here it is. Okay.


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 1   BY MR. JONES:                                              1         MR. JONES: Yeah.
 2   Q. Dr. Feigal, do you remember participating in a          2         MR. SCHMIDT: I'm going to object to going off
 3   discussion at -- with -- do you know what Eucomed is?      3    the record and request that we finish the deposition.
 4   A. Yes. It's the medical device trade association          4    There's five minutes left.
 5   in Europe.                                                 5         MR. JONES: It's my deposition. We're going off
 6   Q. Okay. And do you remember giving an interview           6    the record.
 7   during your -- one of your interactions with that          7         MR. SCHMIDT: Over my objection.
 8   organization?                                              8         MR. JONES: That's okay.
 9   A. Yes. I don't remember the content, but I think          9         VIDEO OPERATOR: Okay? Okay.
10   you're going to help me remember what it was about.       10         We're going off the record. The time is 6:01
11   Q. Okay.                                                  11    p.m.
12         MR. SCHMIDT: Can you just tell me what source       12         MR. SCHMIDT: Could we just go back on the
13   you're about to play? Is this on the Internet? What is    13    record for five seconds so I can say on the record -- we
14   this?                                                     14    can just do it on the stenography record.
15         MR. JONES: It's something that we got off of        15         From our perspective, the deposition is done in
16   YouTube.                                                  16    five minutes.
17         THE WITNESS: Oh.                                    17         MR. JONES: We're off the record.
18         MR. JONES: I'll cite the -- yeah. And you're        18         (Discussion off the record.)
19   famous.                                                   19         VIDEO OPERATOR: We are back on the record.
20         THE WITNESS: Well, I've got a lecture I gave in     20         The time is 6:03 p.m.
21   San Diego that's on YouTube that --                       21    BY MR. JONES:
22         MR. JONES: I've got that one too.                   22    Q. Dr. Feigal, so do you believe that FDA has
23         THE WITNESS: Yeah. Every time I see that, I         23    adequate resources such that FDA always performs its job
24   conclude I needed a haircut before I gave that lecture.   24    in accordance with its mission?
25         MR. JONES: Okay. Let's watch this.                  25         MR. SCHMIDT: Objection. Asked and answered.


                                             Page 307                                                         Page 309
 1         MR. SCHMIDT: Can you just for the record cite        1          THE WITNESS: No. I think I have stated in,
 2   the URL? I think that's what you were about to say.        2    including in other testimony, that there are times that
 3         MR. JONES: The sound is not working.                 3    FDA needs to improve its resources and, in fact, I
 4         MR. SCHMIDT: While he's doing that, do you mind      4    have -- when I was center director for Devices, I was an
 5   just telling us what the URL is?                           5    advocate for user fees to increase the resources of the
 6         MR. JONES: Christina, can you pull it?               6    Center and particularly pointed out resources needed for
 7         MS. NATALE: Yeah.                                    7    inspections. So there are areas where FDA resources are
 8         VIDEO OPERATOR: I think it's because --              8    needed.
 9         MS. NATALE: Because it's HDMI?                       9          I think my points before may have related to the
10         VIDEO OPERATOR: Yeah. If it's going to HDMI,        10    fact that the resources that are relevant for this trial
11   we don't get the sound through here.                      11    or the resources in the review division and the
12         MR. JONES: You don't get the sound through the      12    reviewers have considered this product and I don't see
13   HDMI?                                                     13    anything in the record that suggests they didn't have
14         MS. NATALE: I'm trying. I'm sorry.                  14    the resources to do their job.
15         VIDEO OPERATOR: Do you want to go off the           15          MR. JONES: Okay. Let's watch this video.
16   record real quick?                                        16          (Video played as follows:
17         MR. JONES: Yeah, let's go off the record.           17          "DR. FEIGAL: Well, I think they're becoming
18         MR. SCHMIDT: I'm not going to agree to go off       18    more similar but the biggest difference between the
19   the record. We're almost done.                            19    European and the U.S. is the utilization of third
20         MR. JONES: Yeah, going -- we're going off the       20    parties. In the U.S., the Food and Drug Administration
21   record.                                                   21    has a tradition of doing its own inspection, its own
22         MR. SCHMIDT: All right. Over my objection.          22    reviews, and even to the extent that if they don't have
23   We're counting this towards the time.                     23    enough resources to do all the inspections or to do all
24         MS. NATALE: You have six minutes.                   24    of the reviews, they leave them undone.")
25         THE WITNESS: Off the record?                        25


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 1   BY MR. JONES:                                               1    STATE OF CALIFORNIA                  )
 2   Q. Is that you in the video?                                2    COUNTY OF LOS ANGELES                   )
 3   A. It is.                                                   3           I, ROSEMARY LOCKLEAR, a Certified Shorthand
 4   Q. Do you remember saying that in that interview?           4    Reporter of the State of California, duly authorized to
 5   A. Yes. It's similar to something I said many               5    administer oaths pursuant to Section 2025 of the
 6   times. We had a program in the Center for Devices where     6    California Code of Civil Procedure, do hereby certify
 7   companies could opt to use third-party reviews and the      7    that
 8   program was underutilized. I was also an advocate for       8           DAVID WILLIAM FEIGAL, JR., M.D., M.P.H., the
 9   using third-party inspectors, the way that the Europeans    9    witness in the foregoing deposition, was by me duly
10   do. So that's what this interview was about.               10    sworn to testify the truth, the whole truth and nothing
11   Q. Okay.                                                   11    but the truth in the within-entitled cause; that said
12   A. FDA doesn't have very many staff located outside        12    testimony of said witness was reported by me, a
13   the United States and so it's difficult for them to do     13    disinterested person, and was thereafter transcribed
14   the biannual manufacturing inspections outside the         14    under my direction into typewriting and is a true and
15   United States.                                             15    correct transcription of said proceedings.
16         MR. JONES: I have no further questions for you,      16           I further certify that I am not of counsel or
17   Dr. Feigal.                                                17    attorney for either or any of the parties in the
18         MR. SCHMIDT: Okay. Do you mind just reading          18    foregoing deposition and caption named, nor in any
19   into the record the URL?                                   19    way interested in the outcome of the cause named in
20         MS. NATALE: I don't have it.                         20    said deposition dated the_________ day of
21         MR. JONES: Oh, here. I'll get it for you,            21    _______________, 2016.
22   Paul.                                                      22
23         MR. SCHMIDT: Thank you. I appreciate it.             23
24         MR. JONES: The URL is HTTPS, hyphen, forward         24
25   slash, forward slash, WWW dot YouTube dot-com, forward     25    ROSEMARY LOCKLEAR, RPR, CRR, CSR 13969


                                              Page 311                                                         Page 313
 1   slash, watch, question mark, V equals X, as in Xerox, L     1               INSTRUCTIONS TO WITNESS
 2   as in Larry, F as in Frank, 4, lower case A, H as in        2
 3   Harry, D as in David, L as in Larry, lower case TZY.        3
 4         And just to clarify --                                4          Please read your deposition over carefully and
 5         THE WITNESS: Of course.                               5    make any necessary corrections. You should state the
 6        MR. JONES: -- so everybody has it, the V is            6    reason in the appropriate space on the Errata Sheet for
 7   lower case V equals upper case XLF4, lower case A, upper    7    any corrections that are made.
 8   case HDL, lower case TZ, upper case Y.                      8          After doing so, please sign the Errata Sheet
 9        They don't make it easy.                               9    and date it.
10        MR. SCHMIDT: Here it is. Thank you.                   10          You are signing same subject to the changes
11        THE WITNESS: You got it, huh? I'm impressed at        11    you have noted on the Errata Sheet, which will be
12   your typing skills.                                        12    attached to your deposition.
13         MR. SCHMIDT: That concludes the deposition.          13          It is imperative that you return the original
14         MR. JONES: All right.                                14    Errata Sheet to the deposing attorney within thirty (30)
15        Thank you, Dr. Feigal.                                15    days of receipt of the deposition transcript by you. If
16         THE WITNESS: You're welcome.                         16    you fail to do so, the deposition transcript may be
17         VIDEO OPERATOR: This concludes the deposition        17    deemed to be accurate and may be used in court.
18   of David Feigal, consisting of four DVDs.                  18
19         The time is 6:08 p.m.                                19
20         We're off the record.                                20
21         (Whereupon the deposition concluded at 6:08          21
22   p.m.)                                                      22
23                TESTIMONY CLOSED                              23
24                                                              24
25                                                              25


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 1                ERRATA                                         1             LAWYER'S NOTES
 2                ------                                         2    PAGE LINE
 3                                                               3    ____ ____ ________________________________
 4   PAGE LINE CHANGE                                            4    ____ ____ ________________________________
 5   ____ ____ __________________________________                5    ____ ____ ________________________________
 6   REASON:_______________________________________              6    ____ ____ ________________________________
 7                                                               7    ____ ____ ________________________________
 8   PAGE LINE CHANGE                                            8    ____ ____ ________________________________
 9   ____ ____ __________________________________                9    ____ ____ ________________________________
10   REASON:_______________________________________             10    ____ ____ ________________________________
11                                                              11    ____ ____ ________________________________
12   PAGE LINE CHANGE                                           12    ____ ____ ________________________________
13   ____ ____ __________________________________               13    ____ ____ ________________________________
14   REASON:_______________________________________             14    ____ ____ ________________________________
15                                                              15    ____ ____ ________________________________
16   PAGE LINE CHANGE                                           16    ____ ____ ________________________________
17   ____ ____ __________________________________               17    ____ ____ ________________________________
18   REASON:_______________________________________             18    ____ ____ ________________________________
19                                                              19    ____ ____ ________________________________
20   PAGE LINE CHANGE                                           20    ____ ____ ________________________________
21   ____ ____ __________________________________               21    ____ ____ ________________________________
22   REASON:_______________________________________             22    ____ ____ ________________________________
23                                                              23    ____ ____ ________________________________
24                                                              24    ____ ____ ________________________________
25                                                              25    ____ ____ ________________________________


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 1            ACKNOWLEDGEMENT OF DEPONENT
 2
 3
 4          I, _______________________, do hereby certify
 5   that I have read the foregoing pages, and that the same
 6   is a correct transcription of the answers given by me to
 7   the questions therein propounded, except for the
 8   corrections or changes in form or substance, if any,
 9   noted in the attached Errata Sheet.
10
11
12
13   ______________________________________________
14   DAVID WILLIAM FEIGAL, JR., M.D., M.P.H. DATE
15
16   Subscribed and sworn
     to before me this
17   _____ day of _____________________, 20____.
18
     My commission expires:____________________
19
20   __________________________________________
     Notary Public
21
22
23
24
25


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